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            Exhibit
              4
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                                                                               Page 1

1                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
2                                  SAN ANTONIO DIVISION
3
          ALEK SCHOTT,                              §
4                  Plaintiff,                       §
                                                    §
5                                                   §
          VS.                                       §
6                                                   §
          JOEL BABB, in his individual              §     CIVIL ACTION NO.
7         and official capacity;                    §     5:23-cv-00706-OLG-RBF
          MARTIN A. MOLINA III, in his              §
8         individual and official                   §
          capacity; JAVIER SALAZAR, in              §
9         his individual and official               §
          capacity; and BEXAR COUNTY,               §
10        TEXAS,                                    §
                   Defendants.                      §
11
12                 -------------------------------------------
13                                  ORAL DEPOSITION OF
14                                        JOEL BABB
15                                     JULY 15, 2024
16                 -------------------------------------------
17                    ORAL DEPOSITION of JOEL BABB, produced as a
18        witness at the instance of the Plaintiff(s), and duly
19        sworn, was taken in the above-styled and numbered cause
20        on July 15, 2024, from 9:22 a.m. to 5:19 p.m., before
21        Molly Carter, Certified Shorthand Reporter in and for the
22        State of Texas, reported by machine shorthand, at the Law
23        Offices of Charles S. Frigerio, 111 Soledad, Suite 465,
24        San Antonio, Texas, pursuant to the Federal Rules of
25        Civil Procedure.

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                                                                                  Page 5

1                                            JOEL BABB,

2         having been first duly sworn, testified as follows:

3                                   E X A M I N A T I O N

4         BY MS. HEBERT:

5                 Q      Good morning, Mr. Babb.

6                 A      Good morning, ma'am.

7                 Q      My name is Christie Hebert.

8                 A      Okay.

9                 Q      And I represent Alek Schott, the Plaintiff in

10        this case.

11                A      Okay.

12                Q      And we're here to talk to you, ask you a couple

13        of questions today.           You just took your oath.            I'm joined

14        here by my colleague, Jeff.              Jeff Rowes.

15                A      Okay.

16                Q      Then we've got Molly, the court reporter here,

17        she's going to take down everything that you say.

18                A      Yes, ma'am.

19                Q      Unless she's told otherwise to stop.

20                A      Okay.

21                Q      And obviously Blair, your Counsel here, is

22        here.       Then we're joined by Charles and Hector, who

23        represent the County.

24                A      Okay.

25                Q      We're going to do the usual stipulations in

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                                                                                Page 6

1         this case --

2               A      Okay.

3               Q      -- which means that you're here, so you're

4         waiving any defects to your deposition notice.

5               A      Uh-huh.

6               Q      And then you're also waiving any objections to

7         Molly's qualifications as the court reporter.

8                      So I'm going to start by just getting your full

9         name on the record.

10              A      Okay.

11              Q      What is your name?

12              A      Joel Babb.

13              Q      Okay.     And then it's okay if I call you

14        Mr. Babb?

15              A      Yeah.

16              Q      Okay.     Just want to make sure.           Is there

17        something else you'd prefer instead?

18              A      You can call me by my first name if you want,

19        ma'am.     It's up to you.

20              Q      Thank you.       And before we go on, I'd like to go

21        over just a couple of like housekeeping matters.

22              A      Okay.

23              Q      Have you ever testified under oath before?

24              A      No.

25              Q      Okay.     So you've never had your deposition

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1         taken before?

2               A      No, ma'am.

3               Q      Okay.     And then you understand that you are

4         under oath today, Molly just administered your oath?

5               A      Yes, ma'am.

6               Q      And that means that you're testifying here in

7         this room the same as if you were testifying before a

8         judge or in a court.

9               A      Yes, ma'am.

10              Q      You understand that?

11              A      Uh-huh.

12              Q      Okay.     We're creating a record today, so it's

13        important that I need to ask clear questions.

14              A      Okay.

15              Q      So if I don't ask a clear question, please let

16        me know and I'll rephrase and we'll figure out what's

17        going on, where our disconnect is.

18              A      Okay.

19              Q      Please do not shake your head or nod when

20        you're answering, because obviously Molly can't capture

21        that when she's writing things.

22              A      Yes, ma'am.

23              Q      So "yes, ma'am" is great.            That's perfect.          But

24        try to avoid like an "uh-huh" or a "yeah" or just like,

25        you know (nodding head) --

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                                                                                Page 8

1               A      Okay.

2               Q      -- one of those ambiguous things, because then

3         your answer is not clear for you or for us.

4               A      Okay.

5               Q      Please try not to start answering a question

6         before I finish asking it.            So sometimes you know where

7         I'm going to be going with it or you know the rest of the

8         question before I get to the end.               But let me finish, and

9         I'll try to do the same for you.

10              A      Okay.

11              Q      Sometimes I'll know where you're going with a

12        particular answer, and I have to try to let you finish so

13        that it's not jumping all over each other and then we're

14        trying to figure out what you said.

15              A      Okay.

16              Q      If you don't know the answer to a question,

17        it's okay.      You may say so.        But if you do know the

18        answer to a question, you're required to provide it.

19              A      Okay.

20              Q      Your attorney, Mr. Leake, may state an

21        objection when I ask a question.              That doesn't mean I've

22        asked necessarily a bad question.               It just means that for

23        the -- the purpose of the objection is to preserve for

24        the record later, if we want to use the question,

25        Mr. Leake can argue to the court that it was an improper

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                                                                              Page 9

1     question.

2            A       Yes, ma'am.

3            Q       So you still have to answer the question unless

4     Mr. Leake instructs you not to answer.

5            A       Okay.

6            Q       Do you understand?

7            A       Uh-huh.      Yes, ma'am.

8            Q       Okay.     And if you want to take a break -- a

9     break or get a drink or need a snack or you need to

10    review a document more, feel free to say so, and we'll go

11    off the record and do that.              The only thing I would ask

12    is that you finish answering whatever question is asked,

13    so then we just are clean and that's done, and then you

14    can take a break.

15           A       Yes, ma'am.

16           Q       We're going to look at some documents today.

17           A       Okay.

18           Q       You have the right to read and understand those

19    documents --

20           A       Okay.

21           Q       -- in their entirety.           I'm not trying to trick

22    you.       I'm just going to focus on certain parts of the

23    documents so that, you know, we don't have to ask

24    questions about every little thing.

25           A       Uh-huh.

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                                                                       Page 10

1           Q      So if you need to read something, feel free to

2     say, Hey, I need to review this.              And we'll take a break

3     and you can do that.          Or if it's shorter, we can just

4     wait for you to finish.

5           A      Okay.

6           Q      We're also going to look at some videos today.

7     You have the same right.           So I have, to save time,

8     identified clips or pieces of the video to just look at.

9     It is your right, now and after the deposition, to watch

10    the entirety of the video --

11          A      Uh-huh.

12          Q      -- before testifying and after testifying, just

13    so we're clear.

14          A      Okay.

15          Q      And that goes for the entire conversation.                  I'm

16    not looking to trick you.            It's my job to ask you a

17    series of questions and to get your answers under oath

18    based on your knowledge or your memory.                 Do you

19    understand that?

20          A      Yes, ma'am.

21          Q      Okay.     Now, as we're talking here today, is

22    there any reason that you are not able to give your

23    fullest and best testimony, like you're taking an

24    impairing medicine?

25          A      No, ma'am.

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                                                                       Page 11

1           Q      Did you have any alcohol to drink today?

2           A      No, ma'am.

3           Q      Are you generally clear-headed today to

4     testify?

5           A      Yes, ma'am.

6           Q      Okay.     Other than speaking with your attorney,

7     with Mr. Blair -- Mr. Leake -- sorry, Mr. Blair -- is

8     there anything that you did to prepare for today's

9     deposition?

10          A      Other than review documents, no, ma'am.

11          Q      Okay.     What documents did you review?

12          A      My report.

13          Q      Okay.     And when you say "my report" --

14          A      The report for the incident that I'm here for

15    today, ma'am.

16          Q      Okay.     And when you say that, do you mean the

17    document titled SPEARS Summary at the top?

18          A      Yes.

19          Q      Okay.

20          A      I want to clarify that.            The SPEARS Summary, I

21    believe every summary report I've done in my career is

22    labeled that on the top.

23          Q      Right.

24          A      So the one dealing with Mr. Schott --

25          Q      I appreciate you clarifying that.                So you

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1     reviewed the SPEARS Summary report for the stop of Alek

2     Schott.

3           A      Yes, ma'am.

4           Q      Okay.     Did you review any videos?

5           A      No.     Oh, yes, I did.

6           Q      Okay.     What videos did you review?

7           A      Just the traffic stop video.

8           Q      And when you say "the traffic stop video," you

9     mean --

10          A      Of Alek Schott.

11          Q      -- the traffic stop video of Alek Schott?

12          A      Yes.     It was two years ago.          I wanted to review

13    it.

14          Q      Okay, thank you.           Any other materials?

15          A      No, ma'am.

16                 MR. LEAKE:       Do you want me to jump in?              There

17    are a couple of things I want to make sure we're not

18    leaving out.        You also reviewed some of the

19    conversations.

20                 THE WITNESS:        Yes, ma'am.

21                 MR. LEAKE:       And there were a couple of other

22    videos we reviewed that all relate to the incident.

23    Molina's body cam of the search.

24                 THE WITNESS:        Yes.

25                 MR. LEAKE:       And also the camera video of

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                                                                         Page 13

1     Plaintiff.

2                  THE WITNESS:        Yes.

3                  MR. LEAKE:       His dash cam.

4                  MS. HEBERT:       Say that one again, I'm sorry.

5                  MR. LEAKE:       Plaintiff's dash cam.

6                  MS. HEBERT:       Oh, Alek's dash cam.             Okay.

7     Mr. Schott's.

8                  MR. LEAKE:       I can't think of anything else you

9     reviewed, but I just want to make sure that we're all

10    above board here --

11                 MS. HEBERT:       Thank you.

12                 MR. LEAKE:       -- everything is disclosed.

13                 MS. HEBERT:       I appreciate that.

14          Q      (By Ms. Hebert) Okay.           So I just want to make

15    sure I got all of that in summary.

16          A      Uh-huh.

17          Q      You reviewed your SPEARS Summary report for the

18    stop of Mr. Schott, you reviewed your body camera

19    footage --

20          A      Yes, ma'am.

21          Q      -- from the stop of Mr. Schott.                  You reviewed

22    some text message conversations.

23          A      Yes, ma'am.

24          Q      You reviewed the body camera footage from

25    Officer Molina.

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1           A      Yes, ma'am.

2           Q      The body camera footage from Officer Gereb.

3           A      No --

4           Q      No?

5           A      -- I didn't watch that one.

6           Q      And then you reviewed the dash cam footage from

7     Alek Schott.

8           A      Yes, ma'am.

9           Q      Okay.     And when you say you reviewed the

10    conversations, did you review specific conversations --

11          A      Yes, ma'am.       The ones that --

12          Q      -- or did you review all of them?

13          A      Well, not -- when I first got those messages, I

14    reviewed them.

15          Q      Sure.

16          A      They were hard to understand because of the way

17    it was on that spreadsheet.

18          Q      Sure.

19          A      So the best I could, I reviewed them.                    But last

20    night it was specific ones that I believe we needed to

21    look at, that I think we sent to you, ma'am.

22          Q      Okay.     So you reviewed the conversations that I

23    asked you to identify --

24          A      Yes, ma'am.

25          Q      -- who they were with?

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                                                                       Page 15

1           A      Yes, ma'am.

2           Q      Okay.     And if we get to conversations today and

3     you already reviewed them, let me know.

4           A      Absolutely, ma'am.

5           Q      Okay.     Did you have any conversations with

6     anyone other than Mr. Leake --

7           A      No, ma'am.

8           Q      -- to prepare for this deposition?

9           A      No, ma'am.

10          Q      Did you speak with Deputy Molina?

11          A      No, ma'am.

12          Q      Did you speak with Deputy Gereb?

13          A      No, ma'am.

14          Q      And Sergeant Gamboa?

15          A      No, ma'am.

16          Q      Okay.     Did you bring any documents with you

17    today?

18          A      No, I did not, ma'am.

19          Q      And did you bring your cell phone with you

20    today?

21          A      It's right here, ma'am.

22          Q      Okay.     And if we need to ask you to look

23    something up, you can do that?

24          A      Yes, ma'am.

25          Q      Okay.     We're going to talk a lot about the

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1     Bexar County Sheriff's Office today.

2           A      Okay, ma'am.

3           Q      Okay.     And so can we agree when I say

4     "Sheriff's Office," we're talking about the Bexar County

5     Sheriff's Office?

6           A      Yes, ma'am.

7           Q      And can we agree when I say "Sheriff," I'm

8     talking about Javier Salazar, the current Sheriff of

9     Bexar County Sheriff's Office?

10          A      Yes, ma'am.

11          Q      Okay.     So now that the preliminaries are done,

12    that's kind of generally how it's going to go.                   I'm going

13    to ask you a couple of general questions.

14          A      Yes, ma'am.

15          Q      Where are you from?

16          A      I am from originally Alfred, Maine.                I was born

17    in Norwalk, Connecticut.

18          Q      Okay.     Where is Alfred, Maine?

19          A      Alfred, Maine is southern Maine, the state of

20    Maine, up northeast.

21          Q      Okay, cool.       How did you wind up in Texas?

22          A      When I got out of the military, I was with a --

23    I was married to a woman that I was married to for twelve

24    years, and we came back here to San Antonio where her

25    family was.      I'm no longer married to her.

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1           Q      Okay.     But you're still here in the

2     San Antonio --

3           A      I stayed here.

4           Q      -- area?

5           A      Yeah.

6           Q      What did you do before you became a police

7     officer?

8           A      I was in the United States Army as an

9     infantryman.

10          Q      And how long did you serve?

11          A      18 years, ma'am.

12          Q      18 years.      That's a long time.          Thank you for

13    your service.

14          A      Thank you, ma'am.

15          Q      Did you go straight into the Army after high

16    school?

17          A      Yes, ma'am.

18          Q      Okay.     And you served overseas then?

19          A      Three tours, ma'am.

20          Q      Thank you.

21          A      Combat tours, and other places.

22          Q      Where did you serve?

23          A      I've been to Fort Lewis, Washington; Korea;

24    Fort Campbell, Kentucky; Fort Hood, Texas; Germany,

25    Hohenfels, Germany; Hawaii, Schofield Barracks.                       And then

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1     combat deployments, two in -- or one in Afghanistan, two

2     in Iraq, all year tours, so three years of combat total.

3           Q      Wow.     Okay.    So when did you leave the

4     military?

5           A      2015.

6           Q      Okay.     And why did you leave?

7           A      I left during the, the Q -- I got downsized.

8     During the downsize, I had left at 18 years.

9           Q      And so I guess you retired with full benefits

10    that way -- that's a long period of service.

11          A      Yeah, I was 18 years, and I just came out on --

12    it was during the downsize.

13          Q      Okay.

14          A      So I actually came out with like an ETS at 18

15    years, so --

16          Q      Wow.     Okay.    So did you join the Sheriff's

17    Office immediately after --

18          A      Yes, ma'am.       There was no --

19          Q      -- finishing --

20          A      I was actually -- when I was in the detention

21    academy, I was actually being paid by the Army and on my

22    terminal leave still, so yes.

23                 MR. LEAKE:       Just for her sake, make sure to let

24    her finish her questions before you jump in.

25                 THE WITNESS:        Yes, yes.

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1                  MR. LEAKE:       She'll throw a stapler at one of

2     our heads.      So just let her finish her questions.

3                  MS. HEBERT:       Molly's not that violent.              Right,

4     Molly?

5                  THE REPORTER:        I'll try not to.

6                  THE WITNESS:        I'll move closer so you can pinch

7     me.

8           Q      (By Ms. Hebert) Okay.           So you joined the

9     Sheriff's Office immediately after -- well, basically on

10    the tail end of your Army service.

11          A      Yes, ma'am.

12          Q      Okay.     And any other jobs between or around the

13    time you left?

14          A      No, ma'am.

15          Q      So the two jobs you've done is work for the

16    Army and the Sheriff's Office --

17          A      Yes, ma'am.

18          Q      -- is that fair?

19                 Okay.     I'd like to start by talking about kind

20    of the elephant in the room.

21          A      Okay.

22          Q      I understand that you were recently dismissed

23    from the Sheriff's Office.

24          A      Yes, ma'am.

25          Q      And I want to be fair to you and fully

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1     transparent about that, and I really am sorry for the

2     difficulties that you are facing because of that.

3                  And I also want to put on the record that Alek

4     Schott's stop was in 2022, but you weren't dismissed

5     until June 2024; is that correct?

6           A      Yes, ma'am.

7           Q      And immediately before you were dismissed, what

8     was your role with the Sheriff's Office?

9           A      I was a training instructor academy -- or an

10    academy instructor for the law enforcement and the

11    detention side.

12          Q      Okay.     So you were an instructor for the

13    Sheriff's Office Law Enforcement Academy; is that

14    correct?

15          A      Yes, ma'am.       I taught detention, also patrol.

16          Q      Okay.

17          A      So the two sides for the two bureaus of --

18    detention and law enforcement bureau.

19          Q      Okay.     I'll ask you more about that later.

20          A      Okay.

21          Q      And when did you leave the Criminal

22    Interdiction Unit?

23          A      I don't know exactly the date, but I was in

24    instruction for approximately a year and a half.

25          Q      Okay.     So before you were dismissed, you were

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                                                                        Page 21

1     working in the instruction, and previously you were in

2     criminal interdiction.

3           A      Yes, ma'am.

4           Q      And you've been in the instructor role for a

5     year and a half before you were dismissed?

6           A      Approximately, ma'am, yes.

7           Q      Can you give me the approximate dates you were

8     part of the Criminal Interdiction Unit?

9           A      So I was interdiction for about a year.                  So --

10    and this is very vague what I am telling you, because I'm

11    just really bad with dates.            Now my files for sure --

12          Q      I might have it.         Hold on.

13          A      I was just going to say, yeah, if you have

14    files, I can have exact dates for you.

15          Q      Hold on.      Just give me a second.             Exhibit H.

16    I'm going to mark this Exhibit 42.               I'm going to hand

17    this to you.

18          A      Yes, ma'am.

19                 MR. LEAKE:       Do you have a copy for me as well?

20                 MS. HEBERT:       Uh-huh.

21          Q      (By Ms. Hebert) I'll give you a second to

22    review that document.

23          A      Okay.

24          Q      Let me know when you're ready.

25          A      (Reviewing document.)           All right.

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1           Q      Okay.     And so based on this, you were a

2     detention -- you worked in detention from 2015 to 2018?

3           A      Yes, ma'am.

4           Q      And then patrol from 2018 to 2021?

5           A      Yes, ma'am.

6           Q      And then you became part of the Special

7     Enforcement Unit in 2021, May of 2021?

8           A      Uh-huh.

9           Q      And then you became part of the training

10    academy in July of 2022.

11          A      Yes, ma'am.

12          Q      Is that all correct?

13          A      Yes.

14          Q      And this document is your employment history

15    document; is that fair?

16          A      Yes, ma'am.

17          Q      Okay.     And when you were part of the Special

18    Enforcement Unit, is that when you were part of the

19    Criminal Interdiction Unit?

20          A      Yes, ma'am.

21          Q      So would it be fair to say that you were part

22    of the Criminal Interdiction Unit from May of 2021 to

23    July of 2022?

24          A      Yeah.     It looks like most of July, if I left on

25    July 23, so yes.

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1           Q      So May of '21 to nearly August of 2022?

2           A      Yes, ma'am.

3           Q      Okay.     And is it fair to say when you were

4     dismissed from the Sheriff's Office, you had been gone

5     from criminal interdiction for nearly two years?

6           A      Yes, ma'am.

7           Q      And would you say that leaving special -- the

8     Special Enforcement Unit and going to the training

9     academy was a promotion?

10          A      No.     Actually, I wouldn't say that.             What I can

11    tell you is that the reason I went to the training

12    academy is it's a passion to teach.               I was an OCS

13    instructor in the Army.           So I have experience in it, and

14    I was planning on testing for investigator.                   So you

15    cannot be an instructor by the time you're an

16    investigator, so I was kind of on a time clock to get the

17    other passionate position I wanted before I could go into

18    detective, which would have been a promotion.

19          Q      Okay.     So you just -- you wanted to do both --

20          A      Yes.

21          Q      -- teach and be an instructor, and so you were

22    teaching first?

23          A      No.     I was a --

24                 MR. LEAKE:       Objection, form.        Go ahead and

25    answer.

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1           A      Okay.     So I was actually in the Interdiction

2     Unit and then I went to become an instructor.

3           Q      (By Ms. Hebert) Okay.

4           A      Teaching was what I was -- in the Army, I was

5     an officer candidate school instructor.

6           Q      Okay.     Got it.     And you transitioned to the

7     training academy because you wanted to return to

8     teaching; is that fair?

9           A      Yes, ma'am.

10          Q      In general, do you think the Sheriff's Office

11    wants officers who are following the policies of the

12    Sheriff's Office to train officers?

13          A      Absolutely.

14                 MR. LEAKE:       Objection, form.

15          Q      (By Ms. Hebert) If Mr. Leake objects, feel free

16    to just take a pause.          That's his right to object.

17          A      Okay.

18          Q      And then you still have to answer the question

19    unless Mr. Leake instructs you not to answer.

20          A      Okay.

21          Q      So in general, would you agree that the

22    Sheriff's Office wants officers who are following the

23    policies of the Sheriff's Office to train new officers?

24                 MR. LEAKE:       Objection, form.

25          A      Yes, ma'am.

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1                  MR. LEAKE:       Can we agree that objection for one

2     is objection for all, just so --

3                  MR. SAENZ:       Yeah.

4                  MS. HEBERT:       That's -- absolutely.

5                  MR. SAENZ:       That's good.       Thank you.

6                  MS. HEBERT:       Unless Charles and Hector feel

7     like you're not objecting, I'm going to assume you're the

8     objecting party.

9                  MR. LEAKE:       No, Hector can object as well.             I

10    just find that it gets hard for her if we're both

11    announcing an objection at the same time and she has to

12    write it down for both of us each time.

13                 MS. HEBERT:       Sure, that's fine.

14                 THE REPORTER:        Thank you.

15          Q      (By Ms. Hebert) Do you believe the Sheriff's

16    Office tries to put officers who are doing police work in

17    the right way in charge of training the next generation

18    of the officers?

19                 MR. LEAKE:       Objection, form.

20          A      I do, ma'am.

21          Q      (By Ms. Hebert) And would it be fair to say

22    that when the Sheriff's Office made you an instructor, it

23    was saying that you were one of its best officers?

24                 MR. LEAKE:       Objection, form.

25          A      Yes, ma'am.

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1           Q      (By Ms. Hebert) And before Alek Schott filed

2     this lawsuit, had the Sheriff's Office ever disciplined

3     you for any misconduct?

4           A      Yes, ma'am.

5           Q      Okay.     What was that misconduct?

6           A      One was the -- actually, I think the only thing

7     I have is a crash that I had in a parking lot, where I

8     was -- I was sitting in a parking lot in my vehicle.                     And

9     I was actually doing work for patrol, looking at

10    different things at a hotel.

11                 And what I did was I took my foot off the gas,

12    or off the brake by mistake.             And as embarrassing as it

13    is, there was a pole right here, and I was sitting there

14    on my computer, and from about 5 feet, I hit a pole.

15          Q      Okay.

16          A      And they actually -- it was an accident.                 And

17    it was from a static position.             But I did get a, I

18    believe it was, if I remember correctly, a letter of

19    counseling.      And you probably have that on file also if

20    you want to verify.

21          Q      Okay.     But other than that minor incident, did

22    you have any other discipline from the Sheriff's Office

23    during your time with the Sheriff's Office?

24          A      So the only time that I can think of -- and I

25    don't think I was disciplined for it because it was

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1     cleared -- was when I was in the jail.                  In the three

2     years I worked there, I had one grievance, and it was

3     from a inmate who, when I was escorting him, he threw

4     himself on the ground and then claimed in a grievance

5     that I assaulted him.            But I don't believe there was any

6     discipline for that, because it was -- I think they saw

7     camera footage, and it was over there.                  But that's the

8     only somewhat negative thing I can think of other -- in

9     the last nine-and-a-half years it's been.

10            Q      Okay.     So you had one minor accident with a

11    light pole, a pole?

12            A      Yes, ma'am.

13            Q      And then you had one jail grievance; is that

14    fair?

15            A      Yes, ma'am.

16            Q      Anything else that I'm missing?

17            A      Nope, that is it.

18            Q      Okay.     Are you aware that Mr. Schott called the

19    Sheriff's Office two days after you stopped him on

20    March 18 to complain about the traffic stop?

21            A      What I was told was that Alek Schott had called

22    and he had actually reported damage to a part of his

23    vehicle.       I was aware of that.

24            Q      So you were -- to make sure I understand, you

25    were aware that Mr. Schott called in March of 2022 to

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1     report some damage to his vehicle?

2           A      Yes, ma'am.

3           Q      Okay.     And how did you first learn that

4     Mr. Schott complained about the damage to his vehicle?

5           A      I believe it was my sergeant that told me, he

6     had given me a heads up that there was a call or a

7     complaint.

8           Q      Okay.     And would that be Sergeant Gamboa?

9           A      Yes, ma'am.

10          Q      And do you remember how Sergeant Gamboa told

11    you about Mr. Schott potentially complaining about

12    damage?     Did he -- to be clear, did he call, did he text,

13    did you run into him in the hallway?                So do you remember

14    how Mr. -- or Sergeant Gamboa told you about this

15    complaint?

16          A      I think it was in person.            And I say I think

17    because, again, this was so long ago, I just know that it

18    was from him.        But it was most likely in person, either

19    over breakfast, because I know we would eat breakfast on

20    occasion.

21          Q      And when you say "eat breakfast," was that part

22    of your shift?

23          A      Yes, we would eat during shift.

24          Q      Okay.     So to clarify, you would eat breakfast

25    to start the day sometimes with Sergeant Gamboa?

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1           A      Yes, ma'am.

2           Q      And who else would join you in these

3     breakfasts?

4           A      Usually Deputy Gereb.           Me and him were the only

5     two interdiction officers for the interdiction teams.

6           Q      Would you say that these breakfasts happened

7     every, every time you started a shift in the morning?

8           A      No, ma'am.

9           Q      How often would you say the breakfasts

10    happened?

11          A      If I was to put a number on it, at least two.

12          Q      Two?

13          A      And that's not -- this isn't like specifics.

14    I'm just saying if I was -- two times a week maybe.

15          Q      So you would estimate that you had breakfast

16    with Sergeant Gamboa and Deputy Gereb two times a week?

17          A      At least, yes, ma'am.

18          Q      Okay.     Thank you.      And do you -- I want to

19    return to the complaint by Mr. Schott.                Do you recall at

20    all what Sergeant Gamboa told you about the complaint by

21    Mr. Schott?

22          A      No.     I just remember him -- the only thing I

23    remember is him saying that he called and had said that

24    there was damage to the, I think it was the rear of the

25    vehicle.

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1           Q      And the "he" you're referring to is Mr. Schott?

2           A      Yes, ma'am.

3           Q      Mr. Schott called?

4           A      Yes, ma'am.

5           Q      After Mr. Schott's initial complaint, did

6     anybody with the Sheriff's Office suggest you had done

7     anything wrong?

8           A      No, ma'am.       So when I get those complaints,

9     just so you know, I don't actually go in and get involved

10    with it unless they call me.             So once I heard that, it

11    was just okay.        And then if I heard from IA, I heard from

12    IA.   That's kind of how I would go with it.                  So at that

13    point, no, that was all I knew.

14          Q      Okay.

15          A      And I just kind of let things happen to see if

16    I was going to get the call.

17          Q      I understand.        But did anybody from the

18    Sheriff's Office suggest that you, Mr. Babb, had done

19    anything wrong at that initial point when you heard about

20    the complaint?

21          A      No, ma'am.

22          Q      Okay.     Did anyone ask you about your dash

23    camera?

24          A      No, ma'am.

25          Q      Were you aware that the Internal Affairs

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1     department opened a formal investigation into

2     Mr. Schott's complaint in 2022?

3           A      I was not aware.

4           Q      Okay.     Do you know now that they opened a

5     formal investigation into Mr. Schott's complaint in 2022?

6           A      Yes, ma'am.

7           Q      Okay.     And do you know what the results of that

8     2022 investigation were?

9           A      Yes, ma'am.

10          Q      Okay.     In your own words, what were the results

11    of that 2022 investigation?

12                 MR. LEAKE:       Objection, form.

13          A      What I had heard was that the case was closed,

14    that they had reviewed the video and that there was

15    nothing wrong.        And then later on, I heard -- and again,

16    this is -- this isn't me sitting down and them informing

17    me what's going on.

18          Q      (By Ms. Hebert) Sure.

19          A      This is through word of mouth or rumor.                       I had

20    heard that Mr. Schott had been paid out for a dog

21    scratching the car.         And this was months later.                So

22    again, none of -- there was never like a forum where I

23    sat down and they said there was an IA investigation and

24    here's how it went.         This is all just through hearing

25    what happened.        And that's kind of the norm with these

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1     situations.

2           Q      And who did you hear this from?                  Do you

3     remember?

4           A      I don't remember, ma'am.            It's -- again, it's

5     just so long ago.         But yeah, it was just hearing it

6     throughout the -- word spreads fast in Bexar County

7     Sheriff's Office, like any workplace.                So yeah, people

8     are always just -- it's rumors.

9           Q      I understand.

10          A      So it's hard to really believe anything.

11          Q      I understand.

12          A      Yes, ma'am.

13          Q      So let's look at a document.

14          A      Okay.

15          Q      I want to look at Exhibit G, and this has

16    previously been admitted as exhibit, Plaintiff's

17    Exhibit 16.

18                 My colleague is handing you a document,

19    Mr. Babb, that's marked Number 16.

20          A      Okay.

21          Q      Take a couple of minutes to review it.

22          A      (Reviewing document.)

23          Q      And there are a couple of pages here.

24          A      Okay.

25          Q      So if you need to take a couple of minutes to

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1     look through it, we can go off the record.

2           A      (Reviewing document.)

3                  MS. HEBERT:       Okay.      Molly, we'll take a couple

4     minutes off the record, if you don't mind.

5                  THE REPORTER:        Okay.     We're off the record.

6           (Recess from 9:48 a.m. to 9:49 a.m.)

7                  THE REPORTER:        We're back on the record.

8           Q      (By Ms. Hebert) Did you have a chance to review

9     Exhibit 16?

10          A      16?     Yes, ma'am.

11          Q      Okay.     I want to start on the second page of

12    the Exhibit 16.

13          A      Okay.

14          Q      What does IA mean?

15          A      Internal Affairs, ma'am.

16          Q      And what is Internal Affairs?

17          A      Internal Affairs is, the way I look at it, if

18    I'm giving a definition, they're the group of people that

19    are there to hold officers accountable to make sure that

20    officers are doing the right thing within the job,

21    whether it be anything from ethical to criminal.                      They're

22    there to identify if there is criminal, and then of

23    course if there's criminal, then there's other groups

24    that come in called PIO, I believe is the name of it.

25          Q      Do you know what PIO means?

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1             A      I don't, because I've never had to deal with

2     them.       I planned on never dealing with anything like

3     this, so --

4             Q      I understand.        I do understand.            So I'm going

5     to represent to you that Sergeant Ortega, formerly

6     Sergeant Rodriguez, wrote this report and testified about

7     writing this report.

8             A      Okay.

9             Q      Does this report, this page show that Sergeant

10    Ortega, formerly Sergeant Rodriguez, closed her

11    investigation on June 2, 2022?

12            A      Yes, ma'am.

13            Q      Okay.     I want to read the Explanation section

14    to you.       You see the Explanation section toward -- no,

15    right there on the same page.

16            A      Oh, okay.

17            Q      I'm just going to read that to you.

18            A      Okay.

19            Q      "I reviewed the dash cam that was provided by C

20    and I did not see any damage to C's vehicle.                       When I

21    reviewed Deputy Babb's body worn camera (BWC), I did not

22    see any policy violations.              He told C why he had stopped

23    C immediately when he walked up to C's vehicle.                         When K9

24    Deputy Molina arrived, he even asked C for consent to run

25    his K9 and C agreed.            No policy violations were viewed

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1     through BWC.       I advised C through email if you would like

2     to see the BWC, feel free to request it through our open

3     records email:" with an email address.

4                  Did I read that correctly?

5           A      Yes, ma'am.

6           Q      Okay.     Is it your understanding that Sergeant

7     Ortega concluded that you didn't violate any policies?

8           A      Yes, ma'am.

9           Q      Do you agree with the results of the initial

10    investigation by Sergeant Ortega?

11          A      The dash cam, I did not turn on the dash cam,

12    so that is a policy violation.

13          Q      Correct.      I understand that.         But do you see

14    anything about your dash camera in this explanation?

15          A      "I reviewed the dash cam that was provided by

16    C."   C is me, correct?

17          Q      I understand C to mean complainant.

18          A      Oh, okay.

19          Q      So if that's true, is my understanding is

20    correct, "I reviewed the dash cam that was provided by

21    C," C meaning complainant.

22          A      Okay, I misread it.

23          Q      "And I did not see any damage to C,"

24    complainant, Mr. Schott's vehicle.               Would you agree that

25    based on this explanation, Sergeant Ortega reviewed the

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1     dash cam of Mr. Schott?

2           A      Yes, ma'am.

3           Q      Okay.     Do you see anything in this explanation

4     that indicates to you that Sergeant Rodriguez, now

5     Sergeant Ortega, reviewed your dash cam?

6           A      No.     That's what I was mistaken, when I read

7     dash cam.

8           Q      Sure.

9           A      I'm not used to civilians using the terminology

10    "dash cam."        That's why it confused me.           But yes, ma'am.

11          Q      So do you agree with the results of this

12    initial investigation by Sergeant Ortega, putting aside

13    your dash camera issue, of what she wrote here, that you

14    didn't violate any BCSO, Sheriff's Office policies,

15    during the traffic stop of Alek Schott?

16          A      Yes, ma'am.

17          Q      Okay.     So would it be fair to say that in

18    carrying out the stop, the actual actions of the stop

19    that you did on Mr. Schott, you were following the

20    Sheriff's Office policies?

21          A      Yes, ma'am.

22          Q      Would it be fair to say that you had conducted

23    the traffic stop of Mr. Schott as you had been trained to

24    do as a criminal interdiction officer?

25          A      Yes, ma'am.

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1           Q      And was that training, that criminal

2     interdiction training approved by the Sheriff's Office?

3           A      Yes, ma'am.

4           Q      And did Bexar County pay for your criminal

5     interdiction training?

6           A      Not all of it, but one specific is, that they

7     did pay for and put me up in a hotel for, was called

8     Desert Snow.

9           Q      Desert Snow.

10          A      But the rest of it, because there's a lot more

11    of it, was paid for out of pocket by me.

12          Q      Okay.     I saw in some of your records that you

13    attended a Street Cop Training.              Did Bexar County pay for

14    that training?

15          A      I imagine they have paid for at least -- I've

16    been to a lot of those classes.              I imagine they paid for

17    one or two of them.         They've approved all of it.               As far

18    as paying for it, I don't remember exactly what.

19          Q      That's okay.        We can look at some of that

20    later --

21          A      Yes, ma'am.

22          Q      -- and figure that out.            So to your knowledge,

23    other than the investigation that Sergeant Ortega,

24    formerly Sergeant Rodriguez, completed on June 2, 2022,

25    was there any other investigation into the complaint of

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1     Mr. Schott before Mr. Schott filed the lawsuit?

2           A      No, ma'am.

3           Q      And was there any other investigation into the

4     traffic stop of Mr. Schott before Mr. Schott filed the

5     lawsuit?

6           A      No, ma'am, not to my knowledge.

7           Q      And then was there any investigation into the

8     use of your dash cam or operation of your dash cam before

9     Mr. Schott filed the lawsuit?

10          A      No, ma'am.

11          Q      Okay.     And if I refer to the 2022 investigation

12    as the first investigation, can we agree that I'm

13    referring to this investigation concluded by Sergeant

14    Rodriguez, formerly -- or Sergeant Rodriguez, now

15    Sergeant Ortega, in June 2022?

16          A      Yes, ma'am.

17          Q      Okay.     Did the Sheriff's Office open a second

18    Internal Affairs investigation into the traffic stop of

19    Alek Schott?

20          A      Yes, ma'am.

21          Q      And was that second investigation opened a

22    year -- over a year after the Schott, the first

23    investigation had closed?

24          A      Yes, ma'am.

25          Q      Okay.     And can we agree to call this the second

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                                                                         Page 39

1     investigation, just for shorthand?

2             A      Yes, ma'am.

3             Q      Okay.     So when we say "second investigation,"

4     I'm referring to the 2023 investigation that was opened

5     later.

6             A      Yes, ma'am.

7             Q      Okay.     Do you know the specific date the

8     Sheriff's Office opened the second investigation?

9             A      I don't know the exact date, ma'am.                It should

10    be --

11            Q      That's okay.        We can look at a document.

12            A      Okay.

13            Q      Is that okay, we'll look at a document?

14            A      Yes, ma'am.

15            Q      Okay.     Let me see which document we're looking

16    for.

17                   MS. HEBERT:       Can we pull up Exhibit G?

18                   MR. ROWES:       That's the one we're looking at

19    already.

20                   MS. HEBERT:       Oh, you're right.

21                   MR. LEAKE:       I think you guys --

22                   MS. HEBERT:       Oh, yeah, Exhibit G.           Let's just

23    go to the first page.            That's what we're looking for.

24    Sorry.       Just flip it over to the first page.

25                   MR. LEAKE:       Is this G or F?

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1                  MR. ROWES:       That's just internal to us.

2                  MS. HEBERT:       That's Exhibit 16.

3           Q      (By Ms. Hebert) So we're going to look at

4     Exhibit 16, the first page.

5           A      This one here?

6           Q      Yep.

7           A      Okay.

8           Q      And can you look at the top of that page, and

9     you see the "to" line?           The "to" line and "from" line?

10          A      Yes.

11          Q      And then you'll reach a date.

12          A      Uh-huh.

13          Q      Can you tell me what date that is?

14          A      June 12, 2023.

15          Q      And then there's a signature towards the bottom

16    of this page.        What's the signature?

17          A      Chief Serrato.

18          Q      And what's the date of that signature?

19          A      June 13, 2023.

20          Q      Okay.     So does that mean that Chief Serrato

21    approved an investigation on June 13th, 2023?

22          A      Yes, ma'am, I believe so.

23          Q      Okay.     And so what is this page, to your

24    knowledge?

25          A      This is -- and I'm, as I'm answering your

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                                                                       Page 41

1     question --

2           Q      Sure.

3           A      -- I'm looking to see, because I'm not --

4           Q      From the --

5           A      Yeah, yeah.       Let me take a look.

6                  THE REPORTER:        Could y'all be careful not to

7     talk at the same time?

8                  MS. HEBERT:       Sorry, Molly.

9                  THE WITNESS:        Sorry, ma'am.

10          A      Yes, ma'am.

11          Q      (By Ms. Hebert) So what is this document, to

12    your knowledge?

13          A      It's a request for investigation.

14          Q      Okay.     And so on June 13th, 2023, Chief Deputy

15    approved a request for investigation; is that fair?

16          A      Yes, ma'am.

17          Q      And can you look at the "re" line of this

18    request?     What is the request about?

19          A      The -- you're talking about right here, ma'am?

20    It's request for investigation, Deputy Babb, Joel, and my

21    employee number.

22          Q      Okay.

23          A      So he's requesting for the investigation.

24          Q      Sure.     And do you believe that the Sheriff's

25    Office opened this second investigation because

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                                                                       Page 42

1     Mr. Schott filed a lawsuit?

2                  MR. LEAKE:       Objection, form.

3           A      I cannot answer what they did or why they did

4     it.

5           Q      (By Ms. Hebert) Sure.

6           A      And I don't really want to speculate, because I

7     just, I don't really think it's a good idea for me to

8     speculate.

9           Q      Sure.

10          A      But they opened it around that same time frame.

11          Q      If I represented to you that Mr. Schott filed

12    his lawsuit on June 1 of 2023, could you agree that this

13    investigation was opened after Mr. Schott filed the

14    lawsuit?

15          A      I can agree to that because the time is right.

16    I just don't want to put words or mindsets in --

17          Q      Completely understand.

18          A      Yes, ma'am.

19          Q      When this second investigation was opened, was

20    there any other investigation going on about you?

21          A      Yes, ma'am.

22          Q      What other investigation was going on?

23          A      There was another investigation happening with

24    me dealing with a old officer from the County who now

25    works somewhere else, who was dealing with personal stuff

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1     going on between an ex-girlfriend who works with him, and

2     I was -- and he was putting allegations on me about

3     basically having an affair with his wife, who he had

4     already put divorce paperwork on and they had lawyers.

5                  They were separated, but he had done a Facebook

6     post to public saying that -- nothing about the divorce,

7     but that basically I was having an affair for

8     two-and-a-half years.          It was false, but that was the

9     allegation.

10                 So at that point, that became an IA

11    investigation, and I was put on administrative leave for

12    that also.

13          Q      Okay.     Were you put on an administrative

14    leave -- when were you put on administrative leave?

15          A      November.

16          Q      Of what year?

17          A      Actually 2023.

18          Q      Okay.

19          A      And that was the last time I was in Bexar

20    County Sheriff's Office working as an instructor.                     I then

21    went on leave and have been on leave until the point they

22    released me.

23          Q      Okay.     And why were you placed on leave

24    initially?

25          A      According to --

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                                                                       Page 44

1                  MR. LEAKE:       Objection, form.

2           A      According to the County and what I read in the

3     paperwork -- no paperwork I saw was about this -- it was

4     about the allegation with Juan Macias.

5           Q      (By Ms. Hebert) Okay.           That other

6     investigation.

7           A      Yes, ma'am.

8           Q      Okay.     So when were you placed on leave for the

9     investigation concerning allegations from another

10    officer?

11                 MR. LEAKE:       Objection, form.

12          A      That was November.

13          Q      (By Ms. Hebert) Okay.           And did that leave end?

14          A      That's a very good question, ma'am.                I don't

15    know -- it did end, and it just -- but I stayed on leave.

16    But I had no -- I never was really even sure of when I

17    was actually on leave for this traffic stop, due to the

18    fact I was on for that.

19          Q      Did the Sheriff's Office give you a notice of

20    leave that was about the Alek Schott traffic stop?

21          A      No, ma'am, not at all.

22          Q      Okay.     And we previously talked about the fact

23    that you were dismissed by the Sheriff's Office in 20 --

24    in June of 2024.

25          A      Yes, ma'am.

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1           Q      What were you dismissed for?

2                  MR. LEAKE:       Objection, form.

3           A      I was dismissed for dishonesty.

4           Q      (By Ms. Hebert) Okay.           Did anyone in the

5     Sheriff's Office ever tell you that you were dismissed

6     based on how you conducted the traffic stop of

7     Mr. Schott?

8           A      No, ma'am.

9           Q      Would it be correct to say that the Sheriff's

10    Office dismissed you solely based off of issues

11    surrounding whether you turned off your dash camera?

12          A      Yes, ma'am.

13          Q      And you weren't dismissed because of the

14    reasons you stopped Mr. Schott?

15          A      No, ma'am.

16          Q      You weren't dismissed for the length of time

17    you held Mr. Schott?

18          A      No, ma'am.

19          Q      You weren't dismissed for how you questioned

20    Mr. Schott?

21          A      No, ma'am.

22          Q      And you weren't dismissed for searching

23    Mr. Schott's vehicle?

24          A      No, ma'am.

25          Q      Other than you, did the Sheriff's Office

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1     investigate any other officer in connection with the

2     traffic stop of Mr. Schott?

3                    MR. LEAKE:       Objection, form.

4             A      Yes.     Molina is the other officer involved in

5     this case, and I believe put on IA.                 He was not put on

6     admin leave, but I believe he was under investigation

7     also.

8             Q      (By Ms. Hebert) When you say Molina was put on

9     IA, what do you mean by that?

10            A      Bad terminology, but I don't believe -- he

11    wasn't put on admin leave is what I'm saying.                     He never

12    was put on admin leave.             However, IA was looking at him

13    due to the complaint by Mr. Schott.

14            Q      Okay.     So at some point the Internal Affairs

15    department investigated Deputy Molina with regard to the

16    traffic stop of Mr. Schott?

17            A      As far as I know, ma'am.

18            Q      Okay.     Do you know if that investigation was

19    completed?

20            A      I don't know anything about what was going on

21    with Molina as far as that.

22            Q      Okay.     So you don't know if a report was issued

23    for Deputy Molina?

24            A      No.     I really -- I'm not comfortable with

25    answering any questions for Molina, because I've been out

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1     of the loop on this admin leave so long, I don't even

2     know what's going on in there.

3           Q      No, I completely understand.             And I'm just

4     asking what you know or do not know.

5           A      Yes, ma'am.

6           Q      Do you know if Internal Affairs or anyone else

7     investigated Deputy Gereb?            Am I saying that name right?

8     Is it Deputy Gereb or Deputy Gereb?

9           A      No, Gereb is right, ma'am.

10          Q      Okay.     Do you know if anybody investigated

11    Deputy Gereb for the traffic stop of Mr. Schott?

12          A      I don't know.        No, I don't want to just

13    speculate.

14          Q      And if you don't know, you don't know.

15          A      Yeah.

16          Q      That's fine.        Do you know if anybody

17    investigated Sergeant Gamboa in connection with the

18    traffic stop of Mr. Schott?

19          A      I don't know.

20          Q      Okay.     To your knowledge, just to your

21    knowledge --

22          A      Okay.

23          Q      -- has anyone else other than you been

24    disciplined for any connection with the traffic stop of

25    Mr. Schott?

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1           A      No.

2           Q      And by saying no, are you saying you don't have

3     any knowledge or you --

4           A      I don't have any knowledge of that.

5           Q      Okay.     From an outsider's perspective --

6           A      Uh-huh.

7           Q      -- it seems like the Sheriff's Office has set

8     you up as the fall guy for the wrongdoing that Mr. Schott

9     alleged in his lawsuit.

10                 MR. SAENZ:       Objection, form.

11                 MS. HEBERT:       I haven't asked a question.

12                 MR. SAENZ:       Sorry.

13          Q      (By Ms. Hebert) The first investigation we just

14    talked about you agreed you didn't believe found you

15    doing any wrongdoing.          And the second investigation we

16    agreed was opened after Mr. Schott filed a lawsuit.

17                 Why do you think the second investigation

18    reached a different conclusion than the first

19    investigation?

20                 MR. LEAKE:       Objection, form.

21          A      Ma'am, I have no idea, because I'm not an IA

22    investigator, so I don't know how they go about

23    investigating.        So that is a very good question that I

24    don't have the answer to.

25          Q      (By Ms. Hebert) Sure.           But I'm asking about, do

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1     you have any -- like what your personal opinion is.                      Do

2     you have an opinion on why the second investigation

3     reached a different result from the first?

4                  MR. LEAKE:       Objection, form.

5           A      I don't, ma'am.

6           Q      (By Ms. Hebert) Okay.           In carrying out the

7     traffic stop of Mr. Schott, were you performing traffic

8     stops in the same way you had performed dozens of

9     criminal interdiction traffic stops?

10          A      Yes, ma'am.

11          Q      Hundreds of criminal interdiction traffic

12    stops?

13          A      A year and a half, possibly.             Probably in the

14    hundreds, yes, ma'am.

15          Q      So you were conducting the traffic stop of Alek

16    Schott possibly the same way you had done hundreds of

17    criminal interdiction traffic stops?

18          A      So I don't want to say hundreds, and the reason

19    is, as you've read in the report, this was a -- I

20    received intel on this man, not all my stops are those

21    type of stops.        The other stops are me actually

22    visualizing and observing traffic, looking for things to

23    stop them for, as an interdiction officer.                    In this case,

24    this was an intel based, so that's the difference.                     So I

25    don't want to say hundreds because I didn't do hundreds

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1     of intel stops.        But there was a, quite a bit of them.

2           Q      Okay.     I understand.       Thank you.

3                  So would it be fair to say then that you were

4     carrying out the traffic stop of Alek Schott the same --

5     in a -- how to say this.

6                  Would you -- would it be fair to say that you

7     were carrying out the traffic stop of Alek Schott

8     according to Sheriff's Office criminal interdiction

9     policies?

10          A      I don't know about Bexar County Sheriff's

11    Office criminal interdiction policy because I believe --

12    and I don't know for sure, because I'm not the guy that

13    writes that.

14          Q      Sure.

15          A      I believe they were still building policy.                  I

16    could be wrong.

17          Q      Okay.

18          A      What I was following was my training.

19          Q      Sure.

20          A      Everything I did is my training.

21          Q      Sure.     Was there anything about the traffic

22    stop of Alek Schott that was so unusual that it would

23    have been out of character for a criminal interdiction

24    traffic stop?

25          A      No, ma'am.

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1           Q      Anything -- was there anything that you did

2     during the traffic stop of Mr. Schott that would have

3     surprised your supervisors?

4           A      No, ma'am.

5           Q      And if Bexar County argues that you went rogue,

6     what's your response?

7                  MR. SAENZ:       Objection, form.

8           A      My response to that would be to look into my

9     201 file and look at the training I have and do some

10    research on that so that they can see that everything I

11    did lines up completely parallel with the training I've

12    received.

13          Q      Help me understand that a little bit.

14          A      Okay.

15          Q      Because Bexar County did not provide that

16    training for you; is that fair?

17                 MR. LEAKE:       Objection, form.

18          A      They approved that training for me.

19          Q      (By Ms. Hebert) Okay.           So when you say that you

20    were conducting criminal interdiction traffics in line

21    with your training, you were conducting criminal

22    interdiction traffic stops in line with the training that

23    Bexar County had approved.

24          A      Yes, ma'am.

25          Q      And so if Bexar County argues that you went

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1     rogue, what would be your response?

2                  MR. LEAKE:       Objection, form.

3                  MR. SAENZ:       Objection, form.

4           A      It would be exactly what I just said, ma'am.

5           Q      (By Ms. Hebert) Help me understand.

6           A      They approved my training.             Look at my

7     training.      Everything I was taught and everything I did

8     lines up with the training.

9           Q      Okay.     I want to take a few steps back and

10    understand how you ended up in law enforcement.

11          A      Okay.

12          Q      I have a couple of ex-military guys in the

13    family, and they've gone to the private sector.

14          A      Okay.

15          Q      And they can make a pretty good living in the

16    private sector.

17          A      Yes, ma'am.

18          Q      So why did you choose a career with the

19    Sheriff's Office?

20          A      So from the beginning of time, not to go too

21    far back, but as a child, my plan was always to be an

22    infantryman in the military and serve my country.                     And

23    then it was to, after being infantry, get out, retire,

24    and become a police officer and serve my community.                     I

25    know that sounds like a commercial, but that is just how

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1     my mindset was throughout my life.

2           Q      I understand.        And I'm grateful for that.

3                  When you left the military in 2015, you became

4     a detention officer.

5           A      Yes, ma'am.

6           Q      We looked at that.          And you -- at some point

7     you became part of the Patrol Unit.

8           A      Yes, ma'am.

9           Q      Okay.     And then what were your responsibilities

10    with the Patrol Unit?

11          A      So as a patrolman my job was to, of course,

12    keep the community safe, which is your commercial thing,

13    but that is the truth.           How I did that was I was

14    responding to 911 calls in the county.

15                 In between those calls, what I did to go above

16    and beyond, but still was within the realm of patrol

17    work, is I would do traffic stops.               And when I say

18    traffic stops, during patrol before I received

19    interdiction training, finding traffic violations.                    While

20    I'm giving them a ticket or a warning, if I see or hear

21    anything or smell anything that tells me otherwise as far

22    as if they're maybe in the commission of a crime, then I

23    would take them to jail if I was able to find narcotics

24    or anything going on.

25                 Pretty much that was what it -- in patrol, my

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1     job was more of a reactive approach.                That's one thing I

2     was not a fan of in patrol was I found myself responding

3     after the fact and writing reports, which became where I

4     got my passion for criminal interdiction to prevent

5     rather than react.

6           Q      Okay.     So let me understand, the two main

7     things you did as a patrol deputy were 911 calls and

8     traffic stops; is that fair, based on what you're saying?

9           A      Yes, ma'am.

10          Q      Okay.     Can you help me understand then what a

11    general traffic stop looks like?              How would you start a

12    general traffic stop when you were a patrol deputy?

13          A      So if we're going to separate, which I'm going

14    to do right now, criminal --

15          Q      Yes, sir.

16          A      -- interdiction from a, as you call general

17    traffic stop.        So if I am sitting on a roadway, let's say

18    looking for speeders or somebody who's going over the

19    speed limit, I'm actually going to sit my vehicle

20    differently than you saw with Alek Schott's traffic stop.

21                 I'm going to have my vehicle sitting at an

22    angle.     I'm going to have my radars facing traffic.

23    Because my goal at this point is to identify speeding,

24    people that are going over the speed limit, in order to

25    prevent traffic accidents, road rage, and any other thing

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1     that can appear from somebody driving recklessly.

2                  That would be my basic traffic stop is the

3     placement of my vehicle.           So that is the difference.

4     It's a little more:         I'm out here to stop speeding,

5     traffic violations, and give tickets or warnings to

6     prevent accidents and road rage and other things that

7     come out of reckless driving.

8           Q      Okay.     So let me make sure that I understand

9     all that.      You would call a non-criminal interdiction

10    stop a basic traffic stop?

11          A      That was -- I think that's what you called it,

12    ma'am.     I don't --

13          Q      I called it a general traffic stop.                I don't

14    know the right --

15          A      I don't know the type --

16          Q      Oh, sorry.

17                 MR. LEAKE:       You guys need to wait and let each

18    other finish.

19                 THE WITNESS:        I'm sorry.

20          A      So I don't really have a name for it.                    Basic

21    just sounds -- I don't like the way it sounds, so I don't

22    want to use that terminology.             But it's a traffic stop

23    that is used to identify traffic, traffic violations,

24    speeders, things like that.            So yes.

25          Q      (By Ms. Hebert) Okay.           How about just the term

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1     "non-criminal interdiction traffic stop"?

2             A      We'll use that.

3             Q      Can we agree non-criminal interdiction traffic

4     stop, traffic stop?

5             A      Yes, I can agree with that, ma'am.

6             Q      Okay.     So as I understood what you just said,

7     for a non-criminal interdiction traffic stop you would

8     situate your vehicle at an angle.                 You would be looking

9     for speeding, for another traffic violation.                       Is that

10    fair?

11            A      Yes, ma'am.

12            Q      Would there be anything else that you did when

13    you are looking for a traffic violation in a non-criminal

14    interdiction traffic stop?

15            A      I would be looking at nothing but the vehicle,

16    and I would be looking at nothing but the violation

17    itself.

18            Q      Okay.     And you talked a little bit about a

19    reactive approach.           What is a reactive approach?

20            A      A reactive is to prevent crime.                  So proactive

21    is really what I should have called it.                   So a proactive

22    approach.

23            Q      Okay.     You said reactive previously.               So when

24    you're doing a reactive approach, what does that mean?

25            A      That is a mistake.          Proactive is the proper

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1     terminology.

2           Q      Okay.     So when were you doing proactive?

3           A      Proactive is once I received training and

4     learned criminal interdiction tactics and techniques,

5     which is --

6           Q      Okay.

7           A      Sorry.

8           Q      I just want to take a step back.                 So I think

9     what I want to talk about is the non-criminal

10    interdiction traffic stops for a second.

11          A      Okay.

12          Q      You said reactive approach to non-criminal

13    interdiction stops.

14          A      Okay.

15          Q      So when you were doing non-criminal

16    interdiction stops, you said you do a reactive approach.

17    What does that mean?

18          A      So when I said reactive, what I meant was

19    basically patrol.         Patrol itself.        Not the traffic stops,

20    but the patrol itself is a reactive type of police work

21    being it's after the fact a 911 call has been made.                       And

22    I guess even in the traffic stops, if you were to call it

23    reactive, it's because it's after the fact the violation

24    happened.      So it's the same thing.

25                 So patrol is just reactive police work.                  I

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1     don't think it prevents crime.             I think it reacts to the

2     crime that has already happened.

3           Q      Okay.     I understand.       So when you say reactive

4     approach, you're saying you're seeing a crime or you're

5     getting called about a crime and you're reacting to that

6     crime.

7           A      Yes, ma'am.

8           Q      When you were a patrol deputy, how many traffic

9     stops would you do in a given day?

10          A      I don't have an exact number, but it would

11    depend on the calls that are incoming.                I worked second

12    shift, so there were days where I didn't get many because

13    it was one after another as far as calls for service.

14                 But if it is a slow day, I would not go sit in

15    a parking lot and eat food and hide.                I would sit on the

16    side of the highways or a roadway that I know there's a

17    lot of the accidents on or bad driving, and I would try

18    to identify people that are driving recklessly, speeding,

19    doing anything that can cause an accident.

20                 So in a way that was my way of being a good

21    patrol deputy.        And in my eyes a bad patrol deputy was

22    the one that would not do what I'm doing and would go

23    park in a parking lot and eat food, hidden in a corner

24    waiting for the next call.

25          Q      I understand.        So can you just give me an

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1     estimate about how many traffic stops you did generally

2     per day?

3           A      On a non-busy day, probably over ten.

4           Q      Okay.

5           A      And that's not going to be exact.                This is all

6     vague.     But at least ten.

7           Q      Sure, give or take ten.

8           A      I had a goal of eight.           I had a goal of eight.

9     And the reason I say that is because when I was trained

10    in the beginning of -- for patrol, the trainer that I had

11    always -- he was a pretty proactive officer, meaning he

12    tried to prevent crime and did a lot of that -- he always

13    said a good number is eight, to try to prevent crime

14    within your eight traffic stops.

15          Q      Okay.     And did that number change when you

16    became a criminal interdiction deputy?                Did you have a

17    goal number when you became a criminal interdiction

18    deputy?

19          A      No, ma'am.       There was no goal number.               The job

20    was traffic stops.         So from start to finish of the shift,

21    I was doing criminal interdiction traffic stops, ma'am.

22          Q      Okay.     At some point you became part of the

23    Special Enforcement Unit.            We looked at that.

24          A      Uh-huh.

25          Q      Was that a promotion?

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1           A      I believe so.        I looked at it as a promotion.

2     Some people would disagree.            But yeah, absolutely leaving

3     patrol and moving into a Special Operations Unit would be

4     considered a promotion.           I believe I earned it through

5     all that training I received I was getting while I was on

6     patrol.

7           Q      Okay.

8           A      So I was recognized for that.

9           Q      And how did you get that position?

10          A      By doing -- doing all the training I was doing

11    out of my own pocket.          When I heard they were opening a

12    team, I began to reach out to Sergeant Gamboa, and I

13    think he had heard about me from other captains.                      Because

14    on patrol, in between calls, after I started receiving

15    training, I began doing criminal interdiction-style

16    traffic stops on Highway 37, because I worked out there,

17    and I was actually making a good number -- not large,

18    huge kilo arrests, but I was making a lot of

19    narcotic-style arrests off of the highway.

20          Q      So even before you became part of the Special

21    Enforcement Unit, if I understand what you're saying

22    correctly --

23          A      Uh-huh.

24          Q      -- you were doing some criminal interdiction

25    stops?

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1           A      Yes, ma'am.       That's how I was recognized to go

2     to the team.       They recognized what I was doing, and my

3     record of arrests, and then I was moved over.

4           Q      Were other patrol deputies also doing criminal

5     interdiction activities that weren't part of the Criminal

6     Interdiction Unit at that time?

7                  MR. LEAKE:       Objection, form.

8           A      Deputy Gereb for sure.           As far as anybody else,

9     if they were going to those classes maybe, but I'm not

10    aware of any.

11          Q      (By Ms. Hebert) Sure.           At the time you became

12    part of the Special Enforcement Unit, who were the

13    leaders of that unit?

14          A      It was Sergeant Gamboa, he was overall in

15    charge as a sergeant of the Interdiction Unit and many

16    other things.        I think he was in charge of, at that time,

17    the training academy and like three other things.                     And

18    then the lieutenant that was in charge was Lieutenant

19    Ortega at the time.         And he was in charge -- Lieutenant

20    Ortega was in charge of all of Organized Crime or Special

21    Enforcement Unit.         And then within the Organized Crime,

22    it breaks down to Criminal Interdiction, Gang Unit, there

23    was like four different groups, and they all have

24    different sergeants.

25          Q      Okay.

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1             A      And I think at one point Sergeant Gamboa was in

2     charge of like two or three of them.

3             Q      Okay.     So let me just make sure I understand

4     that.

5             A      Yes, ma'am.

6             Q      The Special Enforcement Unit, is that the same

7     as the Organized Crime Unit, or are they different?

8             A      As far as I understand, it may have changed in

9     the year I've been out of work.

10            Q      Sure.

11            A      But yeah, Organized Crime and Special

12    Enforcement Unit for me was the same thing, as far as --

13    if I was looking at it correctly.                 I kind of stuck to my

14    guns on what I was doing.              But yeah, I think they're the

15    same.

16            Q      And Lieutenant Ortega?

17            A      Lieutenant Ortega, yes, ma'am.

18            Q      Lieutenant Ortega was in charge of the Special

19    Enforcement Unit or Organized Crime Unit, whatever it was

20    called?

21            A      He was the lieutenant in charge, yes, ma'am.

22            Q      Okay.     And when you say Ortega, you're not

23    referring to Sergeant Marta Ortega?

24            A      No, ma'am.       I'm referring to the male

25    Lieutenant Ortega.           I think his first name was Ray.

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1             Q      Ray.     What's the relationship -- is there a

2     relationship between Marta Ortega and Ray Ortega?

3             A      Yeah, I believe they're together.

4             Q      What do you mean by "together"?

5             A      I believe they're -- I don't remember, because

6     again, things changed in a year, but they have kids

7     together, so I believe they're married now.

8             Q      Okay.

9             A      I don't know for sure.

10            Q      So at some point Ray Ortega and Sergeant now

11    Marta Ortega were romantically involved?

12            A      They have children together, so yes.

13            Q      Right.     I wouldn't ask you to speculate about

14    that.

15            A      I know, ma'am.        I'm just being very careful

16    with my answers.

17            Q      I understand.        I understand.       And I want to go

18    back to the organization piece.                So Lieutenant Ortega was

19    over the Organized Crime Unit and the Special Enforcement

20    Unit.

21            A      Yes, ma'am.

22            Q      Generally, both of them.            And then Sergeant

23    Gamboa was in charge of the Criminal Interdiction Unit

24    and other units you don't know exactly which ones?

25            A      Yes, ma'am.

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1             Q      Okay.     I got that correct?

2             A      Yes, ma'am.

3             Q      Anybody else in that chain between Lieutenant

4     Ortega and Sergeant Gamboa, or did Gamboa report directly

5     to Lieutenant Ortega?

6             A      He reported directly to Lieutenant Ortega.

7     That was his, his next -- when you're looking at the

8     chain of command, Lieutenant Ortega was the next one

9     above him.        So yeah, everything should have went through

10    Lieutenant Ortega.

11            Q      Thank you for understanding my question.                 I

12    didn't ask that well.            So I appreciate that -- you

13    clarifying that.

14            A      No, no problem, ma'am.

15            Q      And who was the supervisor of Lieutenant

16    Ortega?

17            A      I'm not sure off the top of my head.                It should

18    be a captain.          Just off the top -- because I don't deal

19    with the captain, but there's going to be a captain in

20    charge of Special Operations.               Then above that there will

21    be a chief.        And chief -- I've been out for a year, and I

22    forgot names.          But yeah, that's the layout of chain of

23    command.

24            Q      And then does the chief report to the Sheriff

25    then?

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1           A      Yes, ma'am.

2           Q      Okay.     So it goes just -- and bear with me, I

3     don't always understand chains of command.

4           A      Okay.

5           Q      So I appreciate you explaining it to me.

6           A      Yes, ma'am.

7           Q      The Sheriff's at the top of the pyramid.

8           A      Yes, ma'am.

9           Q      Sheriff gives directions to the chief.                   The

10    chief gives directions to the captain?

11          A      Captain.

12          Q      And the captain gives directions to the

13    lieutenant?

14          A      Lieutenant.

15          Q      Who then gives directions to the sergeant, who

16    then talks to the folks below.

17          A      Yes, ma'am.

18          Q      Did I understand that correctly?

19          A      Yes.     It's very paramilitary.           It's pretty much

20    lined up to a military style chain of command.

21          Q      Okay.     Thank you.      And I'm going to come back

22    to the Interdiction Unit in a moment, but we talked about

23    how you left the Criminal Interdiction Unit previously.

24          A      Yes, ma'am.

25          Q      And you became an instructor.

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1           A      Uh-huh.

2           Q      What training did you provide at the academy?

3           A      I provided communications, community policing,

4     de-escalation, use of force, traffic stops, defensive

5     tactics, mental health, and many more.                Those are the

6     main ones.      Again, it's a lot.         But those are the main

7     ones I'd like to put on record, I guess.                 We're going to

8     be here a while if I really cover everything I teach.

9           Q      Sure.     So you gave me quite a long list.              Would

10    it be fair to say one of the topics you provided training

11    on was traffic stops?

12          A      Yes, ma'am.

13          Q      And before Alek Schott sued the County, had

14    anyone in the Sheriff's Office suggested that you needed

15    to change how you conducted traffic stops?

16          A      No, ma'am.       And to be clear, on the teaching of

17    a traffic stop, when I was in the patrol academy teaching

18    traffic stops, I in no way was teaching interdiction

19    traffic stops.        I was not teaching a patrolman to do a

20    front seat type interview.            I was teaching them the style

21    of traffic stop we talked about being the patrol traffic

22    stop, the basic traffic stop as we'll call it for that.

23          Q      Okay, thank you.

24          A      Yes, ma'am.

25          Q      To your knowledge, does the Sheriff's Office

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1     have any practice of auditing officer dash camera

2     footage?

3           A      Auditing?      Can you repeat the question?

4           Q      Sure.     To your knowledge, does the Sheriff's

5     Office have any system for generically reviewing dash

6     camera footage?

7           A      Yes, ma'am.       When I was on patrol, I know that

8     the sergeants throughout their shift were supposed to --

9     I think there's an actual number attached to it.                      They

10    have to review a certain number of random body cams

11    from -- to just kind of oversee.              And I think it's an

12    agreement with Axon that requires them to do that.                      And

13    again, I'm not a sergeant, but I just -- I only know that

14    because I would see them -- when I would go get my keys

15    for the vehicle I would see sergeants reviewing body worn

16    cameras.

17          Q      Do you know if Sergeant Gamboa did that with

18    your body worn cameras when you were a criminal

19    interdiction officer?

20          A      Yes, he absolutely did.            I know for a fact he

21    would watch regularly our traffic stops.

22          Q      Okay.     I think this is a good point for a

23    break.     Are you okay with taking a break?

24          A      I'm fine, ma'am.

25                 MS. HEBERT:       Okay, let's take a break, Molly.

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1                  THE REPORTER:        We're off the record.

2           (Recess from 10:27 a.m. to 10:38 a.m.)

3                  THE REPORTER:        We are back on the record.

4                  MS. HEBERT:       Okay, Blair, you had something you

5     wanted to correct?

6                  MR. LEAKE:       Yeah, my client -- you know, to the

7     question of other incidences of IA discipline, I think

8     there was one instance he forgot to mention he wanted to

9     bring it up now.

10          Q      (By Ms. Hebert) Go ahead.

11          A      So I forgot -- so with the Juan Macias case

12    that I was dealing with at the same time as this one, so

13    I was cleared of everything as far as the -- having an

14    affair and whatever else this guy tried to put in on me

15    because he was upset.          However, I did get a three-day

16    discipline, and I -- the reason I forgot is because I've

17    been out of work, and by getting the discipline, it kept

18    going, so I didn't really feel nothing.                 But it was

19    because an ex-girlfriend had turned in a video from a

20    year prior that, I guess, she had in her phone of me

21    stumbling, off duty, out of a car, looking intoxicated,

22    where my shirt came up and you could see my badge and gun

23    on my belt under my shirt.

24                 So I did get three days of discipline for that.

25    I had said no to you to that incident, because as far as

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1     the affair and everything else was -- there was no

2     discipline.      That was cleared.         But that, I just forgot

3     about, because I've been on leave for six months, and

4     great, I have three days, but I'm still not at work, so I

5     didn't feel nothing.

6           Q      I understand.        I understand.

7           A      I apologize for that.

8           Q      No, that's fine.         I appreciate you clarifying.

9           A      Yes, ma'am.

10          Q      So I want to go back to what we were talking

11    about before.

12          A      Okay.

13          Q      Before we broke, you talked about the fact that

14    Sergeant Gamboa regularly, regularly reviewed your body

15    camera footage when you were a criminal interdiction

16    officer.     Is that fair?

17          A      Yes, ma'am.

18          Q      Do you know how often he would do that?

19          A      I don't.      I just know he said -- and again, I'm

20    saying that because he would tell us, "I'm watching your

21    body camera footage."          So have I watched him watch our

22    body cam footage?         Only on occasions where he would bring

23    us in after an incident to do what's called an

24    after-action review, being -- let's say there's a vehicle

25    pursuit of some kind that we end up involved in.                      We'll

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1     sit down, look at the video and talk about what was good,

2     what was bad, and what could we have done better.                       And

3     that's what the after-action reviews are after big

4     operational type things we do.

5           Q      Sure.

6           A      So yeah.

7           Q      Did you ever have an after-action review for a

8     general criminal interdiction traffic stop?

9           A      I believe once or twice he brought me in to

10    just kind of -- in the beginning -- yeah, so in the

11    beginning of my time on Criminal Interdiction, I actually

12    requested that he looks at my cameras.                I'm sure he would

13    have anyway, but me being me, I like to get feedback.                         So

14    I asked him to please watch my traffic stops and I want

15    to hear his opinion on my interdiction stop and --

16    because I know he was interdiction in his, in the past.

17                 So for me, he's a mentor.            So he was the one

18    that I wanted him to look at my traffic stop and give me

19    feedback on what I could do better or what he likes, what

20    he doesn't like.        So he has seen my style of traffic

21    stops.

22          Q      And did he give you feedback?

23          A      He was pretty happy with what he saw.                    I don't

24    remember him saying there was anything wrong.                   He would

25    just give me little pieces of advice here and there.

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1     What, I don't really remember.             But it was just -- I'm

2     one of those guys, I just need that feedback.                   If you're

3     going to be in charge of me, I expect you to look at my

4     stuff and tell me what you think.               Not so much positive

5     reinforcement, but I want to know what can I do to be

6     better.

7           Q      Okay.     Would it be fair then to say that

8     Sergeant Gamboa gave you little tweaks, but generally

9     approved of what you were doing?

10          A      Yes, ma'am.

11          Q      I want to talk a little bit about criminal

12    interdiction tactics.

13          A      Okay.

14          Q      Earlier today you talked about front seat

15    tactics.

16          A      Yes, ma'am.

17          Q      What does that mean?

18          A      Not front seat tactics.            I guess you can call

19    it -- in the training realm of it they call it a front

20    seat interview, but I have to be careful with that

21    wording.     That is the name due to my training, but it is

22    not an interview.

23                 It's just as I'm conducting a warning.                   So if

24    it's not going to be a ticket, it's going to be a

25    warning, meaning I'm typing on paper that it's going to

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1     be a warning, because due to the Sandra Bland Act, we're

2     not allowed to do verbal warnings anymore, like, "Hey,

3     don't do it again, have a good day."                  We can't do that

4     anymore.       So using the Brazos system, which is the system

5     in our vehicle that has a little printer, we type the

6     warning.

7                    So as I'm typing the warning, I have them sit

8     in the front seat.           And while they're in that front seat,

9     it's not a locked door.             It's the front seat.          He goes

10    into the vehicle himself.              If he decides not to sit in

11    the front seat, I would then ask him to stand outside the

12    door with the window down.              And alls that so I can -- as

13    I'm doing the warning, get his information, talk to him a

14    little bit.        If he doesn't say anything to me, that's

15    fine too, because he's got rights.                 And again, this

16    isn't, Where were you on the night of the night?                        It was,

17    Oh, okay, you have kids, that's great.                  You know, talking

18    to him as I'm typing.

19            Q      Sure.

20            A      But that's front seat due to the fact he's in

21    the front seat.

22            Q      Did anyone ever refuse to sit in the front

23    seat?

24            A      I've only had one person say, "I don't really

25    feel comfortable in the front seat."                  I said, "Okay,

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1     that's fine if you want to just stand next to my window

2     with the window down."

3                    I would also explain to people the reason I did

4     that.       Not only to talk to them, but on a highway,

5     because that's where I always was, if you're sitting in

6     your car on the side of the road, as people are driving,

7     they look and they veer.             So I explain to them that if a

8     vehicle veers, it's going to hit them where they're

9     sitting and they're going to die.                 So really for safety

10    purposes, I would like to put them on that other side of

11    the vehicle too, because it protects them.

12            Q      Okay.     Can you help me understand the

13    difference between a hot stop and a cold stop?

14            A      I've never heard the term "hot stop."                    But cold

15    stop is a cold stop being, today I get up at 8:00 a.m.

16    and I'm going to run criminal interdiction on IH-35.                         So

17    now I'm going in there with nothing other than my eyes,

18    my vehicle and the equipment I've been issued.                     I sit on

19    the side of the road.

20                   So if I was to -- I know we can't write this,

21    but let's say this is a roadway.                I'm going to sit like

22    so, like you saw in the video.               What I mean by sitting

23    like this is because what I'm creating is what's, for me,

24    a billboard of Bexar County Sheriff's Office with my

25    marked vehicle.

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1                  What I'm doing is I want everybody to see me

2     from far away to know that I'm on the roadway.

3           Q      Hold on just one second.

4           A      Yes, ma'am.

5                  MS. HEBERT:       Do you have a piece of blank paper

6     so that --

7                  MR. ROWES:       Yes, ma'am.

8                  MS. HEBERT:       Because I'm having a hard time

9     visualizing what you're saying.

10                 THE WITNESS:        Yes, that would be perfect.            You

11    want me to draw it?

12                 MS. HEBERT:       Yeah.     Just take one of these.

13                 MR. LEAKE:       I think he's just saying

14    perpendicular to the road.

15                 MS. HEBERT:       I just want to make sure I

16    understand.      I'm going to -- can you give me an exhibit

17    sticker?

18                 MR. ROWES:       Sure.

19          Q      (By Ms. Hebert) Just so I understand what

20    you're saying.        I want to mark this as Exhibit 43.

21          A      Okay.

22          Q      And I'll hand you a pen.            It's probably going

23    to bleed a lot.        Can you just explain to me what you're

24    talking about?        And bear with me, I am not a good spatial

25    reasoning individual.

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1           A      That's fine.        Again, with the training of every

2     interdiction class you go to, they'll tell you here's the

3     roadway --

4           Q      And you're marking a green line just -- two

5     parallel lines --

6           A      Marking a green line.

7           Q      -- straight across.

8           A      This is a roadway.          So to make it easier to

9     understand, here's your lines.

10          Q      And those are the dotted lines in between?

11          A      Yeah.     And again, I'm not an artist.               So just

12    to give you the idea.

13                 The only reason our vehicles sit this way in

14    criminal interdiction, because of the training I

15    received -- horrible square, rectangle -- is to make a

16    billboard.      Meaning I am not hiding.            I don't want you to

17    not see me.      I'm not trying to trick you.                 I actually

18    want people to see me from a distance.                I want people to

19    see my presence, and I want them to react to my presence.

20                 Because the behavioral driving that I talked

21    about is, to my presence, how somebody's going to react.

22    Being hit the brakes, being I'm in a lane traveling and I

23    put myself from a lane in between two cars, which is not

24    a normal act of a driver of the general motoring public.

25                 So that is it.        So the cold stop would be I

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1     observe a behavioral cue, being something like we talked

2     about, or let's say failure to maintain a lane.                       You're

3     looking at me, whatever the reason is, and you veer over

4     that line, for many different reasons could be happening.

5     You're falling asleep, you're a sleepy driver, which I

6     need to talk to you anyway about getting some sleep.

7     Probably still going to give you a warning, but I'm going

8     to -- if I don't see anything other than a sleepy driver,

9     I'm going to go back, type the warning, give it to him,

10    send him on his way.

11                 However, when I go up there after I see that

12    cue, as I'm talking to you, if I start seeing other

13    behavioral cues that lead me to believe there's possibly

14    something else going on criminal, we'll then move forward

15    into everything you see in Alek Schott's traffic stop and

16    many other stops that I've done that have led to arrests.

17                 Does that make sense?           That's a very long

18    answer, but I'm just trying to explain what we do and

19    what I'm doing --

20          Q      Sure.

21          A      -- and the reason for it.

22          Q      Can you do me a favor and then just label that

23    that's the patrol car?

24          A      Yes.     And again, this is -- what I also want

25    to -- since I'm drawing here, this is not drawn to scale,

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1     so -- I need to put that in here.

2           Q      I understand.

3           A      This isn't the distance from the roadway.

4           Q      Okay.

5           A      Because that's an embarrassment.

6           Q      I understand.

7                  MR. LEAKE:       That's actually a cyber truck.

8     It's very large.

9           A      Yeah, looks like a 113, one of those square

10    tanks.

11          Q      (By Ms. Hebert) So if you were thinking -- and

12    that just prompted a question for me.

13          A      Okay.

14          Q      When you're thinking about to scale, like how

15    far would you park from the roadway?                Do you have an

16    estimate?

17          A      For me it's just a safety thing.                 I don't want

18    to be on top, because again, people will veer.                    Sometimes

19    our people are texting and driving.               So this is one of

20    the most dangerous things you're going to do in law

21    enforcement.       I'd rather -- like this is more dangerous

22    than kicking in the door of a house, I believe, because

23    of the way that people drive.             I'm walking around on the

24    side of the road.         So I always try to keep a good

25    distance.      So if a car does veer, I'm going to have time

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1     to move away.

2             Q      I understand.        So I guess this prompts for me a

3     bigger question.

4             A      Okay.

5             Q      How do you know when someone has a reaction to

6     you when they're driving by you and they see your patrol

7     car, let's say they veer a little bit.                  How do you know

8     that that reaction means anything?

9             A      I don't.      I don't know, until I pull over the

10    vehicle and make contact with the driver.                       And the only

11    thing that allows me to pull over that vehicle is, of

12    course, probable cause.             And during that time, the

13    failure to maintain a lane was the probable cause.                        But

14    again, I'm not out here to give tickets in criminal

15    interdiction.          So most people are getting written

16    warnings.        And once I identify there's nothing, you're on

17    your way.

18            Q      Okay.     So let me just make sure I understand

19    that.

20            A      Okay.

21            Q      So you're using the billboard, you know, the

22    car being the billboard, to see if people are going to

23    react.

24            A      Uh-huh.

25            Q      Is that correct?

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1           A      Yeah, to induce driving behavior.

2           Q      Okay.     And if they do react, and that reaction

3     causes something like them to drive outside of the lane,

4     you would pull them over?

5           A      If it's a violation.          I want to make it clear.

6     So I use -- that was probably a bad example, because the

7     driving outside the lane is a -- it's a good one because

8     it's giving me PC plus a behavior.               Now, some of the

9     other behaviors I talked about, let's say vehicle's

10    traveling, there's two other vehicles, he puts himself in

11    between two other vehicles out of a lane.                     That's a

12    behavior, but what it's not is a violation.

13                 So at that point, if I see enough -- like if

14    I'm looking and then they drive by, let's say, and let's

15    say I see the driver and he's locked up and -- or doing

16    something different, at that point I will pull out.                       I'm

17    not going to creepy follow him, but from a distance, yes,

18    he's gained my interest.

19                 I'm going to now kind of track and look for PC.

20    And being -- PC being probable cause, a traffic

21    violation, whether it be an equipment violation, whether

22    it be a moving traffic violation.               Equipment being

23    lights, wrong color, broken lamp, cracked windshield,

24    something hanging in the rearview that's blocking

25    whatever it is.        If I find that, then I'll make the stop

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1     and do what we talked about.

2                    If I don't find it and let's say I hit county

3     line, I live another day, and go and find the next

4     vehicle.       If I really, really believe that there's

5     possibly something going on with this vehicle, I will

6     actually call or let somebody know that's another

7     interdiction officer in another agency in that county,

8     Hey, you might want to look at this guy, because this is

9     what he did when I saw him.              And then they'll stop him if

10    they see PC.

11                   But no vehicle is getting stopped unless

12    there's PC.        No vehicle is that important to me.                  I don't

13    lose sleep at night if I don't get one at the end of the

14    day type of thing.

15            Q      Sure.     And just so the record -- so that it is

16    clear, when you say "locked up," you did like a gesture,

17    locked -- so if you see someone driving and they get

18    really stiff?

19            A      Yes, ma'am.       So everything I do is off of

20    comparison.        So general motoring public, what is the

21    norm?       What I mean norm is if I watch -- so what I did

22    when I first got into criminal interdiction -- I know

23    these are winded answers, but when I first got into

24    criminal interdiction I knew in order to do it properly I

25    need to understand what normal looks like as far as

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1     traffic.

2                  So in the beginning of criminal interdiction,

3     what I did is I didn't make traffic stops.                    In between

4     calls I would sit on the highway and I would just watch

5     traffic.     I would watch how people look at me when they

6     drive by me, I would watch how people drive from a

7     distance, how people react to my presence, and I don't

8     make stops.      I was studying the behaviors of the drivers,

9     the general motoring public.

10                 What I will tell you is that the norm for

11    people when they're passing police, they will actually

12    look right at you.         That's actually the norm.             A lot of

13    times people that were involved in some sort of crime,

14    when they would pass me, if I saw a behavior, I'd look --

15    what I would see -- what I meant by "locked up" is hands

16    gripping the steering wheel, eyes locked forward, and

17    literally stiff in their seat, arms extended, like elbows

18    locked, very noticeable.

19                 But when somebody is that in fear of being

20    stopped by the police, you'll see this (indicating).                       Not

21    always.     But if I do see that, you've now got my

22    attention, and I'm going to want to maybe see if I see

23    anything or hear anything in my analysis.

24          Q      Okay.     And just so that it's clear for the

25    record, because you're showing me physically.

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1            A      Yes.

2            Q      By "locked up" you mean like arms straight and

3     tense and posture kind of erect and tense?

4            A      If I was to put words on it, hands clenching

5     steering wheel, elbows locked, arms locked out, neck

6     stiff, eyes straight, locked, in a tight position, as

7     he's passing.

8            Q      Okay.     And how do you know that body language,

9     for lack of a better descriptor, isn't just in response

10    to fear of the police, innocent fear of the police?

11           A      So I don't at that point.            However, with my

12    training, and with my experience in behavioral analysis,

13    upon approaching that vehicle and talking the way I do as

14    you heard in the video, "My name is Joel," not Deputy

15    Babb, and all the different relaxing tone, a lot of times

16    within seconds I can see, okay, there's nothing here,

17    you're going to get a warning, here you go, have a nice

18    day.

19                  But it's all -- it's just what leads me into

20    the stop of getting that analysis of, is there something

21    going on, to build a reasonable suspicion.

22           Q      Okay.     What do you mean by "to build a

23    reasonable suspicion"?            I don't understand that part.

24           A      Okay.     So with reasonable suspicion, I would

25    never say -- like for example, let's say, okay, the guy

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1     changed lanes, and then as I called it, locked up.                    In no

2     way shape or form am I taking that right there and

3     stopping this man and saying -- or woman, and saying,

4     "Step out of the vehicle."            Because that's not enough.

5                  When I say "building reasonable suspicion,"

6     reasonable suspicion is a set of facts or circumstances

7     that I group together that say, okay, this by itself

8     would not be a reason to have this man step out of the

9     vehicle.     However, these three or four things that I

10    observed is a grouping that gives me reasonable suspicion

11    to believe there may be something going on here.

12                 It's not probable cause, but it is reasonable

13    suspicion, which allows me to move forward with the

14    things you see in the video.

15          Q      Okay.     And so does that mean every time you ask

16    someone to step out of the vehicle you have reasonable

17    suspicion?

18                 MR. LEAKE:       Objection, form.

19          A      So what it means is, when I have somebody step

20    out of the vehicle, I will do it -- if it's a consensual

21    step out, there are times with where the traffic is so

22    whipping by that I will ask them to step out due to

23    safety, and then just bring them to the back of the car

24    or over here on the other side of my car as a safety

25    thing.

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1                  However, a lot of times when I have somebody

2     step out of a vehicle, it's a safety thing, because I

3     believe they're armed and dangerous.                I have the belief

4     that they possibly are.           Which also is what -- if it gets

5     into it later, which also is what leads me to doing a

6     Terry frisk or pat down on an individual.

7                  Usually, like I did with Alek Schott, whether I

8     have to or not, I still get consent to pat them down.

9           Q      (By Ms. Hebert) Okay.           I guess I don't

10    understand then.        So do you ask every driver to step out

11    of the vehicle?

12          A      Not every driver.         The majority of them I do,

13    for safety purpose.

14          Q      Okay.

15          A      And I want to clarify the words we're using

16    here is ask.       I don't tell people to step out.              It's in

17    the question format.          I'm asking them, Do me a favor and

18    step out of the vehicle.

19          Q      Okay.     I want to talk a little bit about

20    license plate readers.

21          A      Yes, ma'am.

22          Q      And I understand that the criminal interdiction

23    patrol officers had four license plate readers --

24          A      Yes, ma'am.

25          Q      -- on the patrol vehicle.            Is that

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1     understanding correct?

2             A      Yes.

3             Q      When you looked at the record for a license

4     plate reader in the license plate reader system, what

5     would you see?

6             A      Okay.     So when I look at an LPR, one thing I

7     want to start with --

8             Q      When you say LPR --

9             A      License plate reader.           So for the record --

10            Q      Okay.     So if we say LPR --

11                   MR. LEAKE:       She's going to throw a stapler at

12    you guys.

13                   THE WITNESS:        Sorry.

14            A      For the record, LPR is license plate reader.

15    Okay.       So when I look at an LPR, what I see is little

16    snippets and pictures.             License plate reader is not only

17    on the front of police cars.                Not many police cars even

18    have license plate readers other than special operations

19    vehicles.        But they're also on garbage trucks, as far as

20    I've heard.        There's cars that actually drive around with

21    LPRs for Google images.             There's people that work for

22    Google that actually --

23            Q      (By Ms. Hebert) What do you see when you look

24    at the record?

25            A      A snippet and a picture.            So wherever these

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1     LPRs are, the vehicle drives by, picture snaps snapshots

2     of the front and rear of the vehicle, which is why we

3     have front and rear license plates.                 And in the picture

4     you'll see a picture of the car, the license plate, and

5     where their picture was taken.

6             Q      Okay.     And how much history, for a vehicle, do

7     you see when you look at the license plate reader record?

8             A      I don't know the exact answer of how far back

9     it goes.       It goes pretty far back.

10            Q      Okay.     I mean, does it go back days?

11            A      Oh, it goes back farther than that.

12            Q      Does it go back months?

13            A      I never really went too, too far back, but it

14    does go back possibly months.               I'm not 100 percent

15    familiar with LPRs this way.

16            Q      Sure.

17            A      I know the basics of I'm going to check the

18    pictures and see where he's been.                 I'm kind of like

19    the -- I'm not in -- I'm in no way a professional with

20    LPRs.

21            Q      And did the LPR system give you alerts as a

22    criminal interdiction deputy?

23            A      It could, but it didn't.            So he didn't have our

24    LPR set up to do that.

25            Q      And by "he," who do you mean?

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1           A      "He" being Sergeant Gamboa, because I believe

2     he's the point of contact with -- the company was

3     Vigilant license plate readers that we use.                   There's

4     numerous companies for license plate readers.

5                  You can have license plate readers set up to

6     actually alert you when they're stolen vehicles.                      There's

7     actually -- there's a whole thing you can do.                   And I

8     believe in order to do that you have to go through State

9     Troopers.      It's above my pay grade.

10                 Alls ours did, I was able to look it up and see

11    where he has been.         And what ours was doing for other

12    officers was if I'm sitting on I-35, like I was in the

13    video, every vehicle that passed me got snapshotted.                      So

14    if another cop, let's say, that I'm not -- looks up a

15    vehicle's license plate, the picture, when he passed me

16    that day, will pop up and show he was in Bexar County on

17    IH-35, here, because my -- while I'm sitting there, it's

18    snapping pictures of vehicles as they're passing by.

19          Q      Okay.     And so -- do you have to turn your

20    license plate reader on?           Did you have to turn your

21    license plate reader on?

22          A      I believe -- I think they're always on.                   When I

23    had to look stuff up, I had to log in and look it up.

24    But as far as the license plate readers -- I may be

25    wrong, because again, I'm not a technical guy with it --

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1     I believe it's always on.

2           Q      Okay.

3           A      It's always taking pictures.             As long as the

4     vehicle's running, I believe those things are snapping

5     pictures of vehicles.

6           Q      Okay.     And what was your understanding of how

7     you were supposed to use an LPR in your criminal

8     interdiction work?

9           A      For me, the understanding was -- because again,

10    I wasn't using it to find vehicles.               It was more, okay,

11    if I'm going to look up a vehicle, it would just show me

12    where he's been.

13                 So as I'm doing a warning -- if I have like a

14    reason to believe, when I'm talking to somebody, and I'm

15    seeing a behavior or something, that makes me think maybe

16    this guy's up to something.            While I'm doing the warning,

17    I'm going to take a minute and I'm going to run that

18    plate, because if he's telling me he went to X, Y and Z,

19    I can do a quick confirmation.

20                 And then at that point, let's say a guy tells

21    me I've been to X, Y and Z and I look on LPR system, and

22    as he's telling me he's been to X, Y and Z, in front of

23    me is snippets of his picture at A, B and C.                    So now I

24    have reasonable suspicion that he's lying.                    Not enough to

25    make an arrest.        Not enough to go totally deep.                 But

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1     again, part of the grouping of the reasonable suspicion

2     I'm going to build in order to move forward.

3           Q      Okay.     I want to talk about the stop of Alek

4     Schott.

5           A      Yes, ma'am.

6           Q      Did you stop Alek Schott on March 16, 2022?

7           A      Yes, I did.

8           Q      Was he traveling northbound on I-35 when you

9     stopped him?

10          A      Yes, ma'am.

11          Q      How long did you detain Alek Schott on the side

12    of the road?

13          A      I don't know the exact time.

14          Q      More than an hour?

15          A      I believe it was just under an hour.                 But

16    again, I could be wrong on that too.                It was two years

17    ago, but -- plus I never really --

18          Q      Sure.     So less than two hours?

19          A      Yes.

20          Q      So maybe around an hour, maybe less, maybe

21    more, but less than two hours?

22          A      That's a great answer, ma'am.              Yes.

23          Q      Okay.

24          A      That's very vague.          I like it.

25          Q      Did you search Alek's truck?

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1           A      Yes, I did.

2           Q      Did you find anything?

3           A      No, I did not.

4           Q      Did you find any evidence of a crime?

5           A      No, I did not.

6           Q      Okay.     Did Deputy Gereb help you search Alek's

7     truck?

8           A      Yes, ma'am.

9           Q      Did Deputy Molina help you search Alek's truck?

10          A      Yes, ma'am.

11          Q      Did either of them find anything?

12          A      No, ma'am.

13          Q      Did you find any evidence of human trafficking?

14          A      Nnnnn...no, ma'am.

15                 MS. HEBERT:       I'd like to take a look at a

16    document.      It's Exhibit C from our records, Jeff.

17          A      Can I go back and just say something?

18          Q      (By Ms. Hebert) Sure.

19          A      So when I did the "nnnnn" and that long thing

20    there with my voice, the reason I say that is --

21          Q      Oh, okay.

22          A      -- because human trafficking -- human smuggling

23    and human trafficking are two different things.                       What I'm

24    looking for on these highways is human smuggling, which

25    doesn't always lead to human trafficking.                     The reason I

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1     kind of extended that was I got a little confused with

2     trafficking.

3                  One thing that I will say is -- one thing that

4     Alek Schott did have in his vehicle was a large amount of

5     empty water bottles.          Now, does that mean he drank a lot

6     of water?      Yes, it probably does.           But one of the things

7     that it can be a grouping of, when it comes to human

8     smuggling, is it's common in a vehicle that's been moving

9     bodies south or north is a large amount of empty water

10    bottles.     So that is one small little snippet of maybe

11    some reasonable suspicion when we start grouping as we

12    talked about.        Because I know we're getting to that.

13          Q      So you -- just to make sure I understood, you

14    saw in Alek's truck a large amount of empty water bottles

15    and you thought that might be evidence of human

16    smuggling; is that fair?

17          A      I just noticed he had a lot of water bottles.

18    At that point I'm not even there yet, because we haven't

19    even approached the vehicle yet.

20          Q      Sure.     And what's a large amount of water

21    bottles, empty water bottles?

22          A      I'd say, if I was going to put a number on it,

23    more than two or three.

24          Q      Okay.     Less than ten?

25          A      Ten or more would be great, because that's

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1     definitely abnormal.          But definitely less than ten, yes.

2           Q      Okay.     In this instance with Mr. Schott, more

3     than two, less than ten?

4           A      Yes.

5           Q      Okay.

6           A      And again, it didn't mean that he was human

7     smuggling.      It could also just mean, which he was, he was

8     doing long travels.         Which again, isn't an end-all be-all

9     of I've got a smuggler here.             But it is something to keep

10    in mind when you're looking at travel patterns.

11          Q      Sure.     Thanks.

12          A      Yes.

13          Q      Thanks for clarifying that.

14          A      Yes, ma'am.

15          Q      I wouldn't have picked up on this.

16                 MS. HEBERT:       Can you hand the witness this

17    exhibit?

18                 Molly, this was previously Exhibit 8.                    So this

19    is Plaintiff's Exhibit 8.

20          Q      (By Ms. Hebert) Can you tell me what this

21    document is?

22          A      Yeah.     So this is my incident report for the

23    traffic stop of Alek Schott.

24          Q      Sure.     And for clarity, if I refer to this as

25    the SPEARS Summary -- just because it says SPEARS --

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1             A      Yes, ma'am.

2             Q      -- at the top --

3             A      Yes, that's the company.

4             Q      -- I'm referring to this document, Plaintiff's

5     Exhibit 8.

6             A      Yes, ma'am.

7             Q      Okay.     And I'd like to flip to Page 3.

8             A      Okay.

9             Q      So there's the number BC 166 at the bottom.

10    That's just an attorney number --

11            A      Yes.

12            Q      -- to help identify pages.             Do you see that

13    page?

14            A      Yes, ma'am.

15            Q      Okay.     And whose name is in the Author field?

16            A      The Author field is myself, Babb.

17            Q      And the Entered field?

18            A      Entered is Babb.

19            Q      Okay.     And that's you?

20            A      Yes, ma'am.

21            Q      Okay.     Can you tell me what the report time is?

22            A      Report time?        It is 15:33, being 3:33 in the

23    afternoon.

24            Q      And 3:33 in the afternoon --

25            A      P.m.

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1           Q      -- is Central Time?

2           A      3:33 p.m., yes.

3           Q      And what's the date?

4           A      The date is 3/18/2022.

5           Q      Okay.     And so does that mean that you wrote

6     this report in the afternoon on 3/18/2022?

7           A      Yes, ma'am.

8           Q      Did you write a report like this for every

9     criminal interdiction stop you did?

10          A      Not ones like Alek Schott's.             He was released

11    with a warning.        This would actually be a CAD input.               He

12    just was different because of, during the traffic stop,

13    towards the end, he had made a comment asking about it

14    being put on paper.         So that told me he was most likely

15    going to have some sort of complaint.                So I annotated a

16    report for that.

17          Q      Sure.

18          A      But no, the norm for this type of stop where

19    nothing was found and he was released would be an input

20    on what's called the CAD system.              CAD, I believe, is

21    computer some -- I don't know.             But it's the computer,

22    and I would put in that the search took place, officer

23    initiated action -- I can't remember.                It's been a while.

24    But it's just a couple of little sentences to let him

25    know he was released.          But no report would be done for

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1     that one.

2           Q      Okay.     So let me just unpack what I understood

3     you to be saying.         And correct me if I'm wrong.

4           A      Okay.

5           Q      Mr. Schott made a comment at the end of the

6     traffic stop --

7           A      Uh-huh.

8           Q      -- asking something about a record?

9           A      He was asking -- I can't remember exactly, but

10    it was something about how is -- is it something written.

11    It's on the video.

12          Q      Sure.

13          A      But he said something where we talk about

14    abnormalities.        That is not the normal thing you hear.

15    So me being a man who's done a lot of traffic stops, I

16    said he's probably going to have some sort of complaint.

17    And I could tell just by his face expression --

18          Q      Sure.

19          A      -- he was not happy.

20          Q      And that comment was the day of the traffic

21    stop; is that fair?

22          A      The day of the traffic stop, yes.

23          Q      And the traffic stop date was 3/16/2022?

24          A      3/16, yes, ma'am.

25          Q      And this report was written 3/18/2022.

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1           A      Yes.

2                  THE REPORTER:        Excuse me.      Could you pause and

3     really let her finish her question --

4                  THE WITNESS:        Oh, I'm sorry.       Yes.

5                  THE REPORTER:        -- before you start your answer?

6           Q      (By Ms. Hebert) So this report was written on

7     the afternoon of 3/18/2022; is that correct?

8           A      Yes, ma'am.

9           Q      So why did you write this narrative two days

10    after Alek's stop?

11          A      I don't remember if he had made the complaint,

12    and they told me about it, or if it was -- because again,

13    it wasn't a priority.          It really wasn't.         He -- if he was

14    going to complain, that's fine.              I knew that sometime

15    here I need to throw it on paper.               But again, the norm

16    was not to put it on paper.            And I am pretty busy as an

17    interdiction officer doing actual case reports for people

18    that actually got arrested.

19                 So again, Alek Schott at this point in time was

20    not my priority.        I just had a feeling he might complain.

21    But I felt I did nothing wrong, so I was not worried

22    about his complaint.

23          Q      I understand.        So you might have written this

24    general report after Alek complained?

25          A      Maybe.     I just, I can't remember.             But I know

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1     it was pretty fast.         He complained pretty fast.                So I

2     don't -- I just -- I don't remember how I heard it.

3           Q      No, that's fair.         That's fair.       I want to take

4     this report section by section.

5           A      Okay.

6           Q      And reading kind of the first sentence, I'm

7     going to read it to you.

8           A      Okay.

9           Q      Tell me if I get it wrong.             "While working in a

10    criminal interdiction capacity wearing the BCSO tan

11    uniform with a chest mounted Axon body worn camera

12    (BWC)."     Did I read that correctly?

13          A      Yes, ma'am.

14          Q      Okay.     And why, why a tan uniform, not a blue

15    uniform?

16          A      Special unit.        I believe the reason he went

17    with tan -- I was not a fan of the tan uniform because we

18    look like Border Patrol and that doesn't help me in what

19    I was doing for trying to make people comfortable.                       The

20    tan was due to the fact we spend so much time outside of

21    our vehicle, for the sun.

22          Q      And when you said, "He went with tan," who were

23    you referring to?

24          A      Sergeant Gamboa created the uniform, created

25    the unit.

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1           Q      Okay.     And your uniform said "Criminal

2     Interdiction Unit" on it?

3           A      Yes, ma'am.

4           Q      Okay.     Where was that label located?

5           A      It was over, so right side.             I have to like

6     visualize.      Right side.       My name and unit under.

7           Q      Okay.     And were you carrying a gun when you

8     were doing this --

9           A      Yes, ma'am.

10          Q      -- criminal interdiction patrol?

11          A      Yes, ma'am.

12          Q      And where was your gun located?

13          A      Right side, ma'am.

14          Q      Okay.     Did you have a taser when you were

15    carrying out criminal interdiction?

16          A      Yes, ma'am.

17          Q      Where was your taser located?

18          A      For me, left side.

19          Q      Okay.     So just to summarize, you had your

20    Criminal Interdiction label on your uniform, you had your

21    gun on your right side and your taser on your left?

22          A      Yes, ma'am.

23          Q      And where is your body camera located on your

24    uniform?

25          A      I put it directly center, right here on my

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1      chest.

2            Q      Okay.

3            A      So chest mounted.

4            Q      I want to read the second sentence.

5            A      Okay.

6            Q      "Driving a marked patrol Tahoe equipped with

7      internal red and blue emergency lights, front mounted

8      Vigilant license plate readers, a dash and rear seat

9      mounted Axon camera that was mistaking not activated, a

10     NCIC/TCIC computer system and a Brazos electronic ticket

11     writing system."

12           A      Yes, ma'am.

13           Q      Did I read that correctly?

14           A      Uh-huh.

15           Q      So I just want to make sure I understand all

16     the equipment that you had, and I want to understand all

17     the records of this traffic stop.

18           A      Okay.

19           Q      So for the equipment you listed, emergency

20     lights, license plate readers, a dash camera and a rear

21     camera.

22           A      Uh-huh.

23           Q      Some kind of computer system and some kind of

24     electronic ticket writing system.               Did I get that right?

25           A      Yes, ma'am.

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1            Q      And I remember at some point during the traffic

2      stop, you used a radio --

3            A      Yes.

4            Q      -- too.      So your patrol car was also equipped

5      with a radio.

6            A      My patrol car and also my body.                 I have a

7      handheld and also one in the vehicle, yes, ma'am.

8            Q      Okay.     Other than this equipment listed here

9      and the radio, did you use any other equipment in making

10     or conducting the traffic stop of Alek Schott?

11           A      Well, I had used my phone.

12           Q      Okay.     So other than also your phone, did you

13     use any other equipment in making the traffic stop of

14     Alek Schott?

15           A      Not as far as the traffic stop.                 In the search

16     I used, as you saw in the video, my knife, so...

17           Q      Sure.

18           A      And I'm sure we'll get to that.

19           Q      We can talk about that.            But I'm talking about

20     in making the stop, in the initial stop, did you use any

21     other equipment that's not listed here, other than your

22     phone?

23           A      Nope, that's it.

24           Q      Okay.     I want to look at the third sentence.

25           A      Okay.

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1            Q      And the third sentence starts -- I'm looking

2      for it.     Oh, okay, here it is.          "I was sitting static on

3      the side of U.S. Highway 35 South.               I observed the listed

4      Ford F-250, Texas license plate LJR4135 driving over the

5      painted line on the left side of the road."

6                   Did I read that correctly?

7            A      Yes, ma'am.

8            Q      Okay.     I understand this sentence to mean that

9      you were sitting in your patrol car.

10           A      Uh-huh.

11           Q      Is that fair?

12           A      Yes, ma'am.

13           Q      So you were sitting in your patrol car.                  In

14     sitting static here, did you mean that your patrol car

15     and you were stationary?

16           A      Yes, not moving.

17           Q      Okay.     And does that mean that you were sitting

18     static when you observed --

19           A      Yes, ma'am.

20           Q      -- the F-250 -- hold on.            Does that mean you

21     were sitting static when you observed the F-250 commit

22     the traffic violation?

23           A      Yes, ma'am.

24           Q      Okay.     And what were you doing when you saw the

25     F-250 come down the road?

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1            A      I was sitting in my vehicle, and I was watching

2      the traffic oncoming.          So I was watching for his license

3      plate.     I was looking for his license plate.                And then --

4      that's it.      That's what I was doing.            I was sitting --

5            Q      Sure.

6            A      -- just like I'm sitting now, in the vehicle,

7      but turned, so I'm here.           So I was always on like the

8      edge of the seat kind of watching traffic.

9            Q      When you say "turn here," I'm just going to

10     make it clear for the record.             Turned facing oncoming

11     traffic?

12           A      Yes, ma'am.

13           Q      Okay.     And so walk me, walk me through exactly

14     what you saw.

15           A      Okay.

16           Q      You saw the F-250 driving towards you on the

17     highway.     And then what happened?

18           A      When I was watching him, he -- his tire went

19     and hit the line.         And what I mean by "hit the line" is

20     the tire went onto the yellow line.               And that is all I

21     need for a failure to maintain a lane.

22                  Once I got behind him, he actually hit the

23     line, I don't remember how many times, but he did hit it

24     again.

25                  Now, there's no measurement of numbers or

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1      anything like that.           Alls the tire needs to do for

2      failure to maintain a lane is actually touch that line,

3      that yellow painted line.              So I want to make that clear

4      that it's not -- I know it sounds -- I think people are

5      imagining him going all the way over like he's a drinker.

6      No, it's as simple as just not being in your lane.

7              Q      Sure.     So I want to make sure I understand

8      that.       You saw the F-250 driven by Mr. Schott hit the

9      yellow line that's on the left side of the highway when

10     you were watching the oncoming traffic come towards you?

11             A      Yes.

12             Q      Okay.     And then you said that once you drove

13     out, pulled into the highway --

14             A      Yes.

15             Q      -- the traffic, and you were following

16     Mr. Schott, you saw him hit the painted line on the left

17     side of the road again.

18             A      The fog line, yes, ma'am.

19             Q      The fog line.        Okay.    Did you see anything else

20     that led you to conclude that Mr. Schott committed a

21     traffic violation?

22             A      No.     That was the only traffic violation that I

23     saw.

24             Q      Okay.     Let's look at the fourth sentence.

25             A      Okay.

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1            Q      And it starts with "I activated my red and blue

2      emergency lights and initiated a traffic stop."                       I'll

3      read the next one too.           "The listed Ford pulled over

4      without incident."

5            A      Yes, ma'am.

6            Q      So I understood that to mean that you activated

7      your, the lights of your patrol car.

8            A      Uh-huh.

9            Q      And -- not your siren.

10           A      No.

11           Q      So you activated only the lights of your patrol

12     car --

13           A      Yes.

14           Q      -- and the traffic stop started.

15           A      Yes, ma'am.

16           Q      And the listed Ford pulled over without any

17     incident.      There was no problem in making the stop for

18     Alek Schott?

19           A      Yes, that's what that means.

20           Q      Was there anything in starting the traffic

21     stop, in pulling Mr. Schott over, that made you

22     suspicious?

23           A      Yes, ma'am.

24           Q      What was that?

25           A      Upon walking up on the side of the car --

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1             Q      And we'll get to that.           But I mean just like in

2      the act of pulling him over to stopping -- to stopping

3      the vehicle, was there anything suspicious in that

4      specific moment of time?

5             A      No, ma'am.

6             Q      Okay.     I think you can put this to the side for

7      now.

8             A      Okay.

9             Q      We'll come back to it later.             Let's take a

10     brief break so that I can set up the video stuff,

11     because --

12            A      Okay.

13            Q      -- I want to make sure the tech works.

14            A      Yes.

15            Q      Then we'll come back.

16            A      All right.

17                   THE REPORTER:        We're off the record.

18            (Recess from 11:16 a.m. to 11:28 a.m.)

19                   THE REPORTER:        We're back on the record.

20            Q      (By Ms. Hebert) Okay.           Mr. Babb, you indicated

21     there's something you wanted to correct on the record?

22            A      Yes, ma'am.       Earlier we talked about human

23     smuggling.       So when I'm on the highways, I'm looking for

24     human smuggling.         You had said human trafficking.               I

25     corrected you on that.            But I wanted to make it clear

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1      that my biggest passion in interdiction is actually human

2      trafficking, which not all, but a good number of the

3      human smuggling that takes place on the highways will

4      lead to human trafficking.            So I just want to make that

5      clear.

6            Q      So just one follow-up question.                 I'm sorry, I

7      have to ask this.         What's the difference between human

8      smuggling and human trafficking?              I just don't

9      understand.

10           A      Yes, ma'am.       Human smuggling is the movement of

11     bodies illegally across the highways.                So if I was to --

12     an example would be -- let's say -- I don't want to say

13     ethical, but like, I guess, moralistic human smuggler is

14     a guy who picks up a Mexican national from a ranch, let's

15     say, from hiding in the woods, because they've already

16     crossed.     He then takes them to Dallas.              They get to the

17     family.     They hug their aunt.          They're happily ever

18     after.     Human smuggling.

19                  Human trafficking, I pick up a Mexican national

20     in a wood line or something at a ranch.                 They are in the

21     belief that they're going to Dallas to their family

22     member.     I then take them to -- let's say, since we've

23     hit so many houses in this area, San Antonio into a home

24     off of 35.      We then put them in a room with 30 other

25     Mexican nationals that thought they were going to Dallas.

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1      We then tell the family they owe us X amount of dollars.

2      They're broke because they used their lifesavings to get

3      them here.      And now, Oh, don't worry.            I'm going to now

4      use your family member for sex trafficking, labor

5      trafficking --

6            Q      Okay.     I understand, I understand.             And when

7      you were using the "I" in those statements and the "we,"

8      you are not referring to I, Deputy Babb, or I and we, the

9      Sheriff's Office.         You were referring to I and we, the

10     folks who are engaging in criminal activity.

11           A      Yeah, I'm giving you an example.                Not me.

12           Q      I just wanted to make sure, so the record is

13     not confusing about that.

14           A      Yeah, no.

15           Q      So we're going to watch a little bit of your

16     body camera footage here.

17           A      Okay.

18           Q      One question I have for you is --

19           A      Yes, ma'am.

20           Q      -- generally when you were doing a basic

21     traffic stop -- we talked a little bit about those

22     before --

23           A      Uh-huh.

24           Q      -- how long does it take you to write a

25     warning?

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1              A      I'm using their driver's license, as long as

2      they have it, and I'm typing their name.                   So it can be up

3      to -- because I don't type very fast, sometimes

4      10 minutes, at the most.             That's the max.

5              Q      Sure.     And we're about to watch your body

6      camera footage.          I'm going to ask you about some of these

7      numbers so we understand them.

8              A      Okay.

9              Q      It's your body camera footage first.                What are

10     these numbers that you see at the top right part of the

11     screen?

12             A      So that is the date, and I think that's the

13     time.       I never really looked at that.             But I know that's

14     the date for sure.           The one on the bottom, I don't know

15     what it is.        I'm sure it's some sort of marking for the

16     video itself for Axon so we can look it up.

17             Q      Sure.

18             A      But I've never really had to even look at that.

19             Q      That's fine.        And the time, I heard -- and I

20     believe this time stamp is in Zulu time.                   Can you tell me

21     what Zulu time is?

22             A      You know, ma'am, I can't.            Because I have no

23     idea how to -- I don't deal with that.

24             Q      Okay.     And this Axon body number, if it was

25     your body camera, then it would have all the same Axon

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1      body number?

2                     MR. LEAKE:       Objection, form.

3              A      I'm not sure -- I'm not sure how that works.

4              Q      (By Ms. Hebert) Okay.           I just wanted to ask.

5                     MS. HEBERT:       Okay.     I'm going to introduce this

6      exhibit, Molly, as exhibit -- what number are we on,

7      Jeff?

8                     MR. ROWES:       44.

9                     MS. HEBERT:       -- as Exhibit 44.         Plaintiff's

10     Exhibit 44.        Molly, I will get you a copy somehow.

11             Q      (By Ms. Hebert) You're familiar with this

12     footage --

13             A      Yes, ma'am.

14             Q      -- Mr. Babb?        And this is your body camera

15     footage from the stop of Mr. Schott; is that fair?

16             A      Yes, ma'am.

17             Q      Okay.     I'm going to play some of this footage,

18     if that's all right.            And if you can't hear it, please

19     let me know.

20             A      Okay.     There will be no sound for the initial,

21     I think, 30 seconds.            That's the norm for body cameras.

22             Q      Okay.     I'm going to start that again then.              So

23     it's going to be silent here?

24             A      Yes.     I believe it's 30 seconds.

25             Q      Okay.     So we're going to start at 00 and then

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1      just watch the first 4 seconds.

2            A      Okay.

3            (Video played.)

4            Q      Okay.     In what we just watched, your patrol

5      vehicle is already moving at this point; is that fair?

6            A      Yes, ma'am.

7            Q      Okay.     And at this point, when you are already

8      moving, had you -- you had seen Mr. Schott hit the fog

9      line; is that fair?

10           A      Yes, ma'am.

11           Q      Okay.     And had you done anything else?

12           A      No, I just pulled out.           Just to clarify, this

13     camera starts -- the way these systems are set up, when I

14     take the little switch to turn on the lights, that

15     actually activates your body camera.                So that's why we're

16     already on the roadway if we're getting to that, just so

17     you know.

18           Q      Okay.

19           A      When I activate lights, body camera starts.

20           Q      Okay.     So you've already activated your lights

21     at this point?

22           A      If the camera's rolling, yes.

23           Q      Okay.     Now, we're stopped at 004 here.

24           A      Okay.

25           Q      Do you see your computer there?

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1              A      Uh-huh.

2              Q      And can you read the screen at all?

3              A      Not really, ma'am.

4                     MS. HEBERT:       Okay.     Let me -- let's bring out

5      Exhibit M, Jeff.          And I just took a screenshot of that

6      part.       It's not clear exactly, but I took a screenshot of

7      that point at 0:04.

8                     MR. ROWES:       There you go.

9              Q      (By Ms. Hebert) And we're handing you what's

10     marked -- what's the exhibit number of this one?

11             A      44[a], ma'am.

12             Q      -- what's marked Exhibit 44[a].                 Is

13     Exhibit 44[a] exactly what you're seeing on the screen up

14     there?

15             A      Yes, ma'am.

16             Q      And on this image, I see kind of a white screen

17     on your computer screen with like a bar across it.

18             A      Yes, ma'am.

19             Q      And to me it looks like it's saying "license

20     plate" at the top of that bar.               Is that fair?

21             A      Uh-huh.

22             Q      I'm sorry, you have to say --

23             A      Yes.     I'm sorry.       Yes, ma'am.

24             Q      So to me it looks like it says "license plate"

25     at the top of that page; is that correct?

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1            A      Yes, ma'am.

2            Q      Okay.     What is this screen?

3            A      This looks to be the LPR screen.                When you look

4      up on Vigilant license plates, those are your snippet

5      pictures I was telling you about earlier, showing

6      pictures of his vehicle where he has been.

7            Q      Okay.     And so this -- when -- this screen

8      essentially of the license plate reader just shows you

9      like the list of the pictures?

10           A      Yes, ma'am.

11           Q      Okay.     At this point, do you know if you had

12     entered Mr. Schott's license plate in the screen?

13           A      Because I can't read the picture -- most likely

14     I have.

15           Q      Okay.

16           A      Because I will tell you that when I get any

17     type of intel, one thing I want to do is if he's -- if

18     it's something like an irregular travel pattern, what I

19     like to do is use this to kind of confirm what I'm

20     getting as the intel to kind of see if it's matching up.

21                  However, I also want to tell you that we use

22     Vigilant license plate readers.              There's, I believe, two

23     or three other companies that do license plate readers.

24     So when I type in a license plate on Vigilant, it's only

25     going to show me snippets from Vigilant license plate

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1      readers.       And if there's other company license plate

2      readers at places that snapped them, I'm not going to see

3      those, except for that one company we're in contract

4      with.

5              Q      Okay.     I'm going to watch the next little bit.

6              A      Okay.

7              Q      I'm going to watch from 0:04 to 0:30.

8              (Video played.)

9              Q      Okay.     We're actually one second over to 0:31.

10             A      Okay.

11             Q      So to summarize what we just watched to make

12     sure that I'm getting it, the vehicle's moving the entire

13     time in the clip that we just watched; is that correct?

14             A      Yes, ma'am.

15             Q      But the video is completely silent, and then

16     right at 0:30 or maybe 0:29 we hear a beep-beep and then

17     the sound starts.

18             A      Yes, ma'am.

19             Q      Can you tell me what happened with the sound

20     there?

21             A      I was mistaken.         Again, it's been a while.          So

22     what you just looked at, the silent part of the camera is

23     before the camera activates.               So the way it's -- I

24     forgot.       So the way it works is, when you activate -- so

25     whether it's -- so in this case, the lights activated the

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1      camera.

2                   If I would have been outside the vehicle and

3      activated the camera, the way Axon cameras work is,

4      activate camera, your video starts 30 seconds before you

5      activated the camera.          And that's what's silent.

6                   So actually, when you hear the beep, this is

7      when the lights activated, and the 30 seconds you saw

8      before was not activated lights, to make that clear.

9            Q      Okay.

10           A      I -- it's been a year.

11           Q      No, that's helpful.          So at approximately 0:30

12     is when you turned on your lights.

13           A      Yes, ma'am.

14           Q      Okay.     I'm going to watch another portion of

15     the video.      We're going to watch from 0:30 to like a

16     minute and a half.         So buckle up.

17           A      Okay.

18           (Video played.)

19           Q      Okay.     I'm going to stop there, and I stopped

20     at 1:24.

21           A      Okay.

22           Q      In the portion of the video that we just

23     watched that captures, again, your patrol car moving; is

24     that correct?

25           A      Yes, ma'am.

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1            Q      And we see you touch your computer; is that

2      correct?

3            A      Uh-huh.

4            Q      And the screen --

5            A      Yes.     Sorry.

6            Q      And the screen changed; is that right?

7            A      Yes, ma'am.

8            Q      And you started to type something in; is that

9      right?

10           A      Yes, ma'am.

11           Q      Do you remember what you were typing in?

12           A      Yes, ma'am.       So what you're looking at is the

13     screen of the NCIC/TCIC system.              This is the system that

14     we use.     It's the National and the Texas -- I don't know

15     the actual wording, but what it is, is this is the

16     machine that is going to show me everything as far as I'm

17     typing in his license plate now.              What that's going to do

18     is bring up the backdrop of his vehicle and tell me

19     things like if his insurance is confirmed, if it has --

20     if it's a stolen vehicle, it will show me that.

21                  But what it's also doing and what I'm in the

22     action of doing now is putting myself on the map.                     And

23     what I mean by putting myself on the map is once this

24     thing gets clicked, it makes a little siren noise.                     It

25     now is allowing dispatchers to see on the screen, oh,

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1      look, he's got a traffic stop and he's at this area.

2      So -- and it will show like where I'm at on the map.

3      That's all I'm doing is I've activated with the lights

4      and now I'm doing the license plate and putting me on the

5      map for, so dispatch knows where I'm at.

6                   Some officers choose to do this prior to

7      activating lights.         Some officers do it like me, after.

8      It just depends on the officer.

9            Q      Sure.     And I understand that.           What I just want

10     to make clear is I want to understand what you were

11     doing.     So you were running the license plate through the

12     national license plate records system?

13           A      Yes, ma'am.       I'm not looking at that yet.            The

14     main reason I'm doing this is just so my dispatchers see

15     where I'm at.        But yes, I will come back later and look

16     at that.

17           Q      Okay.     So those two things, the national

18     license plate records system and the dispatch thing, they

19     work in tandem?

20           A      Yes.

21           Q      You do both at the same time?

22           A      They see what I see basically is what I'm

23     saying.     They see everything I'm doing on the computer on

24     their computer.

25           Q      Okay.     So you enter it in.          It alerts the

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1      dispatch to what license plate you're looking at and

2      where you are.

3             A      Yes, ma'am.

4             Q      Okay.     And when you run the license plate

5      records through the NCIC/CTIC --

6             A      NCIC/TCIC.

7             Q      TCIC.     Sorry.

8             A      I think it's National Command Information

9      Center and Texas Command -- something.                 I used to teach

10     it.

11            Q      So we're going to call it "the computer" for

12     now.

13            A      Yeah.

14            Q      So when you run the license plate through the

15     computer, you're pulling up the national records and the

16     state records on this vehicle --

17            A      Yes, ma'am.

18            Q      -- is that correct?          And what does that tell

19     you?

20            A      It can tell me if he's got insurance.                    It can

21     tell me -- the most important thing for me is it's going

22     to tell me if it's stolen, and it's going to make a big

23     noise if it's stolen.            And that's good for my safety to

24     know what I'm dealing with before I walk up to this car.

25                   Depending on my situation, usually I won't even

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1      look at any of the background stuff until I get going

2      into the traffic stop itself, after I've obtained his

3      driver's license.         Because what the system also does, and

4      you'll see me doing that too, is do, off the license

5      plate name and date of birth, the background check.

6                   And that is the policy of Bexar County and any

7      other agency during a traffic stop, what you do during a

8      traffic stop.        That's normal traffic stop.             If I'm giving

9      you a ticket, prior to making that ticket, I'm going to

10     run your name and date of birth, and I'm checking to make

11     sure you don't have warrants, I'm checking to make sure

12     you aren't a sex offender that's within a certain --

13     whatever it is it's all going to come up on there.

14           Q      Sure.     And that makes total sense to me.              So

15     you said you enter this in.

16           A      Uh-huh.

17           Q      You pull the records up.            And you're going to

18     look at it to make sure it's not stolen or there's not a

19     warrant out --

20           A      Uh-huh.

21           Q      -- before you get out of the patrol car for

22     safety reasons.

23           A      Yes, ma'am.

24           Q      How does that pop up?           When you run the, the

25     license plate through the record, does it pop up?

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1              A      Do you have a laser pointer or something?

2              Q      I do not.

3              A      It doesn't matter.

4              Q      Actually, I do have multiple printouts of the

5      screen, so let's use that.

6              A      If you look --

7              Q      Hold on.      Let's pull it up.         Can we do

8      Exhibit N, mark that as the next exhibit?                      And Exhibit N

9      is --

10                    MR. ROWES:       45.

11             Q      (By Ms. Hebert) -- going to be Exhibit 45.                  And

12     that is a picture of the screen at one second back.                       So

13     I'm going to have to play a little bit.

14                    MR. LEAKE:       You said 45?

15                    MR. ROWES:       45.

16             Q      (By Ms. Hebert) Okay.           So we've handed you what

17     is marked Plaintiff's Exhibit 45.

18             A      Okay.

19             Q      That is a screenshot of the vehicle at 1:23.

20     I'm showing 1:23.           Do you see any differences between the

21     screenshot that you have and the video right now?

22             A      No, ma'am.

23             Q      And I made sure that I was really precise, so

24     there should be no differences.

25             A      Okay.

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1            Q      Do you see what you typed into your screen

2      there?

3            A      I do, ma'am.

4            Q      And is that the license plate of Mr. Schott,

5      license plate number?

6            A      Yes.

7            Q      And I see you just checked --

8            A      I'm just making sure, yeah.

9            Q      -- Plaintiff's Exhibit 8 with Exhibit 45 to

10     confirm that it's Mr. Schott's license plate.

11           A      Yes, ma'am.

12           Q      Okay.

13                  MR. LEAKE:       Remember to wait until she's

14     finished with her question before you start.

15                  THE WITNESS:        Okay.    Sorry.

16           Q      (By Ms. Hebert) And what program or app were

17     you typing Mr. Schott's license plate into at that point?

18           A      This is the NCIC/TCIC system, ma'am.

19           Q      Okay.     And then you wanted to use some kind of

20     laser pointer.        How about just look at the screenshot and

21     help me understand what you're -- what's happening.

22           A      Just so you know when I --

23           Q      And you can mark it up.

24           A      Okay.     So what's going to happen is I'm going

25     to type in his license plate here, and then there is a

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1      option --

2              Q      Why don't you draw an arrow to like --

3              A      Okay.

4              Q      Because otherwise they can't quite see it on

5      that.

6              A      LP input.      And then I'll press this button

7      here, which is a border crossing option.                   What that's

8      going to do is it's going to show me again any -- there's

9      I guess some sort of systems that are intact with

10     NCIC/TCIC where if you do a border crossing or cross any

11     type of, at the southern border checkpoints, it will show

12     that you were there.            So just another way for me to kind

13     of see --

14             Q      Flag something?

15             A      Yes.     Once I do that, I'll hit "submit," which

16     is right here.          And when that happens, this printer here

17     will blink.        And in order to check all of the records

18     that come up for that car or truck, when I press the

19     printer on the screen, each time I press it, it's a

20     different page.          And it will blink until I've gone

21     through all pages.

22             Q      Okay.

23             A      So that's what you're looking at here.

24             Q      Got it.      So it confirms essentially that you've

25     looked at every page?

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1            A      Yes.

2            Q      And no alert pops up and says warrant out for

3      arrest?

4            A      No, ma'am.

5            Q      You have to look through --

6            A      No, no.      I'm sorry.      Go ahead.

7            Q      You have to look through the record for a

8      particular person?

9            A      So when it comes to stolen vehicles and

10     warrants, what's good about this system is, because not

11     all of us are doing that, because we're also driving, it

12     will buzz.      It will make a buzzing sound for stolen

13     vehicle and warrant.          So I will know, okay, this guy's

14     got a warrant, there's something bad going on.

15                  There's also one for a child safety checklist

16     for missing children, things like that.                 It does a lot of

17     good things.

18           Q      Sure.

19           A      But it does alert us when we have something.

20           Q      Okay.     And so if you have something, it's going

21     to buzz or bing or make some kind of noise?

22           A      Yes, ma'am.

23                  MR. LEAKE:       Objection, form.

24           Q      (By Ms. Hebert) Okay.           How would you

25     characterize the noise?

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1              A      I guess I'll just do it.            Dun-unt.      It sounds

2      like that.

3              Q      Okay.

4              A      There it is, just like that.

5              Q      Let the record reflect he said a noise that

6      sounds kind of like -- oh, what's that shark -- Jaws,

7      dun-unt, the beginning of Jaws music.

8              A      Yes.

9              Q      So did you hear a dun-unt noise when you ran

10     Alek Schott's --

11             A      No, ma'am.

12                    MS. HEBERT:       Blair, keep it together.

13             Q      (By Ms. Hebert) Did you hear a dun-unt noise

14     when you ran Alek Schott's license plate through the

15     system?

16             A      No, ma'am.

17             Q      Okay.     Did you review the records for Alek

18     Schott's vehicle when you ran it the first time right

19     here?

20             A      I can't remember.         And sometimes I do;

21     sometimes I don't.           So I can't remember.          We'll find out

22     in a second I know, but yeah, I don't know.

23             Q      So you ran it through the system, no alert

24     happened.        We're going to continue on.

25             A      Okay.

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1            Q      We're going to watch to 1:44, so a little over

2      a minute.

3            (Video played.)

4            Q      Oh, I stopped at 1:45.           I'm sorry.       So in the

5      portion of the video we watched, you're still driving

6      here; is that fair?

7            A      Yes, ma'am.

8            Q      And you retyped the license plate number.

9            A      Yes.

10           Q      Why did you do that?

11           A      I don't know.        I must have typed it wrong or

12     something.

13           Q      Okay.

14           A      Yeah, I don't know.

15           Q      And the next screen that appeared to come up

16     was white -- is white.

17           A      Uh-huh.

18           Q      Do you see that screen?

19           A      Yes, ma'am.

20           Q      What are we seeing on that white screen?

21           A      So when you hear me refer to a CAD system, this

22     is the CAD screen.         This is the screen that now, when we

23     talked about dispatchers seeing, dispatchers can see

24     exactly this.

25                  Using this screen, it initiates a traffic stop,

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1      shows dispatch that I have a traffic stop, allows

2      dispatch to type messaging, whether -- like if I didn't

3      look and it was a stolen vehicle or something was going

4      on, they could actually type and put it on there as a key

5      note for me to not -- if I don't want to write things

6      down in a notebook, I can get on the radio and say, Hey,

7      please put this on my key card.              So "Can you time stamp

8      Miranda warning?        Please time stamp my Miranda warning."

9      Boom, Miranda warning at this time, rather than writing

10     it down.

11           Q      Okay.

12           A      So this is the system we're using now to

13     receive information and give information to dispatch.

14     But that is most likely printouts that you have of all

15     the messages, if there were any.

16           Q      Okay.

17           A      Which there shouldn't be many for this one.

18           Q      So let's look back at Plaintiff's Exhibit 8,

19     your report.

20           A      Okay.

21           Q      I just have a suspicion here, and I just want

22     to confirm that I'm understanding this right.

23           A      Okay.

24           Q      So when you run this record through the CAD, is

25     that the time, at the very first page where it says

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1      report time 11:15, is that that moment that creates

2      itself?     It's okay if you don't know.

3            A      I don't know.

4            Q      I just was curious --

5            A      I don't know.

6            Q      -- if that's how it works.             Like by running

7      this system and starting whatever button you started and

8      the CAD works, like whether that automatically creates

9      the start of the SPEARS Summary.

10           A      I don't know.        I'll be honest with you, ma'am,

11     when I do my reports, when I'm like making arrests or

12     anything, the only thing I look at and the only thing, I

13     hate to say, care about during that arrest is this.

14     Because this is what I'm giving to a DA, this is what

15     they're going to take my arrest and -- all this other

16     stuff here I just, it's what -- if I understand

17     correctly, using the system that we use for report

18     writing, it's kind of like -- best way to describe it is

19     TurboTax.      It has the little green dots and red dots for

20     filling in information.

21           Q      I understand.

22           A      That's -- yeah.

23           Q      So I'm just going to clean up the record a

24     little bit.      So when you say the only part that you care

25     about is this, you're referring to your narrative report

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1      part of Plaintiff's Exhibit 8.

2            A      And what I mean by "care" is, as far as -- I

3      have horrible ways of putting things, so that sounds

4      rough.     But yes, what I mean by "care" is in my job and

5      what I do in my law enforcement position, this is the

6      important part for me to make my arrest, to annotate

7      information, and to make it clear so that when we're in

8      these situations, you know what's going on and what

9      happened.

10           Q      Sure.     And I just want to be clear.             By "this"

11     you mean BC 166 the general report narrative portion of

12     Alek Schott's traffic stop SPEARS report.

13           A      Yes, ma'am.

14           Q      Okay.     And so then would you say that your

15     report, what you have in your report is the best record

16     then of your understanding of what happened at the stop?

17           A      Yes, ma'am.

18           Q      Okay.     And you generally try to put everything

19     into that report; is that correct?

20           A      I do, ma'am, yes.

21           Q      Okay.     Would there ever be anything that you

22     leave out of the report?

23                  MR. LEAKE:       Objection, form.

24           A      No, there wouldn't be.           In this case, for

25     whatever reason, I did not put anything for the

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1      intelligence that I had.            And I know that's probably

2      where we're going.          And I'm not trying to step ahead of

3      you.

4             Q      (By Ms. Hebert) Sure.

5             A      And I don't have a reason for putting it

6      there -- for not putting it there.                I just didn't.       But I

7      just went with the probable cause.                But yeah.

8             Q      Okay.     Well, we can get to the intelligence

9      piece.

10            A      Okay.

11            Q      In a few minutes.         But other than the -- and we

12     can talk about this report.             But I mean generally

13     speaking, you try to put everything that happened --

14            A      I do.

15            Q      -- at a traffic stop in the report --

16            A      Yes, ma'am.

17            Q      -- is that correct?

18            A      Yes.

19            Q      And you just talked about the intelligence

20     piece, and we're going to dig into that and like

21     understand that full nuance in a little bit.                    But other

22     than that intelligence piece, is there anything that you

23     think -- you feel that you omitted from this narrative

24     report?

25            A      No.     This is the standard of what I'll cover in

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1      the report.

2            Q      Sure.     And just because that might make going

3      through the rest of this just shorter, but I just want to

4      make sure that, you know, this is your report, this is

5      your accurate memory of what happened and what caused you

6      to do certain things.

7            A      Yes, ma'am.       And just, can you explain what you

8      mean by the word "omitted"?            What is that?         Because I'm

9      not --

10           Q      Sure.     No.    Was there anything that you did not

11     include in your report?

12           A      Other than what I just spoke of?

13           Q      Other than what you just spoke about.

14           A      From my memory, no.

15           Q      Okay.

16           A      Everything should be here.

17           Q      All right.       So I'm going to just clarify that.

18     Other than stuff about the intelligence background --

19           A      Yes, ma'am.

20           Q      -- was there anything that you did not include

21     in your report?

22                  MR. LEAKE:       Objection, form.

23           A      No, ma'am.

24           Q      (By Ms. Hebert) Okay.           And I just -- let's just

25     take a step back there.           So you -- we already talked

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1      about the fact that you did not include the intelligence

2      piece in your report.

3            A      Uh-huh.

4            Q      Was there anything that motivated your decision

5      that you needed to call the canine not in that report?

6      So did you not include anything in the report -- did you

7      not include any reason -- I'm trying to find another word

8      than omit.      I keep wanting to say omit.

9            A      No, that's fine.

10           Q      Can I use omit now?

11           A      Yeah, absolutely.

12           Q      Did you omit any reason, any justification that

13     you had for calling the canine?

14           A      No, ma'am.

15           Q      Okay.     So all the reasons why you called the

16     canine are in this report.

17                  MR. LEAKE:       Objection, form.

18           A      No, no, there's going to be other things that I

19     didn't put.      I just put a list of things I seen --

20           Q      (By Ms. Hebert) Sure.

21           A      -- I've seen.        But I can tell you that there's

22     other little things that I'll discuss with you that --

23           Q      Okay, sure.       Then we can continue on with the

24     body camera footage.

25           A      Okay.

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1            Q      So I'm stopped at 1:45.            We talked about the

2      CAD screen.      I'm going to play from 1:45 to 2:13.

3            (Video played.)

4            Q      Okay.     I just stopped at 2:13; is that correct?

5            A      Yes, ma'am.

6            Q      And you see the time stamp here at the bottom

7      that says 2:13 on the bar for the video itself?

8            A      Yes, ma'am.

9            Q      And what time, what time stamp is up in the

10     right-hand corner?

11           A      It looks like -- is that 16:15?

12           Q      Okay.

13           A      Yes.

14           Q      And 38 seconds.         So we just watched your patrol

15     car slow down and come to a stop; is that correct?

16           A      Yes, ma'am.

17           Q      And it looks like you got out of the car.

18           A      Uh-huh.

19           Q      Is that fair?        Between the moment that you

20     stopped your patrol car and you got out, did you see

21     anything in this moment about Mr. Schott's vehicle that

22     was suspicious?

23           A      No, ma'am.

24           Q      Okay.     And I want to watch the next part, 2:13

25     to 2:22.

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1              (Video played.)

2              Q      We just watched a portion of your body camera

3      where you approached Mr. Schott's passenger side of his

4      vehicle; is that correct?

5              A      Yes, ma'am.

6              Q      Okay.     Did you see anything at this point that

7      made you conclude that the driver of this vehicle might

8      have committed any crime other than allegedly drifting

9      over the fog line?

10             A      Not yet.      But what I did observe at this point,

11     which was abnormal and is sometimes a, it can be a factor

12     in this reasonable suspicion buildup of a grouping of

13     things, he was sitting with his hands up like this.

14     While, again, this could just be a thing that somebody

15     does because they're extremely nervous.                   The norm for the

16     average motoring public is to place the hands on the

17     steering wheel and sit rigid with windows down, is what

18     most people do.

19                    Again, this is not something at this point I

20     say to myself, Oh, I got me a criminal here.                     However, as

21     we start adding things throughout the stop, this is one

22     of the factors I may put into my abnormality of behavior.

23             Q      Okay.     Let's watch the next section, 2:22 to

24     2:36.

25             (Video played.)

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1              Q      Okay.     So we just stopped on 2:36.             And in this

2      portion, we watched you approach Mr. Schott's vehicle,

3      speak to him through the open passenger window.                         You

4      identified yourself.            Is that correct?

5              A      Yes, ma'am.

6              Q      And I heard you say, "The only reason I'm

7      stopping you is" -- "I'm stopping you is because you were

8      drifting over the fog line pretty hard."                   Did I get that

9      right?

10             A      Yes, ma'am.

11             Q      And other than drifting over the fog line, was

12     there any other reason that you were stopping Mr. Schott?

13             A      Yes, ma'am.

14             Q      Okay.     Tell me about that.

15             A      So again, that was the intel I had received

16     about him doing a one-day turnaround and the travel route

17     that he took with a female passenger heading to a hotel,

18     dropping a female off and heading back.                   So the irregular

19     travel pattern was the reason I was actually doing the

20     stop.

21                    The reason I said "the only reason is," again,

22     so in the game of interdiction, as we talked about

23     earlier, I want to make sure everybody I'm speaking to is

24     relaxed and as comfortable as possible.                   So I have a way

25     of verbiage that I use to kind of not sound like the

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1      average officer, hence being first name basis, the laid

2      back attempt of sounding like the only reason -- is just

3      a -- it's to relax him and try to make him more

4      comfortable with me as far -- as part of the criminal

5      interdiction of what I do in my training, with building

6      rapport.

7                   At this point it is a traffic stop, but I want

8      to build rapport with everybody I have a traffic stop

9      with to make them as comfortable, because unfortunately,

10     in today's world, as I'm sure you've seen in your line of

11     work, a lot of police officers have no idea how to talk

12     to people, so people are expecting a bad turnout of how

13     we're going to talk to them.

14           Q      Okay.     And why do you want people to be

15     relaxed?

16           A      Because I really want to be able to -- as I'm

17     talking to them and expressing to them what I'm doing, I

18     want to make sure that they're relaxed so that if I start

19     seeing any type of behavior, being deceptive behaviors or

20     anything, as we're talking or having conversation, I want

21     to make sure that I can get a good analyzation of

22     behaviors.

23                  And you're not going to get good behavior --

24     you're not going to be able to analyze somebody's

25     behavior of deception unless they're comfortable and

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1      relaxed.     If somebody's uptight and nervous, it's going

2      to be harder for me to do my job as an interdiction

3      officer with behavioral analysis.

4            Q      Okay.     You started talking a little bit about

5      the intel that you got.           I feel like you want to go

6      there, so we'll just talk about that now.

7            A      Okay.

8            Q      How did you get this intel?

9            A      Using WhatsApp.

10           Q      Okay.     And tell me how that worked.             How did

11     you use WhatsApp?

12           A      So WhatsApp is a -- you know what WhatsApp is?

13     It's an application that is used for communication, like

14     texting type stuff application.              I had found out, and I

15     don't remember who, but somebody had mentioned to me that

16     they're getting a lot of human smuggling busts using

17     WhatsApp on a group called, I believe it was Northwestern

18     or Northwestern Highway.           I don't remember the name off

19     the top of my head.         I'm sure we can look at that.

20                  However, with that is -- with that, there's

21     Fusion Centers involved in it.             I've heard that it's

22     Laredo Fusion Center and other Fusion Centers, and you've

23     got interdiction, criminal interdiction, regular

24     patrolmen all on this app all throughout Texas on this

25     WhatsApp.

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1                   And what happens is they -- there's guys that I

2      guess that sit in Fusion Centers, again, because I don't

3      work in one.       I just -- this is how it's explained to me.

4      They -- people that their job is to sit in Fusion Centers

5      and actually watch travel patterns on the highway, being

6      LPR reads and whatever other cool stuff they have that I

7      don't know what it is.

8                   They see that somebody is doing a one-day

9      turnaround.      Let's say somebody leaves Houston or

10     anywhere from way up North Texas and drives all the way

11     to Mexico, Carrizo Springs or anywhere southern where a

12     lot of our high crime is, our source cities, I guess

13     we'll call it.        At that point, does a one-day turnaround,

14     comes back.      In the criminal interdiction world, the

15     world of human smuggling and narcotics smuggling, that is

16     one of the travel patterns that usually go with it.                     Not

17     always.

18                  Again, there are situations where let's say a

19     Mexican family, a Mexican national will do a one-day

20     turnaround, drive all the way to Houston for a

21     quinceañera, turn around the same day and come back home.

22                  I as an interdiction officer know that.                  So not

23     automatically think when I get that intel I've got a

24     smuggler.      I know that I have to do what I'm doing here,

25     which is start kind of studying what I'm looking at and

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1      hearing.        It takes a lot of concentration, and you have

2      to really pay attention to detail in this type of police

3      work.

4              Q       I understand that.          So let's talk about this

5      stop then.         You got something through WhatsApp.                   What did

6      you get through WhatsApp?

7              A       That Alek Schott did leave Houston -- and I

8      don't remember the details of it, but what it came down

9      to was he left Houston with a female passenger.                          He ended

10     up going all the way to Carrizo Springs.                    What I was told

11     was that he dropped a female off at a hotel.                      And then

12     from that portion, the same day turned around from

13     Carrizo Springs to head back to Houston.                    So the one-day

14     turnaround.         And I can't remember if he told me there was

15     a pattern of those travels.               But again, this is just

16     simple as checking him out, being -- find PC, stop him,

17     see what you get.            And if it's nothing, then "Have a nice

18     day.        Here's your warning."

19             Q       Sure.

20             A       That's it.

21             Q       So how -- I guess I don't understand entirely

22     how WhatsApp provides that for you.                  So, you know, I've

23     used WhatsApp when I was living internationally.                          It was

24     just like text messages.

25             A       It is.

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1            Q      Just a chat.

2            A      Yeah.

3            Q      Is that fair?

4            A      Yes, ma'am.

5            Q      Okay.     So how did you get information from

6      WhatsApp?

7            A      So -- and this is the -- the individual's name

8      was Kiki.      And that's what I know him as.                I don't

9      think --

10           Q      Can you spell that for us?

11           A      I can, but it's probably not going to be right,

12     because I don't know him like that.               If I was to say it,

13     it's probably K-I-K-I.

14           Q      Okay.     That's what I would guess too.

15           A      Okay.     So he -- from what I understand, I

16     believe -- and I don't know for sure, but he works at, I

17     believe, the Laredo Fusion Center.               I think he's the main

18     individual, one of the main individuals that actually

19     watch and see these travel patterns.                And what they'll do

20     is -- they're aware of who's on the group.                    So they know

21     that he's got -- they don't know us by name.                    They know

22     us by Bexar County or whatever our WhatsApp name is.

23                  I think mine was actually Joel.                 I can't

24     remember correctly, because it was just a WhatsApp.                     But

25     he let's you know like, Hey, I've got a guy that did a

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1      one-day turnaround.           Just so you know, he's headed

2      northbound.        He was last picked up on mile marker X, Y or

3      Z.

4                     So mile markers are -- on the highway, you see

5      those little green rectangular signs, those are called

6      mile markers.          A lot of times at those mile markers,

7      that's usually where LPRs are located.                  So he'll say that

8      the last thing he picked up was he's heading northbound

9      I-35.       He just passed mile marker X, Y or Z.

10                    For me, back then, I actually knew what mile

11     marker was right before our county line, so I would know

12     at that point, oh, he's coming my way.                  Let me take a

13     look and wait for him.

14                    Some of these LPR pictures that we get on this

15     thing is literally a snapshot, and you'll actually see a

16     picture laying in the back of a bed of a truck like this.

17     It's that's significant to use these things.                     So that's

18     how that happened.

19             Q      Okay.     So would it be fair then to say that

20     Kiki put information in the chat and you saw that

21     information in the chat?             Am I understanding you

22     correctly?

23             A      So if I remember correctly, ma'am, he did say

24     that somebody had a one-day turnaround and was heading

25     this way.        The phone call during the traffic stop he was

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1      really starting to detail out what he was seeing when I

2      told him that we had a positive canine alert.

3            Q      Okay.

4            A      But yeah.

5            Q      So let me make sure I understand that then.                   So

6      you saw information from Kiki or someone else in this

7      Northwest Highway chat.

8            A      Yes.

9            Q      Is that correct?

10           A      Yes, ma'am.

11           Q      And you stopped Mr. Schott.             We don't need to

12     get into why or how that happened.               You stopped

13     Mr. Schott.      And then during the traffic stop of

14     Mr. Schott, when you were searching Mr. Schott's vehicle,

15     you received a call from Kiki; is that correct?

16           A      Yes.     Yes, ma'am.

17           Q      Okay.     So the information that you received

18     from Kiki before the traffic stop, what would that be?

19           A      If I remember correctly, it was just the coming

20     from Houston, female passenger, one-day turnaround.                    I'm

21     sure there was more to it.            But the way it worked with

22     this, with the WhatsApp was they would tell you that

23     somebody was coming and tell you the license plate number

24     and direction they're traveling and the reason they're

25     having you check them out is because of travel patterns

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1      or anything like that.

2                   And it's doing nothing more than finding PC and

3      just checking them out, meaning what I'm doing here, I

4      found the PC, I'm giving him a warning.                 But as I'm doing

5      that, as I told you, I've already at this point --

6            Q      Sure.

7            A      -- seen the man with his hands up doing some

8      irregular things, so I'm going to go farther.

9            Q      Okay.     So I just want to make sure I understand

10     the events of how you got information from the WhatsApp.

11                  There was -- as I understand it, you remember

12     there was information in the WhatsApp message that

13     Mr. Schott -- you don't know Mr. Schott, so it was in the

14     WhatsApp information that there was a vehicle --

15           A      Uh-huh.

16           Q      -- coming from Houston; is that correct?

17           A      Yes, ma'am.

18           Q      Did they give you Mr. Schott's license plate

19     number?

20           A      Not coming from Houston.            Coming -- well, he

21     came from Houston.         But when I was looking for him, he

22     was coming from Carrizo Springs.

23           Q      Okay.     So I just want to like understand the

24     whole picture of what information -- did you receive

25     Mr. Schott's license plate number?

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1            A      Yes.

2            Q      Okay.     Did you receive where he had started

3      from, which was Houston?

4            A      I believe so.

5            Q      And then what else did you receive?

6            A      Just the travel pattern of he had left at

7      so-and-so in the morning from Houston, went to Carrizo

8      Springs, and the information that makes me want to look

9      at him or that makes them want me to look at him is that

10     one-day turnaround, that travel pattern.

11           Q      Okay.     So basically, it's the one-day

12     turnaround plus that there was a female passenger?

13           A      Yeah.     And I believe -- and I think I say it in

14     there -- I don't remember, but I heard it in the video

15     when I was reviewing, I think he had also said that when

16     he left that morning he was riding tandem with another

17     vehicle.     I did not witness him riding tandem with

18     another vehicle.        However, they, I believe, reported that

19     it was a tandem run.          He had -- that they saw a vehicle

20     tandem.

21           Q      Sure.     And I just want to make sure that I

22     understand.      So there are two buckets of information.

23           A      Uh-huh.

24           Q      Right?     There's the bucket of information that

25     you got through the chat, and then there's the bucket of

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1      information you got through the call.                  Am I understanding

2      that right?

3              A      Yeah.

4              Q      Okay.     So I want to talk about bucket one.

5              A      Okay.

6              Q      The first bucket of information that you got

7      through the chat, what information did you get from the

8      chat?

9              A      What I just said.         It was the name --

10             Q      Name.

11             A      -- the license plate --

12             Q      License plate.

13             A      -- and the one-day turnaround, and a female

14     passenger.        That's what I remember.

15             Q      Okay.

16             A      Again, there might have been more, but at a

17     minimum, that's what I got to tell me, Hey, let's check

18     this car out.

19             Q      Okay.     So those are the four things.             From the

20     chat, I just want to make sure I'm remembering correctly,

21     you got Mr. Schott's name.

22             A      Yes.

23             Q      You got the license plate number.

24             A      Yes.

25             Q      You got the one-day turnaround.

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1            A      Yes.

2            Q      And you got there was something about a female

3      passenger.

4            A      That he had a female passenger, yes, ma'am.

5            Q      Okay.     So there were four things that you got

6      from the bucket of information from the chat.

7                   MR. LEAKE:       Objection, form.

8            Q      (By Ms. Hebert) I want to talk about the bucket

9      of the call.

10           A      Yes, ma'am.

11           Q      The call happened after the stop had already

12     occurred.

13           A      Yes.

14           Q      And what did you learn at that point?

15           A      So what that phone call was was he was just

16     seeing -- because I think I had put on the chat that I

17     made the stop, just letting him know I'm making the stop.

18                  He called me --

19           Q      Okay.     I'm going to put a pin in that.

20           A      Yes.

21           Q      When did you let Kiki know that you had made

22     the stop?

23           A      And I don't know for sure.             I think I did right

24     when I was making the stop, so I probably texted him at

25     some point while I -- when I saw him, I let him know, I

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1      see him, I'm going to make the stop.

2            Q      Okay.

3            A      So I don't know exactly, but definitely prior

4      to activating red and blue emergency lights.

5            Q      And it would have been -- we didn't see you

6      doing any texting in the first 30 seconds.

7            A      Uh-huh.

8            Q      Would you have been able to do texting while

9      you were driving?

10           A      Yeah, I would, but most likely, like I'm

11     saying, I probably did it right when I saw him to let him

12     know I have eyes on him.

13           Q      Okay.     So --

14           A      While I'm still static.

15           Q      That's fine.        Thanks.     I just want to make sure

16     I understand the timeline.            So you see Mr. Schott

17     approaching.

18           A      Uh-huh.

19           Q      You're still static.

20           A      Uh-huh.

21           Q      Is that correct?         You text Kiki.

22           A      (Nodding head.)

23           Q      Is that correct?

24           A      Yes.

25           Q      Then you pull out of where you were stopped,

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1      you drive your vehicle; is that correct?

2              A      Yes, ma'am.

3              Q      Then you turn on your lights; is that also

4      correct?

5              A      Yes, ma'am.

6              Q      So that's the kind of the timeline of events?

7              A      Yes.

8              Q      Okay.     Before we get much further, help me

9      understand Kiki.

10             A      Okay.

11             Q      Do you know Kiki -- did you know Kiki's real

12     name?

13             A      No.     I believe that might be his name.                I've

14     heard him called that numerous times.                  Again, he's just

15     the, the Fusion Center guy on that, the WhatsApp.

16             Q      Sure.

17             A      I don't know him.

18             Q      And had you ever met Kiki before?

19             A      If I had -- I may have, but I don't know.                   And

20     the reason I say that is I've been on so many operations,

21     when we hit those houses I'm talking about with the

22     different units, a lot of guys from -- I've been in

23     meetings where there's just tons of people talking, but I

24     don't -- like, again, me and these people aren't, we're

25     not close.

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1              Q      Sure.

2              A      It was business.

3              Q      Yeah.     And you would say like that this is an

4      important conversation, right?

5              A      Yes.

6              Q      And you're trying to be really precise --

7              A      Yes.

8              Q      -- in this conversation.            Is that fair?

9              A      Yes.     Are you talking about the conversation --

10             Q      That we're having, you and I, right now.

11             A      I'm trying to be, yes.

12             Q      Yeah.     So I'm just trying to get a sense of

13     that.       So you could have met Mr. Kiki, Kiki, at some

14     point, but you can't say for certain yes or no; is that

15     correct?

16             A      That is correct.

17             Q      And you don't want to be making a mistake.

18             A      No.     Because the only thing I can tell you --

19     and the reason I'm sounding so vague is because one thing

20     I do know about Kiki when I hear him on the phone, he had

21     a very thick Hispanic accent, and his voice sounded

22     familiar to me, but I don't know if it's from a -- I

23     just -- I remember when I was talking to him thinking in

24     my head like his voice sounded familiar.

25             Q      And that's okay.         And like you don't --

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1      essentially, if I can give you a snapshot, you don't want

2      it to come out later that you had actually met Kiki at

3      some point and then be accused of lying.                 Is that fair?

4            A      Absolutely.

5            Q      Right.     And so you're just, you know, being,

6      you know, careful about your words, not committing to

7      anything because you just don't want to make a mistake.

8                   MR. LEAKE:       Objection, form.

9            A      I do not know if I've met him.

10           Q      (By Ms. Hebert) Yeah.

11           A      I can't answer that question, because I

12     didn't -- what I'm saying is I haven't shaken anybody's

13     hand and said, "Hi, how are you doing?                I'm Joel."      "Hi,

14     how are you doing?         I'm Kiki."      So that's why --

15           Q      No, I totally understand.

16           A      -- I just recognize his voice, ma'am.

17           Q      I totally understand.           And so you're just --

18     you can't say yes, you can't say no, because you want to

19     be 100 percent correct.

20           A      Yes, ma'am.

21           Q      So do you know if Kiki was a law enforcement

22     officer?

23           A      If he works at a Fusion Center, yes --

24           Q      Okay.

25           A      -- he should be.         He's either that or Border

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1      Patrol or -- if I understand correctly, because I've

2      never been in one, a Fusion Center actually consists of

3      federal and law enforcement type units.                 There's DEA

4      guys, Homeland Security, and it's -- from what I

5      understand, it's everybody in those buildings.

6            Q      Sure.     And you had never been to the Laredo

7      Fusion Center?

8            A      No, ma'am.

9            Q      Could the Laredo Fusion Center have private

10     individuals who work there?

11           A      Possibly.      Again, I don't know what the layout

12     is.   I just know it's one of our bases of people that we

13     do get for missions, a lot of information from.

14           Q      Sure.     And you couldn't pick Mr. Kiki out in

15     like a line of people.           You wouldn't know who he was if

16     there was like a lineup?

17           A      No, ma'am, not off of face.             Like I said, it

18     was the voice that sounds familiar when I talk to him.

19           Q      Sure.     And how many times would you say you had

20     spoken to Mr. Kiki?         I'm going to call him Mr. Kiki

21     because I feel like that's respectful.

22           A      Yeah.

23           Q      But if not, let me know.            How many times had

24     you spoken to Mr. Kiki?

25           A      Just that day.        Just that day.        I don't think

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1      there was any other phone calls, if I remember correctly.

2      He was just letting me know.             And I think I text -- I

3      think it was a text.          When I released him, I just said

4      there was nothing there.           The only time I talked to him

5      was when you saw it on the video where I told him there

6      was a positive canine alert.

7            Q      Sure.     And I'm not entirely sure I understand.

8      How many calls have you ever had with Mr. Kiki?

9            A      One.

10           Q      One?

11           A      The one I made in the video.

12           Q      So that was the only time you had ever spoken

13     to Mr. Kiki on the phone?

14           A      Yes, ma'am.

15           Q      Okay.     How many times have you texted with

16     Mr. Kiki?

17           A      I don't have a number, but that day, there was

18     a couple of different back and forths about what I was

19     looking for.

20           Q      Sure.

21           A      But I don't have a number for you.                Just, it's

22     2022, so I don't remember, ma'am.

23           Q      That's okay.        And do you know Mr. Kiki's phone

24     number?

25           A      I don't.

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1            Q      So if you had a chat today, could you point out

2      which chat was from Mr. Kiki?

3            A      Yeah, if it was anything from that day and that

4      intel, yeah, absolutely, I'd be able to see it.

5            Q      But assuming it's not the stop from March 16,

6      2022, if you just had like a text chain of conversations,

7      would you be able to point to a number and say that's

8      Mr. Kiki's number?

9            A      No, ma'am.       No.

10           Q      Okay.

11           A      And I don't remember clearly if on the WhatsApp

12     he came up as Kiki or if it was a number.                    I just know

13     that that name is the name I've always known to be --

14     like I can't remember.

15           Q      Sure.

16           A      And that's -- I wish I did.

17           Q      That's okay.        And other than Mr. Kiki telling

18     you that he worked for the Laredo Fusion Center, did you

19     have any information about that besides his statement

20     that he worked for the Fusion Center?

21           A      No, ma'am.

22           Q      And do you remember when you learned that

23     Mr. Kiki worked for the Laredo Fusion Center?

24           A      I don't remember when.           I think we were just --

25     probably a conversation between me and Gereb.                    And maybe

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1      Gereb was telling me -- I think he works at the Laredo

2      Fusion Center, because Gereb also was using this

3      WhatsApp.      So --

4            Q      Okay.

5            A      -- he knew a little bit about each guy too,

6      about as much as I do.           So...

7            Q      So both you and Officer Gereb were using the

8      Northwest Highway group chat to get information about

9      potential stops; is that correct?

10           A      Yes, ma'am.

11           Q      Okay.     How do you become a member of the

12     Northwest Highway interdiction chat?

13           A      If I remember correctly, because again, it was

14     a long time ago, we just joined it and we got confirmed

15     by -- I think there's other people -- I don't know who

16     they are, but there are other people in Bexar County

17     Sheriff's Office on there.            There's also other people.

18           Q      Sure.

19           A      Like every agency just about, especially from

20     Bexar County, definitely southern police units.                       So they

21     know us from training and things like that.                  And I

22     believe he confirms us that way.              Other people tell --

23     they confirm each other --

24           Q      Okay.

25           A      -- to make sure they are law enforcement

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1      officers and there aren't like -- from what I understand.

2      Again, this isn't my WhatsApp, but I know he's not

3      letting anybody onto that group.

4            Q      And who's "he"?

5            A      "He" being most likely -- and I think -- I

6      believe Kiki is the guy.           I don't know who owns this

7      group or whose it is.          I'm sure if you know -- you guys

8      probably know more than me about WhatsApp, but you can

9      see whoever is in charge of the group or who the

10     administrator is.

11           Q      Okay.     So somehow you can look into the

12     administrator of the Northwest Highway group, and that

13     person might have more information about who's a part of

14     it.

15           A      Yeah, I think that's any WhatsApp chat group.

16     I think somebody creates it and somebody is considered, I

17     believe they call it an administrator.

18           Q      Okay.     So do you have to apply to be a part of

19     the Northwest Highway interdiction chat group?

20           A      I really can't remember, ma'am.                 Most likely --

21     I'm sure I had to fill out something to confirm -- just

22     like if on Facebook or any of these other social media

23     things, even training -- like if I want to join, let's

24     say Street Cop Training, before they would accept my

25     friend request to be on Street Cop Training, I had to

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1      fill out name, agency.           And what they did is they would

2      confirm that you are a law enforcement officer, and then

3      put you into the law enforcement group --

4            Q      Okay.

5            A      -- for training.

6            Q      Can I take a step back?            I do not know what a

7      Fusion Center is.         Can you explain to me what a Fusion

8      Center is?

9            A      To the best of my ability, I can, ma'am,

10     because they do a lot of stuff.              But the way I understand

11     it is a Fusion Center is people that pull intel and gain

12     intel.     And what I've heard is that it actually consists

13     of federal agents, being Homeland Security, or there's

14     Border Patrol in there.           And then they actually take

15     single officers -- single being one or two officers from

16     all the agencies, right down to even if -- I've heard of

17     school districts being in there, one or two officers from

18     school districts, police, deputy sheriffs.                   So city,

19     county.     And they all work within this little center.

20     And what they do is they work and get intel.

21                  And it's not only for interdiction.                It's

22     for -- let's say there's a teenager who's starting to

23     show messaging or he's possibly going to be an active

24     shooter or something like that.              The Fusion Centers will

25     start getting the kid's name and start pulling intel.

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1      Like, Well, let's look into this kid because we've got

2      reports --

3            Q      Okay.     So let me just take a step back.

4      There's a physical place where a bunch of people are

5      sitting; am I understanding you correctly?

6            A      Yes, ma'am.

7            Q      And they're all doing what?

8            A      What I just talked about, ma'am, pulling intel.

9            Q      Scanning information from where?

10           A      I don't know.        I'm not a Fusion Center officer.

11           Q      Sure, okay.

12           A      But a lot of systems.

13           Q      Okay.

14           A      Be LPRs and many other -- whatever they have.

15     There are systems all over, especially using the Feds, to

16     be able to pull a lot of things for individuals.

17           Q      Okay.     So there's a room somewhere where a

18     bunch of people are together looking at data.                   Is that a

19     fair description?

20           A      Yes.

21           Q      Then they say, Hey, this data, and they flag --

22     is flagged creating a red flag, and they do something

23     with it.     Is that a fair description?

24           A      Yes.

25           Q      Okay.

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1              A      It's very vague, but it's the best I can give

2      you.

3              Q      It's very vague, I know, but it's the best I

4      can understand too.           So sometimes if they have a flag,

5      they contact various law enforcement agencies.                     Is that

6      fair?

7              A      Yes, ma'am.

8              Q      Okay.     I want to ask you kind of a follow-up

9      question.        You used the term "irregular travel pattern."

10             A      Yes, ma'am.

11             Q      What does that term mean?

12             A      So when I talk about the general motoring

13     public, irregular travel pattern would be a one-day

14     turnaround.

15             Q      Okay.

16             A      Again, I want to -- every time I say these

17     things I always clarify, because I need you to realize

18     that I'm not sitting here saying, Well, Alek Schott did a

19     one-day turnaround, I got myself a smuggler.

20                    However, there's less than more people that

21     travel long distances and don't stay for a couple days

22     and then come back.

23                    So an irregular travel pattern -- the regular

24     travel pattern would be if I'm going to Carrizo Springs

25     from Houston, usually we're going to pack a bag and hide

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1      out there, and at least stay there a day, stay a night,

2      and then come back, just because it is a long ride.                       So I

3      just use the term "irregular travel pattern."

4                   This is not a term that I've made up.                    This is

5      a term that flows out of my mouth because of the training

6      I've received, and it's a very commonly used term in the

7      interdiction world with your interdiction training.

8            Q      Okay.     So all of the things that you're saying

9      here about the one-day turnaround and relying on the

10     information from the Northwest Highway group, all of

11     those things that we just talked about, receiving the

12     intel, how you were getting the information, that's

13     consistent with how you've been trained to do criminal

14     interdiction.        Is that fair?

15           A      Yes, ma'am.       But I want to make sure I heard

16     you correctly.        Did you say lying on the --

17           Q      No.

18           A      What did you say?         I didn't hear you.

19           Q      I don't know exactly what I said, so I'll just

20     summarize again.        So everything that you just talked to

21     me about, the one-day turnaround being a suspicious

22     travel pattern -- I think you heard me say travel

23     pattern.

24           A      You know, I'm sorry, you might have said

25     relying.

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1            Q      Yes.

2            A      My bad.

3            Q      Yes, relying on your training.              Let's just

4      summarize, the one-day travel pattern flag, was that

5      something that was consistent with your criminal

6      interdiction training?

7            A      Yes.

8            Q      And the relying on information from the

9      Northwest Highway interdiction group, is that something

10     that was consistent with your criminal interdiction

11     training?

12           A      So when you go to the training, relying on

13     intel type groups, yes.           But not -- it doesn't say

14     specifically -- I didn't go to a class and hear about

15     Northwest.      It's not that.        But they fall under intel

16     groups.

17           Q      Right.     And we already talked about the fact

18     that there were other Bexar County officers on the north

19     high west -- north highway -- Northwest Highway

20     interdiction group; is that right?

21           A      Yes, ma'am.

22           Q      I know that Deputy Gereb -- you mentioned

23     Deputy Gereb was part of this group; is that right?

24           A      Yes, ma'am.

25           Q      Do you know any other officers who were part of

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1      that group?

2              A      I don't know off the hand who they were, but I

3      know other officers in intel -- not intel, I'm sorry --

4      special operations.           There's probably guys on there from

5      the gang units and things like that.                  It's not just us.

6              Q      Sure.

7              A      Deputy Molina and canine officers are not on

8      that.

9              Q      Okay.

10             A      Again, canine officers to us are nothing but

11     tools to use for our trade, craft, so they're not on

12     that.

13             Q      But would it be fair to say that more -- other

14     officers besides you and officer Gereb who Sergeant

15     Gamboa supervised would be on that chat?

16                    MR. LEAKE:       Objection, form.

17             A      That, I can't answer that.

18             Q      (By Ms. Hebert) Okay.

19             A      I just know that -- I just know that I heard

20     about it somewhere --

21             Q      Sure.

22             A      -- within the special operations group of

23     people.

24             Q      I understand.

25                    MS. HEBERT:       I think that -- what time is it?

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1      I think this is a good --

2                   MR. ROWES:       12:30.     Our lunch is here.

3                   MS. HEBERT:       I think this is a good time for a

4      lunch break.

5                   THE REPORTER:        We're off the record.

6            (Recess from 12:24 p.m. to 1:27 p.m.)

7                   THE REPORTER:        We are back on the record.

8            Q      (By Ms. Hebert) Did you have a good lunch?

9            A      Yes, ma'am.

10           Q      Before we continue, I have to ask this

11     question.

12           A      Okay.

13           Q      Other than your attorney, Mr. Leake, did you

14     talk to anybody in between when we just ended and lunch,

15     the end of lunch?

16           A      Yeah, I talked to my wife, and then actually,

17     Molina hit me up to say congratulations, because I got

18     married this Saturday.

19           Q      Okay.     And how did he hit you up to say

20     congratulations?

21           A      He messaged me.

22           Q      Okay.     Did you talk about the substance of this

23     lawsuit at all?

24           A      No, I did not talk about the substance.                  I did

25     tell him I'm at depo right now.

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1              Q      Okay.

2              A      But no substance.         There will be no substance

3      talked about.

4              Q      And what was his response?

5              A      Nothing.      He actually said he was calling to

6      see how I was doing with the marriage.

7              Q      Was it a call or a text?

8              A      It was a text.        I'll just open it up for you.

9      I said -- because he tried to call me.                  I said, "You

10     okay?       I'm at my depo."

11                    He said, "Yeah."

12                    I said, "What's up?"

13                    He said, "Seeing how marriage is going, and

14     just going to see how was it."

15                    I said, "It was awesome, brother."                Then I sent

16     him a picture of me in my nice suit and said, "I'm

17     dressed like Trump, LMAO."

18                    "You look like a damn security detail."

19                    I said, "We just walked to Chick-fil-A.                  I look

20     like it."

21                    So basic conversation.

22                    MR. ROWES:       And he's still alive, so you did

23     your job.

24                    THE WITNESS:        I feel like people are looking at

25     us like we're security detail.

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1                   MS. HEBERT:       That's pretty funny.           That's

2      pretty fantastic.

3                   THE WITNESS:        So...

4            Q      (By Ms. Hebert) Okay.           Well, thank you for

5      walking through that with me.

6            A      Yes, ma'am.

7            Q      I really appreciate it.            It's just something

8      that we have to do to make sure.

9            A      I understand, ma'am.

10           Q      Okay.     I want to go back a little bit, and we

11     talked some about the license plate reader system.

12                  MS. HEBERT:       Actually, Hector, would you mind

13     closing that door?         Just makes me a little apprehensive.

14                  MR. LEAKE:       Are you afraid that they're

15     listening?

16                  MS. HEBERT:       You never know.

17           Q      (By Ms. Hebert) Okay.           So before lunch we

18     talked a little bit about the LPR system.

19           A      Yes, ma'am.

20           Q      The license plate reader system.                And we talked

21     about some of the information you got from Mr. Kiki,

22     which was some information that Alek Schott had had a

23     female passenger in his car --

24           A      Uh-huh.

25           Q      -- is that right?

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1            A      Yes, ma'am.

2            Q      How would a license plate reader system know

3      who was in a person's car?

4            A      I don't think you would unless you looked at

5      maybe a snippet.        But again, he works at a Fusion Center,

6      and I don't know what else they use.                I know that it's

7      not the only thing -- they have things they do there that

8      I have no clue what it is, but it's a Fusion Center.                    So

9      you're again, Homeland Security, DEA, everybody's there.

10     And they have a lot bigger toys than an LPR.                   So I'm not

11     sure how he does what he does or how they do what they

12     do.   I've never worked in one.            I just know that they

13     have a lot of toys over there on the federal side to do

14     all kinds of stuff.

15           Q      Okay.     So would it be fair to say that it was

16     your understanding that no one had been following Alek

17     Schott; is that correct?

18           A      At my knowledge, yeah.

19           Q      Yeah.

20           A      No.     Again, I don't know what they do over

21     there.     A lot of the stuff Fusion Centers do is pretty

22     much top secret stuff.

23                  For example, like DEA, if DEA is doing

24     something and they use an interdiction team to conduct a

25     traffic stop for a vehicle that is suspected of having a

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1      load or does have a load of narcotics or whatever it is

2      we're looking for, me as an interdiction officer will not

3      be given any more information other than what they

4      possibly have, and then I have to find PC and make that

5      stop for fed, for the federal.

6                   So we don't know.         That's just the norm.          So I

7      don't know details of what they're doing and how they're

8      doing in a Fusion Center.

9            Q      Okay.     So -- and I want to know more, but in

10     this particular stop, did you have any reason to believe

11     that there had been an in-person investigation of

12     Mr. Schott?

13           A      No.     I don't think so.        I think the majority of

14     the things there are irregular travel patterns and just

15     basically looking for the, off of the reasonable

16     suspicion of the irregular travel patterns and things

17     like that.      I could be wrong, because I don't work there.

18                  But again, there has been a lot of human

19     smuggling cases that have been successful due to this

20     WhatsApp.      This WhatsApp has saved a lot of lives.                And I

21     really did believe in what I was seeing.                 I wouldn't just

22     jump on something and say, Man, I hope this works.                    I had

23     looked into what it was doing and I had heard that there

24     had been a lot of Mexican nationals saved that were being

25     smuggled --

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1            Q      Sure.

2            A      -- and possibly trafficked later.

3            Q      Sure.     I just want to make sure that I

4      understand where the information about the female

5      passenger was coming from.

6            A      Okay.

7            Q      So did you ever see a scan or a picture of this

8      female passenger?

9            A      No, ma'am.

10           Q      Okay.

11           A      No.

12           Q      And so after you get the information --

13           A      Uh-huh.

14           Q      -- they just tell you word of mouth or send it

15     through the chat?

16           A      Through the chat, yes, ma'am.

17           Q      Do you -- then you look for PC to make the

18     stop; is that fair?

19           A      Yes.

20           Q      Okay.     And are there specific offenses that you

21     look for?

22           A      No.     The -- what's the beautiful thing about

23     the Texas Traffic Code is there's thousands of things you

24     can stop a vehicle for.           So no, it's not specific at all.

25     It's your knowledge as a police officer or a Deputy

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1      Sheriff of knowing the Traffic Code to be able to make

2      those stops by Traffic Code.

3            Q      Okay.     So I'm going to start some more of the

4      video.

5            A      Okay.

6            Q      And I apologize, I know this is going to be a

7      little bit of a slog.

8            A      Okay.

9            Q      I'm going to try to -- try to make this not as

10     painful as possible.

11           A      Okay.

12           Q      Actually, can we take a brief break?

13           A      Yes, ma'am.

14                  THE REPORTER:          We're off the record.

15           (Recess from 1:33 p.m. to 1:40 p.m.)

16                  THE REPORTER:          We're back on the record.

17           Q      (By Ms. Hebert) Okay.           So Mr. Babb, we're going

18     to look at your body camera footage again.

19           A      Okay.

20           Q      That is Exhibit -- what was exhibit --

21                  MS. HEBERT:       What exhibit was the body camera

22     footage, Molly?        Well, we can confirm it later.

23                  MR. SAENZ:       44.

24           Q      (By Ms. Hebert) 44.          Thank you.         Exhibit 44,

25     and I am stopped at 2:30.             We're going to start from

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1      there.     We're going to watch from 2:30 to 2:43.

2            A      Okay.

3            Q      It's going to replay a piece of what we've

4      already watched.        Does that make sense?

5            A      Yes, ma'am.

6            Q      So we can just figure out where we were.

7            (Video played.)

8            Q      Okay.     So we just watched a clip of the

9      footage.     You -- I'm just going to try to summarize here.

10           A      Okay.

11           Q      So if I don't get anything right, please tell

12     me.

13           A      Yes, ma'am.

14           Q      You just watched a portion of the footage where

15     you expressed concern about people traveling long hours

16     on the road.       Alek said that he had stayed at a hotel

17     last night.      You asked for his driver's license, and you

18     told him it was going to be a warning, not a ticket.

19           A      Yes, ma'am.

20           Q      Did I get that right?

21           A      Yes, ma'am.

22           Q      And is it fair that you were telling Alek that

23     you were concerned he might be a sleepy driver?

24           A      Yes, ma'am.

25           Q      Would it be reasonable for a person to respond

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1      to that comment to say that they stayed at a hotel?

2            A      Yes, ma'am.

3            Q      And in general, is there anything suspicious

4      about staying at a hotel?

5            A      No, ma'am.       What I do want to add to this is

6      after reviewing the video, I believe I -- and I didn't

7      see -- I think in here I used a term for Alek Schott

8      talking about the hotel.           I was mistaken.

9                   So I believe I said "unsolicited information"

10     or something like that in here, which is a thing in

11     interdiction.        And in my head I was thinking it, but when

12     I reviewed the video again, that's unfair, because I

13     actually said to him "sleepy drivers" and talked about my

14     concern, which then he told me he slept in a hotel.                    So

15     that was not unsolicited.            I absolutely solicited that.

16     So that was a mistake on my part.

17           Q      Sure.

18           A      And I do want to clarify that, because I didn't

19     realize it.      Because unsolicited information, an example

20     of that would be, "Hi, I'm Joel with Bexar County

21     Sheriff's Office.         The reason I'm stopping you is this.

22     Can I have your driver's license?"               And then is, "Oh,

23     well, I'm traveling to my sick aunt, and I had just

24     stayed at a hotel last night" and this and that, and they

25     basically tell you everything that they're doing without

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1      me asking.

2            Q      Sure.

3            A      So I mistakened it for that, and that's not

4      what that was.

5            Q      Sure.     So I just want to make sure that I

6      understand.      It was reasonable for Alek to respond to

7      your comment about concern about a sleepy driver by

8      saying he slept at a hotel the night before.

9            A      Yes, ma'am.

10           Q      Why did you tell Alek that it was going to be a

11     warning rather than a ticket?

12           A      So that is something that I do and that I got

13     from my training.         The reason we do that, once again,

14     this is part of that rapport building.                One of the

15     biggest things, and I'm sure you've been stopped

16     yourself, ma'am, but if you get stopped by a --

17           Q      How do you know that?

18           A      I imagine.       I've been stopped, so the average

19     person has been stopped at least once.

20           Q      Okay.

21           A      But our biggest concern at a traffic stop is am

22     I getting a ticket.

23           Q      Sure.

24           A      So again, my goal in interdiction is to have

25     them relax and be calm and not stressed out about

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1      anything.      So part of that process is I let them know

2      right up front you are not getting a ticket today, you

3      will be getting a warning.            But again, it's still going

4      to be a typed up piece of paper that looks like a ticket

5      due to the Brazos ticket writing system, and of course,

6      the Sandra Bland Act requiring me to give him something

7      on paper.

8            Q      Okay.     So would it be fair to say that

9      everything you're doing, the conversation that you're

10     having here is consistent with your training?

11           A      Yes.

12           Q      At this point, other than the alleged drifting,

13     was there anything that you observed that made you think

14     that a crime had been committed or was being committed?

15                  MR. LEAKE:       Objection, form.

16           A      No.     The only thing is what I talked about

17     before.     So up to this point -- I can't remember, I don't

18     think I've asked him yet about a weapon.                 However, up to

19     this point, what I had seen now is hands up in the air,

20     and one thing I observed also -- and it could be for many

21     other reasons, but again, as I'm grouping what I'm

22     calling my reasonable suspicion, he was breathing hard.

23     His chest was rising and falling.               More so than the

24     average person.

25                  And of course, it's a traffic stop, and he's

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1      nervous possibly.         So what I'm trying to do again by

2      telling him "I'm giving you a warning, not a ticket," is

3      I'm also observing his breathing.               Because if that's what

4      he's nervous about, maybe when I tell him he's getting a

5      warning, because if he's not involved in any criminal

6      activity, the norm would be that at this point I would

7      notice the breathing go to normal.

8                   He was still kind of rising and falling to a

9      point just different from what I'm used to seeing.                    So

10     hands up, rise and fall of a chest is where we're at

11     right now.      I don't think he's giving me the driver's

12     license yet.

13           Q      (By Ms. Hebert) Okay.           Had you ever met

14     Mr. Schott before?

15           A      No, I have not, ma'am.

16           Q      Okay.     So before the traffic stop of Mr. Schott

17     on March 16, 2022, you had never met him before?

18           A      No, ma'am.

19           Q      And when you pull people over, would you say

20     that -- what would you say are the normal reactions?

21     When you pull someone over, what are the normal

22     reactions?

23           A      Normal reaction if I was to put -- again,

24     everybody's different.           But there is a pretty good

25     percentage of what a normal motoring public looks like.

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1      As I said earlier, it's going to be usually people roll

2      down both windows, hands on the steering wheel.                       Hands on

3      the steering wheel is pretty common.                They want me to see

4      their hands.

5                   In my experience, this here, and in my training

6      also, is sometimes a factor.             I have arrested a lot of

7      people that, one of the things I saw on them was when I

8      walked up to the car is hands up.               Like they haven't --

9      like they're innocent, I didn't do anything, my hands are

10     up.

11                  So I'm not saying again all by itself Alek

12     Schott doing that, I was saying he's a smuggler at this

13     point.     But again, it's just one of the small things that

14     I grouped in as we're building here throughout this stop.

15           Q      Okay.     But you also agree that everyone is

16     different; is that fair?

17           A      Yes, ma'am.

18           Q      And so have you ever had someone cry when you

19     pull them over?

20           A      Yes, ma'am.

21           Q      Okay.     And would it be fair to say that it

22     might take people several minutes to recover from being

23     pulled over?

24           A      Yes.     I've had people actually have anxiety

25     during a traffic stop, where I had to relax them and calm

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1      them down to make them see.            So yes, I'm aware of that.

2            Q      Okay.     And so what does that look like?               You

3      just talked about an example or examples where someone

4      had anxiety when you pulled them over.

5            A      Uh-huh.

6            Q      What did you do?

7            A      I just told her everything's going to be okay,

8      explained to her why I stopped her.               And we went from

9      there and just -- she became relaxed.                Again, I just --

10     again, people are expecting sometimes officers to come up

11     and be a certain way.          So again, I just explained to her

12     what was going on.

13                  That one actually got a ticket, if I remember

14     correctly.      But she calmed down, because I explained to

15     her, it's not -- I don't know what -- she was just very

16     tense, and anxiety.

17           Q      Okay.     I'm going to watch from -- play from

18     2:43 to 3:05.

19           A      Okay.

20           (Video played.)

21           Q      Okay.     So we just watched from 2:43 to 3:05.

22           A      Uh-huh.

23           Q      I'm going to try to break down what happened.

24     So if I miss anything --

25           A      Okay.

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1            Q      -- or if there's anything you want to focus on,

2      we can chat about it.          But during this portion of the

3      video we just watched, you asked Alek if he had any

4      firearms in the vehicle; is that correct?

5            A      Yes, ma'am.

6            Q      And it's a little hard to hear.                 But I think I

7      heard Alek say something along the lines of "I don't

8      think so.      There shouldn't be."          Did I get that right?

9            A      Yes, ma'am.

10           Q      Okay.     And at this point, you hadn't ordered

11     Alek out of the vehicle.           We didn't see you order Alek

12     out of the vehicle; is that right?

13           A      No.

14           Q      Okay.     And I think you've already said this

15     before, but I'm just going to ask it, did that response

16     from Alek raise a red flag for you?

17           A      Absolutely.

18           Q      Why?

19           A      Because it is not a -- this is not the norm for

20     anybody who's got a firearm in their vehicle to not know

21     if they have one or not.           So with that, that is -- at

22     this point, I've already -- now I've decided I'm not

23     saying he's a smuggler, but he's definitely going to be

24     coming out of the vehicle and we're definitely going to

25     be conducting a Terry frisk.             Because him not knowing if

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1      he has a gun means he may be armed and dangerous for that

2      Terry frisk.

3            Q      Okay.     But I guess, you know, from, reviewing

4      it from the perspective of an innocent person, could they

5      really just want to be precise, not know if there was a

6      gun in the vehicle or not?

7                   MR. LEAKE:       Objection, form.

8            A      In my training, and especially my experience of

9      talking to hundreds of people, almost everybody that has

10     a gun will tell you, "Yes, I have a firearm in the

11     vehicle."      It is a -- it is a concern if we're not sure.

12           Q      (By Ms. Hebert) Okay.

13           A      And that's whether I think he's a smuggler,

14     whether I think -- if you're anybody, if you're unsure,

15     I'm going to feel safer to have you step out of the

16     vehicle.     What I'm not going to be doing is putting my

17     back to you walking back to my vehicle, conducting the

18     warning while this person that doesn't know if they have

19     a gun is sitting in the vehicle where I can't see

20     anything that's going on in the vehicle.

21           Q      Sure.     Would it be fair to say that it's

22     important to tell the police the truth?

23           A      Yes, ma'am.

24           Q      Okay.     And if you had later discovered a gun in

25     the vehicle, would you think that Alek had lied to you?

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1             A      No.

2             Q      Okay.     If he had said, "No, there's no gun in

3      the vehicle," and you later discovered a gun in the

4      vehicle, would you think that Alek had lied to you?

5             A      Using the verbiage he used?

6             Q      No.     If Alek had said, "No, I don't have a gun

7      in the vehicle" --

8             A      Uh-huh.

9             Q      -- and you later discovered a gun in the

10     vehicle, would you think that Alek had lied?

11            A      Yes, that would be a lie.

12            Q      Okay.

13            A      I want to add to that, but that would not be a

14     charge and that would not be something I would arrest him

15     for.

16            Q      Sure.

17            A      It would just be a sign of dishonesty.

18            Q      Sure.

19            A      That's it.

20            Q      And it seems like we also heard Alek say, "I'm

21     really sorry about that."             Is that right?

22            A      Uh-huh.

23            Q      Do you understand Alek's apology to mean that

24     he was admitting that he drifted?

25                   MR. LEAKE:       Objection, form.

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1              A      I can't speak for what he's thinking.

2              Q      (By Ms. Hebert) Sure.

3              A      But I'm trying to -- I'm not really sure what

4      else he would be saying I'm sorry for.                  If anybody was

5      watching this video, I would feel that they would think

6      that's what he's talking about, unless he's apologizing

7      for not knowing if there's a gun in the vehicle.

8                     I don't know what he was thinking at that time.

9      But for me at that moment when I'm listening and

10     everything else we're talking about, to me that was him

11     just him kind of saying "I'm sorry about that" to I guess

12     the violation I had told him.

13             Q      Okay.     So you didn't understand -- scratch

14     that.

15             A      So I understand it, ma'am, I just want to put

16     that in there, so I believe that he was apologizing for

17     what I stopped him for.             Why -- again, that's the way I

18     perceived it, standing here on the side of the vehicle --

19             Q      Sure.

20             A      -- talking to him, ma'am.

21             Q      Did anyone -- did Alek ever say anything like,

22     "Yeah, you're right, I drifted over the fog line"?

23             A      No, ma'am.

24             Q      Did Alek ever give you the direct impression

25     that he was admitting, "Yes, I drifted over the fog

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1      line"?

2             A       So I wasn't even thinking like that, ma'am,

3      because there was no question in my mind of the violation

4      I stopped him for.           I let him know I was going to be

5      giving him a warning.

6             Q       Uh-huh.

7             A       I was not in any type of defensive way with

8      him.       I was just telling him, informing him as I'm

9      supposed to, and observing what I'm seeing and taking the

10     next action off of what I'm hearing and seeing.

11            Q       Okay.     So up to this point, had you seen

12     anything that led you to conclude that a crime other than

13     the alleged drifting had been committed?

14            A       No.     I just have more behaviors where he handed

15     me -- at this point I think he handed me the driver's

16     license.

17            Q       Uh-huh.

18            A       When he was giving me the driver's license, I

19     could see that his hand was trembling.

20            Q       Okay.

21            A       Again, that by itself is not enough, but now

22     we're working on, if I go down a list, hands up in the

23     air, heavy breathing, trembling hands, unsure of a weapon

24     in the vehicle.          So I'm building to this point where

25     we're going to be coming out of the car now and we're

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1      going to -- I'm going to do the warning and we're going

2      to talk a little bit while I'm doing the warning at the

3      same time, actively working but still talking.                   But at

4      this point, I do have a grouping that is going to lead me

5      to want to go a little further and talk to him some more.

6            Q      Sure.

7            A      If I was to break it down.

8            Q      What crime did you suspect Alek of?

9            A      I -- what I -- off of the tandem and the stuff

10     that was reported, possibly human smuggling, because we

11     were heading south, to possibly either -- sometimes it

12     can be picking up a person, which he wasn't doing.                    At

13     this point he was dropping off, or maybe even being a,

14     what's called a scout.           They -- in the human smuggling

15     world, they send scouts out to clear routes, meaning you

16     go down, and then you drive the route, and behind you is

17     the actual smuggler, in the trade craft of human

18     smuggling.

19                  This, of course, comes from my training of

20     learning the trade craft of smuggling.                But they do the

21     same process for narcotics trafficking and smuggling.

22           Q      Sure.     I guess like perhaps I wasn't clear.

23     With the hands up, the breathing, the trembling hands,

24     the unsure if there's a gun in the vehicle, what crime

25     did you think that those things led you to believe that

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1      Mr. Schott had committed?

2                   MR. LEAKE:       Objection, form.

3            A      So what I have here is, again, this is

4      reasonable suspicion.          Alls I have right now is

5      behaviors --

6            Q      (By Ms. Hebert) Sure.

7            A      -- of a man who's been told that he's getting a

8      warning, of a man who's had a cop talking to him, calling

9      himself by his first name and talking the way I speak to

10     him, and he's extremely nervous.              So I have no crime, but

11     I have the idea of this is not the norm of traffic stops

12     I've done, so this is the reasonable suspicion that's

13     leading me to go to the next step of this traffic stop.

14                  I don't have a specific crime.              I'm looking for

15     smuggling.      But these behaviors can be behaviors attached

16     to any type of crime, not just smuggling.

17           Q      Sure.     And I also want to be clear, you

18     mentioned the tandem information, but you didn't --

19     earlier today you talked about the tandem information

20     coming from the phone call; is that correct?

21           A      Yes, ma'am.

22           Q      Okay.     So at this point, you hadn't had the

23     phone call from Kiki yet.

24           A      No.

25           Q      And at this point, you didn't know about the

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1      tandem driving; is that fair?

2            A      Yes.

3            Q      So right now you're basing the decision to ask

4      Mr. Schott to step out of the vehicle based on hands,

5      breathing -- hands in the air, breathing, trembling hands

6      and unsure about a gun; is that correct?

7            A      So the number one reason --

8                   MR. LEAKE:       Objection, form.

9            A      -- I'm having him step out of the vehicle is

10     the gun, not knowing if he has a gun.                Safety-wise, I'm

11     having him step out to conduct a Terry frisk.

12           Q      (By Ms. Hebert) Okay.

13           A      And once I have somebody step out of a vehicle,

14     the golden rule here is you don't let them get back into

15     the vehicle, because that's dangerous also.

16           Q      Sure.

17           A      So the safer thing to do is either bring him to

18     the back, so if a car veers, it's not going to hit him or

19     me, or into the vehicle.

20           Q      So if Mr. Schott had not said -- he was unsure

21     about a gun being in the vehicle, you would not have

22     asked him to step out of the vehicle?

23           A      So no, I would have -- I would have asked him

24     to step out of the vehicle.            That is just one piece of

25     the couple things we're looking at.               The behaviors we

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1      talked about, being hands in the air, heavy breathing,

2      trembling hands, after I told him he was getting a

3      warning, those are enough for me to still want to, while

4      I'm doing the warning, kind of have discussion with him.

5            Q      Okay.     So all four of these things are what

6      conclude -- made you conclude you needed to have him step

7      out of the vehicle.

8                   MR. LEAKE:       Objection.

9            Q      (By Ms. Hebert) I'm just making sure I

10     understand.

11                  MR. LEAKE:       Objection, form.

12           A      Up to this point, yes.           We're working -- again,

13     I have no crime.        I have no -- like I'm not saying he's a

14     smuggler.      I'm not saying -- but it is behaviors that

15     make me want to go a little deeper.               I'm still not going

16     to extend the stop.         I'm still going to be working a

17     warning while I'm talking to him at this point.

18           Q      (By Ms. Hebert) Sure.           During your career,

19     would it be fair to say that you've pulled over more than

20     a hundred people?

21           A      Yeah, definitely over a hundred.

22           Q      And have you ever seen someone's hands tremble

23     before when they handed you a license?

24           A      Yes, ma'am.

25           Q      And would you agree that trembling hands or

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1      nervous energy could be a normal innocent reaction?

2             A       Yes, ma'am.

3             Q       Okay.     All right.      I'm going to -- did we

4      already play this?           Okay.     We can play back just a little

5      bit.       Let's go back a couple of seconds.              We're going to

6      start at 2:57 and play till 3:05.

7             A       Okay.

8             (Video played.)

9             Q       Okay.     I heard you say at approximately the

10     three-minute mark, "I'm going to have you step out and

11     sit in my passenger's seat while I do your warning.

12     Okay?"

13            A       Yes.

14            Q       Did you say that?

15            A       Yes, ma'am.

16            Q       And you didn't ask Alek, "Would you like to

17     step out of the vehicle," did you?

18            A       I would not ask him if he would like to.                 At

19     this point, I would be polite about it, but he's going to

20     step out of the vehicle at this point because of the way

21     he answered the gun question.               This is going to lead to

22     the Terry frisk.

23            Q       Sure.

24            A       But I'm going to need him to step out at this

25     point.       Not so much sit in the car, but definitely he's

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1      going to step out of the vehicle because of the answer I

2      got for the gun.

3              Q      And would it be fair to say then that Alek did

4      not have a right to refuse to step out of the vehicle?

5              A      I would not have given him an option as far as

6      stepping out because of that answer to my question about

7      the gun.

8              Q      Sure.     When you were working as a criminal

9      interdiction officer, on a given day, you said you did a

10     lot of traffic stops.

11             A      Yes, ma'am.

12             Q      How many folks would have you sit -- would you

13     have sit in your passenger seat?

14             A      A good number of them.           A lot of people would

15     sit in the passenger's seat.               Some I would tell them, due

16     to safety, have them come out, and others it was just

17     having them come out and do it.

18             Q      Would you say that most of the traffic stops

19     you did you would have the person sit in your passenger

20     seat?

21             A      Yes.

22             Q      Okay.

23             A      It's all consensual, but yes.

24             Q      So when you ordered Alek to sit in your

25     passenger seat, you were doing something you've done

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1      hundreds of times; is that fair?

2            A      Yes.     But you used the word "ordered."                 Now, I

3      may not have, as you said, asked him.

4            Q      Sure.

5            A      But again, the way I'm carrying myself and the

6      way I'm talking to him, if he was to say, "I don't want

7      to sit in the passenger's seat," I would say, "Okay, you

8      can stand outside."

9                   So people have rights.           People know their

10     rights.     And I'd like to believe that.             I am in no way, I

11     don't think -- and I hope this isn't opinion, but I feel

12     like I am not intimidating him.              I don't feel like I'm

13     talking to him in any direct way, or I'm not handing him,

14     telling him you're going to get in my car and -- I

15     believe I'm carrying myself in a way, which I kind of

16     take pride, and what I do is I try to contain myself in a

17     way where I'm not intimidating.

18                  I can't speak for that ugly mustache.                    However,

19     I will say that the way I talk, as you can see, is

20     very -- it's very laid back, and I'm doing that for that

21     reason.

22           Q      Sure.

23           A      I'm not trying to make this man feel like he

24     has to do anything.         But yes, if it came down to it, if

25     he would say, "I don't want to get out of my vehicle,"

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1      the way I would go about that is explaining to him, "Sir,

2      because you're not sure if you have a vehicle -- a

3      weapon, I need you to step out," and I'm going to do a

4      pat down, so...

5             Q      Okay.     So would it be fair to say that the pat

6      down was nonconsensual then?

7                    MR. LEAKE:       Objection, form.

8             A      So the reason it was consensual, I didn't -- I

9      didn't have to ask him for consent.                But my thing is

10     because of what I'm doing here and how I treat people, I

11     still asked him for permission to do a pat down.

12            Q      (By Ms. Hebert) Okay.

13            A      But by law, and by Terry versus Ohio, due to

14     the fact he doesn't know if he has a weapon and I'm

15     worried that he may be armed and dangerous, I need -- I

16     don't have to ask him.            I just do because I try to keep

17     that good relationship between me and the person.

18            Q      Okay.     When you -- I'm just going to say told

19     them -- when you told Alek that you were going to have

20     him come sit in your --

21            A      Okay.

22            Q      -- patrol car, did you give him any kind of

23     warning, "You don't have to do this if you don't want

24     to"?

25            A      No, I didn't specifically say that.

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1            Q      So did you tell him that he had the right to

2      refuse to get in your patrol car?

3            A      No, I didn't tell him that either.

4            Q      Okay.     Did anyone at the Sheriff's Office ever

5      suggest that you should not have someone come sit in your

6      passenger seat of your patrol car?

7            A      I have had people tell me that, and the people

8      that told me that, ma'am, were people that only had

9      academy training and whoever their PTO was.                  So what I

10     would always explain to them is case law, Supreme Court

11     case law and the numerous classes I've been to, that

12     teaches this style of traffic stop.               That shows in each

13     class videos of numerous other officers doing front seat

14     interviews.

15                  I want to make it clear to you, ma'am, again,

16     that nothing I'm doing is being pulled out of -- it's not

17     from the hip.

18           Q      I understand.

19           A      Yeah.

20           Q      And I didn't understand some of the beginning

21     of that answer, so I'm going to ask you to break that

22     down for me.

23           A      Okay.

24           Q      You said something like told other people, PTO.

25     I didn't --

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1            A      Oh, I'm sorry.

2            Q      -- follow what that was.            I'm sorry.

3            A      So the people -- and I don't know names, but

4      there's been people that don't recognize this, it seems

5      foreign to them to do a front seat style traffic stop,

6      have said, "I don't know, you shouldn't do that."                     And

7      I've explained that the people that say that to me are

8      people that the only training they've had is our academy

9      training, meaning they did however many weeks to become a

10     patrolman, then a PTO is a patrol training officer.

11                  So what this consists of is I identify a guy

12     you would hope has done this job for a long time, but in

13     some cases, that's not it at all, fairly new officers

14     because they need people.            The guy that trained them to

15     be in the streets told them this is what we've always

16     done, this is how I did it, and here's how you're going

17     to do it.

18                  Again, not many PTOs are out there, which is

19     another reason I went to the academy, teaching them, Hey,

20     this is how I want you to do this because case law says

21     you can do this.

22                  It's always been, This is what I've always done

23     and this is the way we've always done it.

24                  So they're under the impression that what I'm

25     doing is wrong, because let's say Carl, their PTO, told

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1      him that this is how we've always done it and this is

2      foreign.

3                   What I will tell you, ma'am, is that the front

4      seat thing there's a couple of different reasons.                     And

5      I'm trying not to get long-winded, but I'm kind of

6      passionate about this.           Fight/flight/freeze, what people

7      do.     By having a person get inside your passenger

8      vehicle, you do a consensual pat down.                You pat them

9      down.     You've now cleared them of weapons.                 You don't

10     have to worry about them having a weapon.

11                  They sit in the passenger seat.                 So now --

12     let's say he goes with flight and decides I don't want to

13     be here, I'm going to run.            Well, that's great, because

14     now he's inside the passenger seat.               If he runs, he's

15     going to be running on foot rather than in a vehicle

16     pursuit going 100 miles an hour putting the community at

17     risk.     So I feel more comfortable with that.

18                  And with the fight, putting him inside the

19     vehicle, if something like that happens, there's a big

20     computer and a big obstacle between us.

21                  So there's so many different reasons that, with

22     the training that comes with this type of traffic stop of

23     why we're doing what we're doing.               And again, none of

24     these things that I'm telling you about is me making

25     stuff up.      It's all coming from the training I've

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1      received from numerous training platforms.

2            Q      Okay.     So you just talked a little bit about

3      fight, flight and freeze.            Did I get that right?

4            A      Yes, ma'am.

5            Q      And so are those, are those reactions that --

6      I'm trying to figure out how to ask this.                    Those seem to

7      be like high stress reactions.             Is that a fair

8      characterization of fight, flight and freeze?

9            A      Yeah.     It is a behavior that sometimes people

10     will have.      If somebody is committing a crime or

11     somebody's in the midst of committing a crime, let's say

12     during a traffic stop, and the worst case scenario for a

13     person committing a crime that's in a car is being

14     stopped, I as an officer who's running criminal

15     interdiction understands that this traffic stop is going

16     to be the most stressful thing that they didn't want to

17     happen.

18                  So fight/flight/freeze is usually the body's

19     reaction to that kind of stress.              And I'm trying to do

20     things to avoid anything being worse than it needs to be

21     if that does happen.

22           Q      Okay.     And so when you get someone, someone --

23     you've pulled them over, you've asked them or told them

24     to get into your patrol car.             They're in your patrol car.

25           A      Uh-huh.

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1             Q      Are you looking for fight, flight or freeze in

2      their reactions?

3             A      No, ma'am.       I'm just giving you as like a, of a

4      worst case scenario situation of why it is a good idea to

5      do this.      I'm not looking for that.

6             Q      Sure, sure.

7             A      I'm not --

8             Q      I just wanted to understand.

9             A      I want to make -- the last thing I'm looking

10     for is a fight.

11            Q      And the flight piece, does that mean once

12     they're in the patrol car, they couldn't leave the patrol

13     car?

14            A      No, they can.        What I'm saying is if they

15     decide to run from me, I would much rather have a man

16     open my door and run on foot rather than step on the gas

17     and go 100 miles an hour down a public roadway.

18            Q      Okay.     You talked a little bit about the front

19     seat tactics and folks coming out of the academy and

20     their patrol training officer.

21            A      Uh-huh.

22            Q      Did you teach front seat training -- tactics at

23     all at the academy when you were an instructor?

24            A      Absolutely not.

25            Q      Did anyone ever ask you about it when you were

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1      an instructor at the academy?

2            A      Yes.     I actually, in the patrol academy, I

3      would explain to officers that were going, new to patrol,

4      what criminal interdiction is and what I was doing.                    And

5      I would actually explain to them, because I would use

6      videos to show them behavioral stuff for, behavioral

7      analysis of signs of deception, things like that.

8                   But I would explain to them that once you have

9      training and you are in that type of special unit, then

10     that is something that can be done.               But I would always

11     tell them that you will not as a patrolman do these types

12     of trainings without the training -- or these types of

13     stops without the proper training for it.

14           Q      Okay.     So would it be fair to say that you

15     expose people to front seat tactics and behavioral

16     analysis but told them that it was a specialized

17     activity?

18           A      Yes, ma'am.       I also told them about different

19     training platforms that I've been to, and a lot of these

20     students were already on certain training platforms that

21     show every day videos of officers doing front seat --

22           Q      Sure.

23           A      -- tactics or interviews, or whatever you want

24     to call it.      In the training it's called different

25     things, but --

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1            Q      And when you said you used videos in the -- at

2      the training academy, what videos did you use?

3            A      The only videos I've used is there's like a

4      couple that I had that were traffic stop videos showing

5      just behaviors of people, of cases that were closed, or

6      just stops of people being released.

7            Q      And when you say "traffic stop videos," were

8      these your traffic stop videos?

9            A      Some were mine, some were other people's in the

10     agency.     There's access to training videos of other

11     officers also when you're working in the academy, to use

12     them for training.         If you go to interdiction training,

13     usually the instructor, all the videos you're watching in

14     the class are his traffic stop videos from his stops, as

15     he explains what's happening in the stop.

16           Q      Okay.     Just to make sure I understand that, so

17     when you go to like a training from some other person,

18     they're using usually their traffic stop videos; is that

19     what I'm understanding correctly?

20           A      Yes, ma'am.

21           Q      And you were doing the same thing, you were

22     using your traffic stop videos to explain --

23           A      We used mine, we used other people's, yeah,

24     there's stuff on the training file of videos that they

25     used for certain training classes.

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1            Q      Okay.     Thanks.     Okay.     So I'm going to play

2      another piece.        I'm just going to go back, just because

3      it's a long time since we talked a little bit about it.

4            A      Okay.

5            Q      So go back to 2:56, and we'll play to 3:05

6      again.     Sorry.

7            (Video played.)

8            Q      Okay.     And this is the part where you had said

9      "I'm going to step out and" -- "have you step out and sit

10     in my passenger's seat while I do your warning"; is that

11     right?

12           A      Yes, ma'am.

13           Q      And do you remember when I asked you to note

14     the time stamp earlier today?              It was a while ago, it was

15     before lunch, so bear with me.

16           A      Uh-huh.

17           Q      It was 2:13 when you stopped your vehicle, on

18     the bottom here, 2:13.

19           A      Okay.

20           Q      When you got out of your vehicle.               Do you

21     remember that?

22           A      Yes, ma'am.

23           Q      So approximately 45 seconds have, have passed

24     here from when you approached the vehicle to when you

25     ordered him out.        And would you say at this point you

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1      were investigating Alek Schott?

2             A       I mean, every -- I am investigating him because

3      I'm monitoring what he's doing and saying as I'm going

4      through a normal traffic stop.               So I don't -- I'm not

5      taking any extra time from the actual traffic stop at

6      this point because alls I'm doing is observing.                         But a

7      police officer or a Deputy Sheriff, in everything they're

8      doing, that's kind of a word you want to use because

9      they're always observing.              You should always be watching,

10     looking for cues.

11                    So in the definition of the word

12     "investigation," yes, but not in a way that at this point

13     I'm taking away from what's already going to happen,

14     which is the production of a warning and sending him on

15     his way if everything is good to go.

16            Q       Okay.

17            A       But due to the behaviors, yes, we are -- I am

18     still observing and I am still taking in what he's saying

19     and doing.

20            Q       Okay.     So at this point you would say you were

21     investigating Alek Schott is what I understood you to

22     say.       What particular crime were you investigating

23     Mr. Schott for?

24                    MR. LEAKE:       Objection, form.

25            A       So no specific crime.           Again, I'm just seeing

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1      behaviors that are intriguing me to think that possibly

2      he's up to something.            I don't know what he's up to.            I

3      don't know what crime at this point.                  At no point do I

4      know what crime he's committing until as we move forward.

5      The only time it was a point where I was actually, okay,

6      at this time I am looking for this specific crime,

7      because, of course, once a dog sat to the smell of some

8      sort of narcotic, at that point, okay, now we can get

9      specific.        But at no time before that can I be specific

10     with you about the crime he's committing, ma'am.

11             Q      (By Ms. Hebert) Okay.           Thank you.

12             A      Yes, ma'am.

13             Q      So I'm going to watch from 3:05 to -- 3:05 to

14     3:14.

15             A      Okay.

16             (Video played.)

17             Q      Okay.     I heard you say "secure."

18             A      Yes, ma'am.

19             Q      Is that right?        Was that what you said?

20             A      Yes, ma'am.

21             Q      Why did you say "secure"?

22             A      We have to do that because we have a dispatcher

23     listening.        And actually throughout the stop, the

24     dispatcher will say, "What is your status?"                    They're

25     saying that because if they haven't heard from you for a

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1      while, then they -- they have a little timer or

2      something.      So by me letting them know I'm secure, that

3      actually resets the timer, and I don't have to worry

4      about hearing them in my ear while I'm talking --

5            Q      Okay.

6            A      -- saying, "What is your status?"                 So yeah.

7      And that's just everyday, regular police stuff.                       Every

8      officer does that when you're on a traffic stop or even

9      on a call for service.           You continuously let them know,

10     "I'm secure."

11           Q      Okay.     So when you make a traffic stop, what's

12     the first point that you're supposed to radio "secure"?

13           A      I do it -- there's no set time.                 I don't know

14     what their timer is.          But for me a rule of thumb is once

15     I make that first contact and receive driver's license,

16     I'll say, "I'm secure," which is pretty much where I did

17     it here.

18           Q      Okay.     Going to watch from 3:14 to 3:20.

19           A      Okay.

20           (Video played.)

21           Q      I went the 3:22.

22           A      Okay.

23           Q      Excuse me.       Sorry.     What I saw and heard in

24     that portion of the video, just to make sure that we're

25     all on the same page --

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1             A      Uh-huh.

2             Q      -- you approached Mr. Schott and said, "Would

3      you mind if I give you a quick pat down?"

4             A      Uh-huh.

5             Q      And then you gave Alek a pat down; is that

6      right?

7             A      A quick pat down, yes, ma'am, very quick.

8             Q      And then the next thing I heard you say was,

9      "Please have a seat next to me."

10            A      Uh-huh.

11            Q      Did I get that right?

12            A      Yes, ma'am.

13            Q      Okay.     And did Alek in fact have a seat next to

14     you?

15            A      Yes, ma'am.       One thing -- I'm sorry, one thing

16     I think you didn't hear, because I didn't hear it, but

17     that did happen was when I asked him if I could give him

18     a quick pat down, Alek Schott said "yes" or "okay" or

19     something of that nature.             He verbally said something.

20     He just speaks very quiet.             He did agree to a consensual

21     pat down.       But again, I just want to remind you that I in

22     no way needed to ask for consent.                I just did it to be

23     polite, I guess you could say.

24            Q      Okay.     So I'm going to continue on --

25            A      Okay.

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1              Q      -- to 3:27.

2              (Video played.)

3              Q      Okay.     Now, you're getting into the patrol car

4      here and Alek's getting in your patrol car.                    Is that

5      fair?

6              A      Yes, ma'am.

7              Q      And at this point, as you're getting into the

8      patrol car, did you give Alek any warning about getting

9      into the patrol car?            By that I mean, just to clarify,

10     did you give Alek any warning about his right to leave

11     the patrol car?

12             A      No, ma'am.

13             Q      Did you give Alek any warning about any

14     questions you were going to ask in the patrol car, his

15     right to refuse to answer those questions?

16             A      No, ma'am.

17             Q      We're going to watch till 3:35.

18             A      Okay.

19             (Video played.)

20             Q      And what we just saw right there, you and Alek

21     are now in the patrol car.              And it seems as you were

22     getting in, you took your body camera off and placed it

23     in the corner of your patrol car.                 Is that what happened?

24             A      Yes, ma'am.       So what I have is a magnet system

25     that I put on the dashboard.               Due to my training, a lot

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1      of the interdiction officers that do the training, they

2      do this with their body cam.             Now, this is not something

3      I'm obligated to do.

4                   What I enjoy about doing this is I'm letting

5      you -- and it's great, because here we are today with

6      this thing going on, now I'm giving you the opportunity

7      to see everything that's going on in that vehicle.                    When

8      a normal police officer has a traffic stop, as I'm sure

9      you've seen in some videos, when they have this thing

10     here, alls you do is hear what they're saying and you

11     don't see anything that's going on.

12                  I do this so that I can give the opportunity

13     for audiences to see what's happening in the car,

14     especially because a lot of my criminal interdiction and

15     reasonable suspicion falls around behavioral analysis and

16     behaviors.

17                  I am able to talk about behaviors that I saw

18     and heard, and use, doing this with my body camera, I'm

19     able to show the world or whoever's seeing it, be a

20     lawsuit or my sergeants or whoever, Sergeant Gamboa, to

21     see that I'm writing stuff that's actually happening in

22     front of the camera.

23           Q      Okay.

24           A      But this is not in any way a Bexar County

25     Sheriff's Office policy.           Bexar County Sheriff's Office

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1      is okay with you having a camera on your body, and

2      there's no front seat inside cameras of any kind in our

3      videos, other than the ones that face outside.

4            Q      I understand.        So I just want to break that

5      down a little bit.         You and -- you talked about a magnet

6      system.

7            A      Yes.

8            Q      Did you install that magnet system yourself?

9            A      The word "install" is a pretty nice word

10     because it makes it sound technical.                I have a little

11     thing with a suction cup that I bought at like CVS.

12           Q      So did you place the magnet system?

13           A      Yes, I suction cupped that to the dash there in

14     front of us, and then I just take the metal backing of my

15     camera and stick it to it.

16           Q      Okay.

17           A      Simple stuff.

18           Q      Got it.      Did anybody from the Sheriff's Office

19     ever tell you not to do that?

20           A      No.     Even on patrol, I think the sergeants

21     enjoyed it, because again, I'm giving them a straight up

22     vantage point of seeing exactly what I'm doing.

23                  This is my way of -- funny as it is, this is my

24     way of putting everything on camera and being as

25     transparent as possible so that I don't ever get in

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1      trouble.

2            Q      Understand.       And so I guess by implication,

3      you -- it's fair to say you've done this, you've taken

4      your body camera off and put it on your magnet system,

5      suction cup, many times before?

6            A      Yes.

7            Q      And many times after this stop with Alek

8      Schott?

9            A      Yes.

10           Q      Where did you learn to do that?

11           A      Every interdiction class I've been to, all of

12     them show a camera system in the -- inside the vehicle.

13     Some agencies have more money than our agency and

14     actually have nice camera systems that are actually, that

15     you can turn it.        So we don't have that.           So I can't

16     think of it off the top of my head, but there's at least

17     three other ones where that's what they're doing.

18     They're taking it off their chest and sticking it to

19     whatever they're using to put the camera up facing in.

20           Q      Can you state -- and I didn't understand that.

21     I'm sorry.      The other what?

22           A      Training platforms.

23           Q      Oh, okay.

24           A      Different companies that I've gone and got

25     interdiction training.

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1              Q      Okay.

2              A      If you look into like -- and I'm sure y'all

3      have my 201 file of all my training.                  If you do some

4      research on that training, you are going to see exactly

5      what you're looking at here on almost every single one of

6      those training platforms.

7              Q      When you say "training platforms," help me --

8      like I'm not familiar with that world.                  So tell me, what

9      are you talking about?

10             A      The company that's teaching.

11             Q      Okay.

12             A      So you have 720 Interdiction.              Different

13     classes within Street Cop Training.                 You have Desert

14     Snow.       You have Hicks.        You have -- there's just so many

15     of them.

16             Q      Okay.

17             A      So --

18             Q      So the three platforms you were talking about

19     when you just talked about the three others, were you

20     talking about then 720, Street Cop and Desert Snow?                      Were

21     those the three that you were referring to?

22             A      No.     I was just giving examples.             Off the top

23     of my head, because it's been a while, I don't know which

24     ones, but just I remember seeing in some of the training

25     that I've done where they just use their body cam.

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1            Q      Okay.

2            A      Because not everybody has internal camera

3      systems that film the seating inside the vehicle.

4            Q      Sure.     I understand.       I want to ask about one

5      thing on the screen here, and you're going to have to

6      bear with me because it's like mirror images.

7            A      Okay.

8            Q      So I'm just going to turn around.

9            A      Okay.

10           Q      On the dashboard, right in front of Alek --

11           A      Yes, ma'am.

12           Q      -- they look like round circles.                What are

13     those things?

14           A      Those are stickers.

15           Q      Okay.     And can you tell me more about these

16     stickers?

17           A      Absolutely.       So those stickers, ma'am, are

18     stickers -- one is one that has a picture of a marijuana

19     leaf and other types of drugs.             And inside the circle it

20     says the name of the training company where I went to

21     interdiction training, and it says their motto, which is,

22     "We'll be leaving together shortly," because the

23     interdiction officer that teaches that in his traffic

24     stops does say, "We'll be leaving together shortly," and

25     ends up walking, making -- it's just the saying, the

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1      statement he makes.          So it's the motto of the company.

2                    You also have pictures of a money load.                  That's

3      an air freshener hanging of a picture of a money load.

4             Q      Okay.     Tell me what we're looking at.

5             A      The little air conditioner -- or the air

6      freshener that's hanging off the handle there in front of

7      him.

8             Q      Oh, this thing?

9             A      Yes, so that's an air freshener.                And what it

10     is is a picture of money and bands with the I-35 symbol

11     above it.

12            Q      All right.       So let me just narrate that for a

13     second, because I did not see that at all.

14            A      Yeah.

15            Q      So there's an air freshener hanging from the

16     handle of the passenger side of the car.                  Not the door,

17     the passenger side of the car.              And you're saying that is

18     like a stack of -- pack of money?

19            A      Yes.

20            Q      Okay.

21            A      Yeah, like a money load is what we call it.                   A

22     lot of times in criminal interdiction, you'll have a lot

23     of people, usually heading southbound, with loads of

24     money.      It's usually money involved in crime, so it's

25     packaged, and it looks like that and it's inside door

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1      panels, inside engine blocks, under -- it's in

2      compartments.        So that's what that is.          It's a picture of

3      a money load.

4                   I further have a picture of -- you don't see

5      it, but I actually have a marijuana leaf that you'll see

6      later on, so we don't have to freeze up on that later,

7      there's a marijuana leaf on the dashboard.                   I have a

8      picture behind him also of Jesus Malverde, which is a

9      narco saint.

10           Q      Okay.     Yeah, that's beyond me.           What is that?

11           A      It is a saint that the cartel uses within the

12     narco world.       There's Jesus Malverde, Santa Muerte.                It's

13     all part of the cartel stuff.             Again, so in my training,

14     I have a, I think it's a 40-hour course I went to, and it

15     covers nothing but the history of narcotic saints within

16     the cartel world.         So I'm trained in understanding that.

17                  Because what happens is in a lot of cars and

18     things like that, you will find little statues of those

19     guys and stuff because they believe it protects them for

20     their ride with their illegal load.

21                  So the reason now, now that I kind of explained

22     to you all throughout this car I do have visual things of

23     drugs and things like that.            There's another sticker over

24     there, it says "Kilo Finder" or "Kilo Hunter," and it's a

25     picture of a car and it has little two crossed pry tools.

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1      That's their little logo for the company.                   And there's

2      also a picture of a kilo of cocaine with a knife going

3      through it, and it says "Kilo Killer" on it.

4                  So now the method to my madness of why a police

5      officer has drug pictures all over the inside of his

6      vehicle is we're going to talk about behavioral analysis.

7      We're going to talk about visual stimulation.                   So if I'm

8      an individual who is carrying drugs in my vehicle, and

9      I'm not talking about drugs, when you sit inside the

10     vehicle, and the last thing that you want to talk about

11     or even hear about, because you're extremely nervous

12     about the fact that you have drugs in your vehicle, is

13     drugs.

14                 So with me not even saying anything about

15     drugs, when somebody is carrying narcotics or in

16     wrongdoing with any type of drugs, when they're in there

17     and they're looking at those stickers, it actually

18     induces behaviors.        It is behavioral stimulation.              So I'm

19     giving visual stimulation of money loads, drug loads and

20     things like that.        So it's part of the, the behavioral

21     analysis I'm doing.

22                 This also comes from my training, where if you

23     watch the videos in some of the classes I've gone to,

24     you'll also notice on the backs of computers, on

25     dashboards -- not on mine.           I put mine on the dashboard.

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1      But they have stickers throughout their vehicle as a

2      visual stimulation.

3            Q      Okay.     And that was a lot of information.

4      Thank you.

5            A      Yes, ma'am.

6            Q      So to summarize, you have a bunch of different

7      stickers, a money load, an MJ leaf, the kilo knife.                      And

8      the point of these stickers is to prompt a response.                      Is

9      that fair?

10           A      If somebody's carrying drugs, yes.                So a lot of

11     times in the norm, again, the general motoring public or

12     somebody who gets in the car, the majority of people

13     actually laugh and go, "Huh, what is this?"                  Because

14     again, it is not common for an officer -- it's not what

15     you expect to see inside the vehicle.

16                  When somebody gets in -- and this isn't always,

17     this is just again maybe a piece to add to many things.

18     When somebody comes in and looks at that and doesn't say

19     anything and just kind of -- sometimes I've seen eyes

20     become this big, look at and just -- I've seen this.

21     Just all different things.            But it's inducing certain

22     behaviors.

23           Q      Sure.     I get it.      One of the stickers, the

24     first sticker you talked about you said something like,

25     "We'll be leaving together shortly" as a slogan.                      Can you

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1      tell me, what does that mean?

2                   MR. LEAKE:       Objection, form.

3            A      So the instructor of that company actually, he

4      always says that.         He always --

5            Q      (By Ms. Hebert) But "that," can you make sure

6      that I understand, because I might have gotten --

7            A      "We'll be leaving together shortly."

8                   MR. LEAKE:       Make sure he finishes his answer,

9      please.

10                  THE WITNESS:        Yes.

11           A      So simply what he would say is that he would do

12     his stop, and then what happens is he says, "All right,

13     I'm going to search your vehicle," after they give him

14     consent to search.         He says, "We'll get your vehicle

15     searched, and then we'll be leaving together shortly."

16     And that was it.        That was just his little saying, the

17     instructor.      So that's just the motto of the training

18     company, "We'll be leaving together shortly."                   There's

19     like T-shirts and everything.             There's bumper stickers.

20           Q      (By Ms. Hebert) Okay.

21           A      That's all that is is a motto.

22           Q      Do you know what the point of the comment,

23     "We'll be leaving together shortly" was in the training?

24           A      It really wasn't part of the training.                   Again,

25     it's just the motto.          I think there was like the humor in

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1      it, I guess, in the eyes of the instructor.                  That's just

2      his little slogan.

3            Q      Okay.

4            A      And like I said, there's guys walking around

5      with this stuff on T-shirts, baseball hats.                  It's a

6      slogan, like "Coca-Cola tastes great" or -- that's all it

7      is is a slogan.

8            Q      All right.       I'm going to watch another section

9      of the video.

10           A      Yes, ma'am.

11           Q      To 3:00 -- from 3:35 to 3:57.

12           A      Okay.

13           (Video played.)

14           Q      Oh, I went too far.          But that's okay.            We're

15     going through this faster.            That's not a bad thing.

16                  So you just asked Alek a couple of questions,

17     how to pronounce his name, where he's from.                  And he said

18     he lived in Houston.          You asked him about a work trip,

19     and he responded that he was visiting a customer.                       Did I

20     get all that right?

21           A      Uh-huh.

22           Q      And then you asked him what he does for work.

23     And he said remote power; is that correct?

24           A      Yes, ma'am.

25           Q      Okay.     And in this portion of the video, you're

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1      typing on your computer.

2            A      Uh-huh.

3            Q      What are you doing here?

4            A      I'm actually working on the warning.

5            Q      Okay.

6            A      So I'm actually -- the warning I told him we're

7      doing.     So while we're talking, at this point, I'm going

8      to continue to work on the warning, because what I'm not

9      going to do is not be working on that warning and talking

10     to him, because at that point this would be the extension

11     side of a traffic stop.

12           Q      Sure.     And when you say "working on the

13     warning," what does that mean?

14           A      So the Brazos electronic ticket writing system

15     is basically the ticket on the screen.                Name, address --

16     so if I was to show you the old school paper tickets that

17     cops used to write, and they still do at times, it's that

18     on digital.

19                  So what I'm doing is I'm typing in the

20     information.       I'm typing in name, address, phone number,

21     precinct -- I'm trying to remember everything that was on

22     it.   The violation itself, which one it is.                 It's all

23     that stuff.      And then what it does is it prints out at

24     the end onto the printer.

25           Q      Okay.     Got it.

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1            A      And it will say -- because this is a warning,

2      it won't say citation on it, it will say warning showing

3      that -- and I'll explain to him, "This is your warning.

4      You don't have to do anything."              I always say, "You can

5      frame it, burn it, or throw it away.                It doesn't matter.

6      We just have to give you something due to the Sandra

7      Bland Act."

8            Q      I understand.        Okay.    We are stopped at 4:05.

9      I'm going to play -- I'll let you know when I stop.

10           A      Okay.

11           (Video played.)

12           Q      Okay.     In the part that we just watched, I

13     believe you asked Alek about his work in remote power

14     because you didn't know what it was.

15           A      Yes, ma'am.

16           Q      And he said he deals with helium filled

17     engines.     Did I get that right?

18           A      Uh-huh.

19           Q      And it looked like to me you pulled out your

20     phone there.       What were you doing with your phone?

21           A      I don't remember.         I don't know if I was

22     getting a text or I -- I don't remember.                 Most likely

23     somebody was texting me.           I don't know if it was -- I

24     don't know.

25           Q      Okay.

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1            A      Yeah, I just don't remember.             I wish I did, but

2      it's a long time ago.

3            Q      I understand.        So I guess would it be fair to

4      say when you're working -- when you're using your phone,

5      you weren't working on the warning.

6            A      Yeah, you could say that.

7            Q      So I just want to make sure that was clear.

8      When you -- when you're using your phone, are you working

9      on the warning?

10           A      No, I'm not.

11           Q      You asked Mr. Schott where his customer was

12     located, and he responded "Carrizo Springs" --

13           A      Uh-huh.

14           Q      -- is that right, in the clip we just watched?

15           A      Yes, ma'am.

16           Q      And is there anything suspicious about Carrizo

17     Springs?

18           A      No, not the place itself, ma'am.                I will bring

19     to your attention that when he got in the car, earlier in

20     the video, and pretty much here, that he still, as we

21     talked about, breathing hard.             And you can see the rise

22     and fall of his chest is pretty, pretty heavy, especially

23     when he first got in the car.

24           Q      Well, let's go back a little bit --

25           A      Okay.

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1              Q      -- so I can better understand that.

2              A      Since you weren't able to see it the first

3      time, I can just kind of show you here.

4              Q      Yeah, that would be helpful.             So we are at

5      3:25.       And why don't you tell me when to stop when

6      there's a good point for me to observe it.

7              A      Yeah, just watch his chest, and I can actually

8      show you.        It doesn't stop.

9              (Video played.)

10             A      Yeah, you can see here, his chest, it's coming

11     up and down.

12             Q      Okay.     I'm going to just tell the court

13     reporter that's -- we've just stopped at 3:57.

14             A      Okay.

15             Q      And you're saying at this point Mr. Schott was

16     breathing -- how would you characterize his breathing?

17             A      He was breathing hard.           You could see the rise

18     and fall of his chest, and I can actually hear him

19     breathing.        Like I can hear the --

20             Q      Sure.

21             A      -- the air going in and out.             So again, this by

22     itself is nothing, until we -- but it's just -- what I'm

23     doing for you, ma'am, as we're talking and watching this

24     is building again the groupings of the reasonable

25     suspicion leading me to each step we're getting to.

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1            Q      Sure.     And at this point, Mr. Schott had just

2      sat in your patrol vehicle; is that correct?

3            A      Yes, ma'am.

4            Q      And would it be normal for people to have a

5      spike of anxiety when they're seated in a patrol vehicle?

6            A      Yes.

7            Q      And would you put -- when you're arresting

8      someone, would you put them in the back seat of your

9      patrol car?

10           A      Yes, in the back seat.

11           Q      Okay.     We're going to watch from 3:57 where we

12     are to 4:36.        I'm going to try to start --

13           A      Okay.

14           (Video played.)

15           Q      Okay.     We actually ended at 3:37.

16                  MR. ROWES:       4:37.

17           Q      (By Ms. Hebert) 4:37.           Excuse me.      You asked

18     Alek how far Carrizo Springs was.

19           A      Uh-huh.

20           Q      And you indicated you were not from Texas and

21     were from Maine, is that right, what just happened?

22           A      Uh-huh.

23           Q      And Alek responded that he drove last night and

24     it was too far to drive in the morning.                 Did I get that

25     right?

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1              A      Yes.     I was having trouble hearing him because

2      when we were talking about these things, he was talking

3      at a pretty low volume.

4              Q      Okay.

5              A      I put in my report -- I was reading it -- it's

6      just bad -- again, my verbiage, low tone.                      It's not a low

7      tone.       It was a low volume is what I should have said.

8      He wasn't talk- -- I realize that tone is bass, not

9      sound.       So again, to clarify, volume is what I'm saying.

10             Q      So he was speaking quietly.             Is that fair?

11             A      Quietly, yes, a low volume or just quietly.

12             Q      And is there something suspicious about

13     speaking quietly?

14             A      When compared to other times -- for example,

15     ma'am, in my training what I've learned is if I'm talking

16     to you -- let's say I'm baseline questioning.                      I'm asking

17     you, "Hey, how are you doing?"               Or "What's your mom's

18     name?       What's your daughter's name?"

19                    "Oh, that's great."          Ten-year-old child.

20                    "Yeah, my daughter's name is Katherine and

21     she's ten years old."

22                    "Oh, awesome.        Where are you heading to today?"

23                    "Oh, I'm heading to..."

24                    This is what I'm talking about.                 When here

25     you're not there, but when I get you talking about

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1      certain things, your voice drops to a tone, a lower

2      volume.     So that's, that's what I'm talking about with

3      the lower voice volume --

4            Q      I understand.

5            A      -- compared to other times you'll hear him

6      speak and stop.

7            Q      Okay.     I'm going to play till 4:55.

8            A      Okay.

9            (Video played.)

10           Q      We stopped at 4:57.

11           A      Okay.

12           Q      You asked Alek what hotel he was staying at.

13           A      Uh-huh.

14           Q      He said -- I think he said Holiday Inn, but I

15     could be mistaken.

16           A      I think so.

17           Q      You said something like you stayed at one the

18     other day.      And he made a joke like, "I don't feel any

19     smarter for having stayed at one."               I don't know why that

20     would be funny or why anyone would feel smarter having

21     stayed at a Holiday Inn, but that was the joke, I think.

22     And you laughed --

23                  MR. LEAKE:       You should watch more TV

24     commercials.       That's their campaign.

25                  MS. HEBERT:       Oh, okay.      Well, I missed that

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1      one.

2                     MR. LEAKE:       "I stayed at a Holiday Inn Express

3      last night."

4              Q      (By Ms. Hebert) I did not know that.                Okay.     So

5      I was missing some of the context.                 And you gave some

6      details about a hotel you previously stayed in.

7              A      Yes.

8              Q      Is that a good summary?

9              A      Yes, ma'am.       I want to just -- at this point, I

10     do want to show you that, for what I'm trying to do

11     during this traffic stop, what I'm looking at here is I'm

12     there.       So he's comfortable.          He's laughing, he's joking.

13     And we're now at a place where I feel like he's pretty

14     relaxed.       Body language, he's sitting not erect in the

15     seat.       He's actually slumped.          He's very comfortable at

16     this point, making jokes.

17             Q      Okay.     I'm going to go back just a little bit.

18             A      Okay.

19             Q      So we're at 4:27.         I'm going to start, and I'm

20     goes to press play in a second and watch to about the

21     same point, 4:55.

22             A      Okay.

23             Q      And when we watch this again, I -- would you

24     mind paying attention to what you're doing, not

25     necessarily what Alek's doing?

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1            A      Uh-huh.

2            Q      Okay.

3            (Video played.)

4            Q      Okay.     We stopped at 4:48, so --

5            (Video played.)

6            Q      Okay.     I just stopped at 4:49 [sic].

7            A      Okay, ma'am.

8            Q      You have your hand on your keyboard.                What are

9      you doing on your keyboard.            Looks like you're pressing

10     one key.

11           A      So if I'm holding his driver's license,

12     because, again, I'm not seeing the screen either, most

13     likely what's happening is before I actually type the

14     warning, I'm most likely typing his information into the

15     TCIC/NCIC system.

16                  And as we talked about earlier, when we click

17     on the blinking printer with all the pages, I can also do

18     from the keyboard to switch the pages.                So most likely

19     what I'm doing is looking at his background info and

20     going through the pages of that and making sure he has no

21     warrants.      And I think we get into a conversation about a

22     traffic ticket he got, and I'm looking at it because I

23     get to that page where it shows he went to some sort of

24     traffic school.

25           Q      Okay.     I'm going to press play again, and we're

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1      going to stop -- we're going to run from where we are at

2      4:59 to 6:01.

3            A      Yes, ma'am.

4            (Video played.)

5            Q      Okay.     We stopped at 6:02.          I missed it a

6      little bit.      Just to kind of summarize what we just

7      watched, you told Mr. Schott that you were giving him a

8      warning, not a ticket again; is that correct?

9            A      Yes.

10           Q      And then you seemed to type on your computer a

11     few more times.

12           A      Uh-huh.

13           Q      Is that right?

14           A      Yes, ma'am.

15           Q      And then you picked up your phone; is that

16     right?

17           A      Yes, ma'am.

18           Q      And what were you doing on your phone at this

19     point?

20           A      I don't remember.         Again, it's most likely

21     texts coming in.        And if I'm looking at it during a

22     traffic stop, it's probably something to do with the

23     traffic stop.        I'm not going to be -- I'm definitely not

24     like messaging a girlfriend or something like that.

25                  Honestly, looking at it I really wish I wasn't

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1      on the phone so much.          I don't -- like I will tell you

2      right now that I don't like looking at that, because that

3      is -- like you said, it is something -- if I was to do

4      something better on this stop, that's one thing I would

5      try to improve on.

6            Q      Sure.     When you told Alek, Mr. Schott, that

7      this thing you were giving him looked like a ticket but

8      was a warning, had you finished at that point running all

9      the computer checks on Mr. Schott?

10           A      I don't remember.         The reasoning of telling him

11     that was because I could tell he wasn't so comfortable

12     anymore.     And if you watch the video that you were just

13     watching, he was really watching the screen a lot.                    And I

14     started -- to me, he started to look very concerned.                    So

15     I wanted to clarify again that, look, this thing looks

16     like a ticket, because it does on the screen too, but

17     it's a warning.        And the reason I did that is because I

18     was watching his behavior shift to nervousness again and

19     his eyes were going to the computer and he didn't look --

20     he was starting to look nervous.

21           Q      Sure.

22           A      So again, through my peripherals, I'm actually

23     watching everything that's going on in this vehicle with

24     Mr. Schott.

25           Q      Okay.     Let's watch to 6:13.

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1              (Video played.)

2              Q      Okay.     We watched 6:02 to 6:14.              You asked

3      Mr. Schott when was the last time he came down this way,

4      and I didn't catch his response.                Could you hear his

5      response?

6              A      No, ma'am.       Because again, he's very low in

7      volume at this point because we're talking about his

8      trip.       What I did hear him say, when I didn't ask him

9      anything, was -- as he was getting in the vehicle

10     earlier, he had said, "I very rarely come down this way."

11             Q      Sure.

12             A      So I was just kind of in a way revisiting that

13     to see if he says something different.

14             Q      Sure.     And did you have any reason at that

15     point to think that that wasn't true?

16             A      With the low volume when we talk about his

17     trip, and then when he's talking about -- when he's

18     joking and laughing, I can hear him clearly.                      As you can

19     see, I'm at this point starting to realize that he's

20     going to a low volume voice any time we're talking about

21     stuff with his trip.

22                    So at this point I'm starting to think that

23     possibly he's being deceptive with something.                      I don't

24     have proof of that.           But again, with my training, low

25     volume voice is another one of those factors that can be

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1      added into reasonable suspicion --

2            Q      I understand.

3            A      -- for a possible crime.

4            Q      So but it -- I just asked you about whether you

5      had any reason to think that Mr. Schott was lying or not

6      telling you the truth about coming down this way.                     Did

7      you have any reason to believe that that wasn't a true

8      statement?

9            A      I'm just -- right now, I'm actually asking

10     those questions because the low volume voice --

11           Q      Okay.

12           A      -- is giving me a reason to think that possibly

13     he's lying.

14           Q      Okay.     So other than the low volume, was there

15     any other reason?

16           A      No.     Again, I'm grouping, so I guess yes,

17     because the rise and fall of the chest -- I'm going to

18     keep repeating as we keep going, ma'am, and I'm not

19     trying to be -- but I will keep going back, and I will

20     keep -- as this thing builds, I will keep repeating to

21     you, rise and fall of the chest, low volume voice,

22     looking at the screen and looking nerv- -- I'm going to

23     start -- you're going to notice each time there's going

24     to be something new, because there was things that built

25     up to leading me to do everything I've done here.

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1            Q      That's fine.

2            A      Okay.

3            Q      Other than the physical reactions then that

4      Mr. Schott was having that you were observing, was there

5      any reason that you had to think that Mr. Schott wasn't

6      telling you the truth?

7            A      No, ma'am.

8            Q      Okay.     So we're going to watch from 3:14 -- or

9      from 6:14 to 6:48.

10           A      Okay.

11           (Video played.)

12           Q      Okay.     We're stopped at 6:49.

13           A      Okay.

14           Q      You -- to summarize, just trying to get the

15     gist of the conversation, you asked Alek if he liked

16     Houston and with you sharing that there was a lot of

17     crime in Houston.         You talk a little bit about the crime

18     in Houston.

19           A      Uh-huh.

20           Q      And you shared a little bit about your recent

21     trip to Houston.        Did I get the gist of that

22     conversation --

23           A      Yes, ma'am.

24           Q      -- right?      Is there anything in this part of

25     the conversation that you observed, in addition to the

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1      things you've already observed, that made you think there

2      was something suspicious going on?

3            A      No.     I mean, he was laughing and talking back

4      and forth.      At this point we're having a conversation.

5      And it's not -- again, this is not an intimidation

6      factor.     And I think we can clearly see that with him

7      laughing and having a conversation with me.                  He did start

8      talking -- I talked about the crime, and he actually

9      started talking about how bad the sex trafficking is over

10     there, and then I'm just telling him about the human

11     smuggling.

12                  Now, one of the things that I'm doing there by

13     bringing up human smuggling is also -- again, we have

14     visual stimulation.         I also say things audible, just to

15     see -- and I'm watching him as I'm talking about things.

16     It's a casual conversation to see if I get any type of

17     behavioral thing from the word itself of "human

18     smuggling."

19                  At this time, before you ask, I did not see

20     anything at that time.

21           Q      Okay.     I just wanted to make sure.             So that was

22     like a long description, but there was nothing that you

23     saw at that time that was suspicious.

24           A      No, ma'am.

25           Q      Okay.     So we're going to watch from 6:49 to --

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1      I'm going to try to skip some ahead.                  To 7:07, just to

2      try to --

3              A      Okay.

4              Q      -- move this along a little more.

5              (Video played.)

6              Q      Okay.     I just stopped at 7:07.           You asked Alek

7      a couple of questions here, how to pronounce his last

8      name.

9              A      Uh-huh.

10             Q      He provided the clear pronunciation.                Is that

11     fair?

12             A      Yes, ma'am.

13             Q      I think you also asked Alek's date of birth.

14             A      Yes, ma'am.

15             Q      What was his date of birth?

16             A      I don't remember what he said right now.

17             Q      Because I had a really hard time hearing it.

18     Could you hear it?

19             A      Yeah.     No, actually, I just wasn't paying

20     attention.

21             Q      Okay.

22             A      But I am doing -- that's what I'm doing there

23     is he is talking louder right now than he is, especially

24     as we get deeper into this when he's talking about the

25     trip.

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1            Q      Okay.     So you would say that right now his

2      volume is louder --

3            A      Yes, ma'am.

4            Q      -- than other times.

5            A      Yes, ma'am.

6            Q      Okay.     So we just watched from 6:14 to 7:07,

7      and you would say that his volume was louder there.

8            A      Yes, ma'am.

9            (Video played.)

10           Q      Okay.     I just paused it on 7:46.

11           A      Okay.

12           Q      Just to summarize there, you asked Alek a

13     couple of questions about his truck; is that right?

14           A      Uh-huh.

15           Q      And he responded.         And I want to be a little

16     precise here.        Your first question was about the

17     ownership of the truck.

18           A      Uh-huh.

19           Q      And Alek provided the truck's year; is that

20     right?

21           A      Yes.

22           Q      And then you asked Alek a question about the

23     year of the truck, and he provided the year again.

24           A      Uh-huh.

25           Q      And you recognized that you had already asked

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1      about the year and he had already provided it, and you

2      said something like, "Oh, you just said that."                     Is that

3      fair?

4              A      Uh-huh.

5              Q      Okay.     Can you tell me what happened here?              Why

6      did you miss Alek's response about the year of the truck?

7              A      I just didn't catch it.            There's no tactic to

8      that.       I really didn't -- I just -- and I realized it and

9      was letting him know.            And he's absolutely telling the

10     truth right now.          He's very quick, he's where you can

11     hear him, and he's quickly answering those questions.

12     And he even gave me the mileage of his truck, which

13     absolutely for me, that makes me happy to know that

14     that's his truck.

15             Q      Sure.     And what were you doing on your computer

16     here that was taking away some of your attention?

17             A      I'm still probably working on the warning.

18             Q      Okay.

19             A      Yeah.     Like I said, it's going through the -- I

20     wish I had the Brazos in front of me, but it's -- a lot

21     of stuff you're typing in there.                It's everything that's

22     on his license, and then you have to go into a drop-down

23     and you have to find the -- it's a pain in the butt.

24     You've got to find the violation in like a drop-down.                        So

25     what I'm probably doing is, while I'm talking to him,

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1      looking for failure to maintain a lane or trying to

2      figure out like -- sometimes you can pretype and it will

3      bring it up.         So that's probably what's going on right

4      now.

5             Q      If we had like Mr. Leake or someone pull up the

6      Brazos ticket writing system --

7             A      Uh-huh.

8             Q      -- about how many minutes would it take you to

9      go through it right now?

10            A      With the ID in my hand and me typing the way

11     you see my typing with a finger, I would say it can be up

12     to 10 or 15 minutes.

13            Q      Okay.

14            A      And again, I'm talking and typing.                And I'm not

15     in any way a talented typer.              I'm, as you see me with my,

16     at the time, chubby fingers, typing with my finger.

17            Q      Okay.     And just so we have a clearer record,

18     can you tell the court reporter what you were doing on

19     the table?

20            A      Yes.     I was single handed -- single finger

21     tapping on the table as I was typing on the keyboard in

22     the video.

23            Q      All right.       So we are at 7:46.         We're going to

24     watch to 8:30.

25            (Video played.)

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1            Q      Okay.     To kind of summarize what happened here,

2      there was approximately 15 seconds of silence to start.

3      Is that fair?

4            A      Uh-huh.

5            Q      You were typing on your computer and checking

6      your phone; is that fair?

7            A      Uh-huh.

8            Q      And then you talked a little bit about not

9      being from Texas and where you were from, and you told

10     Alek that you had been in Texas five years, you were from

11     Maine and you didn't want to go back to Maine because of,

12     understandably, Maine winters.

13           A      Yes, ma'am.

14           Q      At this point, you were still typing on your

15     computer and your phone.

16           A      Uh-huh.

17           Q      Is that fair?

18           A      Yes.

19           Q      And was there anything suspicious, additionally

20     suspicious in this conversation?

21           A      Yeah.     So this is where I'm actually making a

22     decision to go into my questions now about narcotics or

23     the way we do it in interdiction.               What I did there was I

24     stopped talking and I created a silent pause.                   There's

25     different names for this within this type of work.                    Some

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1      have said pregnant pause.           But it is a silence thing.

2                  What I was doing was being quiet and typing,

3      and I wanted to -- basically, as I'm typing, I'm kind of

4      observing his behavior.          And what he ended up doing was,

5      at that uncomfortable silence, he ended up breaking and

6      initiating conversation with me.

7                  Again, at this point, I'm typing to finish a

8      traffic stop.      He actually opened up conversation and

9      then began to extend the stop with conversation about,

10     "Oh, you're not" -- "Are you from Maine" and continued.

11                 So at that point, when he broke that silence,

12     for me that's just a little identifier or factor, if you

13     will, that will add to everything else we've talked

14     about.

15                 At this point, within my training, that right

16     there is another identifier of possible, just the

17     nervousness and the breaking of the silence through

18     conversation and things like that.

19                 So with this, heavy breathing, low, low tone

20     and everything else we've talked about, leading from the

21     beginning of the stop, I'm now going to go in and just

22     ask the questions.

23                 By asking the questions I ask, I'm doing this

24     to see if I see anything or induce any type of behavior

25     by asking the questions I'm about to ask.                   And I'm sure

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1      you'll ask me why each question was asked, so just we'll

2      watch it and I'll go into that, how that works also.

3            Q      Sure.     I understand.

4            A      And again, I'm sorry, everything I'm doing is

5      off of my training.         Nothing here is coming from the hip.

6            Q      Sure.     And everything that you're doing here,

7      had anyone from the Sheriff's Office told you not to do

8      these things?

9            A      No.     Nothing you've seen here.

10           Q      Okay.     We're going to watch from where we are

11     at 8:31 to -- going to try to watch all the way to 9:40.

12           A      Okay.

13           (Video played.)

14           A      So I'm definitely working on the warning,

15     ma'am.     If I am getting his phone number, that's part of

16     the warning, so --

17           (Video played.)

18           Q      Okay.     I just stopped at 9:40.

19           A      Okay.

20           Q      This clip started off with you talking about

21     winters, Maine versus Texas.

22           A      Uh-huh.

23           Q      And then you jumped into asking Alek his phone

24     number; is that fair?

25           A      Yes, ma'am.

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1            Q      You said you were doing the warning --

2            A      Yes.

3            Q      -- when Alek, Mr. Schott was giving you his

4      phone number.

5            A      Yes.

6            Q      Okay.     Was there anything that you observed

7      there that was suspicious?

8            A      No.     At this point, I'm doing most of the

9      talking.     I'm rambling on about everything and anything,

10     nothing to do with criminal stuff.               And again, that's

11     part of my style of doing what I'm doing while I'm doing

12     the warning.

13           Q      Okay.

14           A      Because he asked about the -- where I'm from

15     type of thing.

16           Q      And then you used your phone again, to be fair.

17           A      Uh-huh.

18           Q      And then after you put your phone down, you

19     shared with Alek a story about a sleepy driver and the

20     dangers of sleepy driving; is that right?

21           A      Yeah.

22           Q      And you mentioned pulling over drivers for

23     drifting just a little bit.            Did I get that right?

24           A      Uh-huh.

25           Q      What is just a little bit of drifting?

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1            A      Like I talked about earlier, ma'am.                Alls the

2      tire has to do is touch that line.

3            Q      Okay.

4            A      It doesn't have to go and hit the rumble strip.

5      It doesn't have to be an extreme crossover.                  The tire

6      touching the line is considered failure to maintain a

7      lane --

8            Q      Okay.

9            A      -- in traffic law.

10           Q      And at this point, what we just watched here,

11     was there anything that was suspicious?

12           A      No.     No.    We were just, at this point,

13     conversating.

14           Q      Going to watch from 9:40 to 9:52.

15           (Video played.)

16           Q      Okay.     In the clip we just watched, got a call

17     coming in.      Do you know who that was from?

18           A      I don't remember.         It's going to be one of two

19     people though.        I can narrow it down, because the only

20     people that should be calling right now -- well, let me

21     make it three, because he likes to bother me on my stops.

22     Deputy Gereb is possibly one of them, trying to see what

23     the heck I'm doing.          Sergeant Gamboa, or at this point

24     maybe Kiki through the -- because I think through the

25     WhatsApp, if I remember correctly, the way WhatsApp

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1      worked, it's by phone number, and I think you can call

2      people on WhatsApp by pressing the phone on WhatsApp.

3              Q      Okay.

4              A      But I really don't -- I just don't remember

5      because it's so long ago.

6              Q      That's fine.

7              A      But any of this text traffic back and forth is

8      going to be between me and these people here.

9              Q      Sure.     We are stopped at 9:52.           Let's keep

10     going.       Let's watch to try to -- let's watch to 10:02.

11             (Video played.)

12             Q      Okay.     And we just watched -- in the section we

13     just watched, we're stopped at 9 -- or 10:02.                     You asked

14     about him having a newborn; is that fair?

15             A      Uh-huh.

16             Q      And you asked about whether he lived in a house

17     or an apartment; is that fair?

18             A      Yes, ma'am.

19             Q      Why would you ask if he lived in a house or an

20     apartment?

21             A      Something about -- I was probably looking at

22     the address or something.              But again, I'm just probably

23     just making conversation as we're sitting here doing

24     this.

25             Q      Okay.

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1            A      And he's, with his smile and he's -- we're

2      having a conversation between me and him.

3            Q      Sure.     Let's watch from 10:02 to -- let's see

4      how long we can go.         To 10:17.      Not that long.

5            (Video played.)

6            Q      I stopped on 10:19.          To summarize what we just

7      watched here, you asked Alek what he was doing,

8      Mr. Schott what he was doing on his work trip.

9            A      Uh-huh.

10           Q      He responded he was doing a trial.                You asked

11     him if he brought out equipment, and he said his customer

12     already had it; is that fair?

13           A      Yes, ma'am.

14           Q      Was there anything suspicious in what you just

15     observed?

16           A      He got a little quieter on this one, started

17     looking out the window again.             He hadn't looked out the

18     window for a little while.            That was something else that

19     I was kind of reading in on that when we would talk about

20     things like this, he looks out the window more often.

21     Voice volume goes down.           These are things that I was

22     taking in to perspective of behavioral.

23           Q      And when you say "things like this," what do

24     you mean?

25           A      Things as in behaviors that I'm recognizing

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1      that when we talk about what he was doing or where he's

2      going, we get low in volume, we look out the window,

3      we're doing the things that -- all the little behaviors.

4      Things are behaviors is what I'm referring to.

5            Q      Okay.     We'll watch 10 -- to 10:45.

6            A      Okay.

7            (Video played.)

8            Q      Okay.     In the section we just watched, you

9      asked a couple more questions about his work.

10           A      Uh-huh.

11           Q      He said something about a test run.                Is that

12     accurate?

13           A      Yes, ma'am.

14           Q      And then there was like a little bit of

15     silence; is that fair?

16           A      Yes.

17           Q      Was there anything suspicious in what you

18     watched in this last clip?

19           A      No.

20           Q      And you talked a little bit in the previous

21     clip about Alek having a lower volume when he was talking

22     about some of these things; is that correct?

23           A      Yes, ma'am.

24           Q      And by "some of these things," you're referring

25     about -- you were referring to his work and his trip; is

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1      that right?

2            A      Uh-huh.

3            Q      Could there be an innocent reason for him

4      having a lower tone when talking about those topics?                         For

5      example, if he didn't want to be going on this trip after

6      having a newborn?

7            A      That could be a possibility.             There's only one

8      way to find out, and it's to do what I'm doing here, in

9      criminal interdiction, and kind of, I guess you could

10     say, probe while I'm asking questions about this, then

11     asking questions about that, being questions about

12     family, listening, and then going into questions about

13     the trip, and then back to the weather in Maine.                      What

14     I'm doing is I'm actually moving the conversation around

15     to find deviations in behavior when talking about

16     different subjects within the analysis that I'm

17     conducting at this point.

18           Q      Okay.     And so just to unpack that a little bit,

19     to summarize, you're jumping around to these different

20     topics deliberately.          Is that fair?

21           A      Yes, ma'am.

22           Q      Okay.

23           A      That's off of the training I've received.

24           Q      And when you say the training you received, you

25     mean the criminal interdiction training you had received?

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1              A      Yes, ma'am.

2              Q      Okay.     And did anybody at the Sheriff's Office

3      ever tell you that you shouldn't be jumping around in

4      conversation topics like this?

5              A      No, ma'am.       They hired me to be an instructor

6      at the academy because of what I've done.

7              Q      So we'll watch from 10:45 to 10:53.

8              (Video played.)

9              Q      Okay.     You asked Alek in this portion -- we're

10     stopped at 10:53.           You asked Alek in this portion, "Did

11     you go over there with somebody else?"                  And Alek

12     responded with, "Yeah, I met somebody there."                     Is that

13     fair?

14             A      Yes, ma'am.

15             Q      Okay.     Was there anything in Alek's response or

16     his behavior here that you observed that was suspicious?

17             A      No.

18             Q      Okay.     We'll watch from 10:53 to 11:13.

19                    MR. LEAKE:       When we get a minute, can we take a

20     bathroom break?          No rush, just when you're at a stopping

21     point.

22                    MS. HEBERT:       Well, it depends on what it's

23     worth to you.

24                    MR. LEAKE:       Very embarrassing moment for

25     everybody in the room, you know.

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1                    MS. HEBERT:       All right.       We'll watch till

2      11:13.

3             (Video played.)

4             Q      (By Ms. Hebert) Okay.           I just paused at 11:13.

5      You asked Alek if he had ever been in trouble with the

6      law before.

7             A      Uh-huh.

8             Q      And he responded "Only for speeding"; is that

9      correct?

10            A      Yes, ma'am.

11            Q      And did you see anything on your computer

12     checks that led you to believe that Mr. Schott was not

13     being truthful about that?

14            A      No.     I believe -- if I remember correctly, I

15     was probably looking at the screen showing that he had

16     been in trouble for traffic laws.                So I was just asking

17     him.

18            Q      Okay.

19            A      There's no reason to lie about something like

20     that, but I was kind of just doing a little check there

21     to see if he was going to be honest about that.

22            Q      Sure.

23                   MS. HEBERT:       This is a good time for a break.

24     Let's take a break, and we'll come back in 5 minutes.                       So

25     what's 5 minutes from now?

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1                   THE REPORTER:        3:12.

2                   MS. HEBERT:       So how about 3:15?

3                   MR. LEAKE:       Sure.    I like those good round

4      numbers.

5                   THE REPORTER:        Okay.    We're off the record.

6            (Recess from 3:07 p.m. to 3:16 p.m.)

7                   THE REPORTER:        We are back on the record.

8            Q      (By Ms. Hebert) Okay.           We're going to watch a

9      big chunk right now.

10           A      Okay, ma'am.

11           Q      Just to try to like get through this.

12                  MR. LEAKE:       You don't want to do 10 second

13     chunks the rest of the day?

14                  MS. HEBERT:       I mean, I don't mind staying late,

15     Blair.

16                  MR. LEAKE:       Hey, I'm here for the day.

17                  THE WITNESS:        I know you have eight hours, and

18     I'm prepared for eight hours.             So with 10 second videos,

19     we're definitely going to get it.

20           Q      (By Ms. Hebert) So we're going to watch from

21     11:13, and I'm going to have us run to 13:39.                   All right?

22     So buckle up.

23           A      Okay, ma'am.

24           (Video played.)

25           Q      Okay.     We just watched a big chunk.

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1            A      Yes, ma'am.

2            Q      I'm not going to summarize it.              I'm going to

3      let that generally speak for itself.

4            A      Okay.

5            Q      In response to the questions that you asked

6      Alek --

7            A      Uh-huh.

8            Q      -- Mr. Schott, did Mr. Schott have any -- give

9      any responses that were suspicious to you?

10           A      So he actually did give me a response for

11     money.     If you do a comparison of his answers to

12     everything I asked, he began to laugh to the money.                    It

13     was a laughter.        I don't want to call it a outbreak of

14     laughter, but it was a difference in the other answers.

15                  So in my training, what they teach you, this

16     is -- and that's why I asked him if he had been stopped

17     any other time, because if you get stopped in usually

18     southern Texas, you're going to be asked the questions

19     just as I just asked him.            And the reason is is with

20     behavioral analysis, if I'm asking you a list -- if I ask

21     you, "Hey, do you have anything in your vehicle you're

22     not supposed to have," or "Hey, do you have any drugs in

23     your vehicle," if you don't have drugs or you're not

24     saying the exact name of the drug, the human behavior of

25     saying "Nope" is a lot easier than, "Do you have any

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1      marijuana?     Do you have any cocaine?"

2                   What happens is -- and I have -- through my

3      videos, you can find people that completely show the

4      training works.

5                   When I say, "Do you have any marijuana in your

6      vehicle?"

7                   "Nope."

8                   "Do you have any cocaine in your vehicle?"

9                   "Nope."

10                  "Do you have any heroin in your vehicle?"

11                  "Absolutely not."       Or "ha ha ha," or whatever.

12     It's different things.

13                  So what I'm doing there is that.              Now, on

14     money, he did laugh.        And then I even joked around with

15     him a little bit about it and tried to make it like that

16     was no big thing.       But in the training I have, that is

17     also another red flag of possibilities.

18                  However, what I did make was the comment that,

19     "Well, if it's money, it's going to be going that way,"

20     because usually money and guns go south.               However, in my

21     training and trade craft of smuggling, with what I got

22     for intel, if he had a female and he dropped her off at a

23     hotel, I then began to think to myself, okay, he's got a

24     female, he went to a hotel and dropped her off, maybe

25     that was his job, maybe he was doing something for

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1      whatever he was doing, dropped this female off, and maybe

2      he was paid off for that trip.

3                     So the fact that he laughed during the money

4      portion of that, and with my training in the trade craft

5      of smuggling, to me that's reasonable suspicion also of a

6      possible smuggling type case or some sort of criminal

7      activity involving money, so that gives me more interest

8      to want to search his vehicle to clear him of anything.

9              Q      Sure.     And I guess I have a couple of follow-up

10     questions to that.

11             A      Yes, ma'am.

12             Q      So the fact that Mr. Schott laughed in response

13     to being asked if he was carrying 10K --

14             A      Uh-huh.

15             Q      -- $10,000 in cash was suspicious to you?

16             A      Yes.

17             Q      Okay.     And you talked also about the fact that

18     the money, if he was -- the direction he was coming

19     was --

20             A      North.

21             Q      -- south to north.          So he was coming north on

22     I-35?

23             A      Yes, ma'am.

24             Q      And that would be potentially different for the

25     money to be flowing that direction.                 But because he had

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1      previously been with a female passenger and dropped her

2      off at a hotel, you were putting those together.

3              A      Now, I need to clarify something, because I'm

4      making the mistake of -- my military background, I have a

5      bad habit of saying male, female.                 Male, female.         Again,

6      he had a person with him.              I want to make it clear that

7      her sex has nothing to do with any of my suspicion.

8      Because she was a female had nothing to do with it.                        I

9      just -- it's a bad habit to say male, female.

10             Q      That's fine.        There's no judgment here for

11     that.       I understand.       That's not a problem.

12             A      It's the fact that he drove somebody to a

13     hotel, dropped them off.             And now I've got -- with my

14     training it shows one of the differences you may see in

15     the answering portion is laughter.                 He gave me laughter.

16     Could it mean ten other things?                Yes.    But because of my

17     training, I can say, with everything else I've got, the

18     little tidbits I've told you, the grouping of that with

19     this, again, I just want to keep moving forward --

20             Q      Sure.

21             A      -- with what I'm doing.

22             Q      And I guess one thing that sticks out to me

23     that I just don't understand.               And earlier we talked

24     about the two buckets, the bucket of information that you

25     got from the --

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1              A      Yes, ma'am.

2              Q      -- from the WhatsApp and then the bucket of

3      information that you got the call.

4              A      Uh-huh.

5              Q      It was my understanding that the hotel

6      information that was part of the call bucket.                     Is that

7      fair?

8              A      Yes, ma'am.

9              Q      Okay.     Let's watch from 13:40 -- no, let's stay

10     here for a second before we go on from 13:40.                     You had

11     just said that you were calling a canine because you had

12     some reasons to suspect there might be something in

13     Mr. Schott's vehicle.            Did I get that right?           Do you want

14     to rewatch it?

15             A      Did we get to that already?

16             Q      I think so.       We can go back a little bit.

17             A      I don't know if we're there yet.                I may have

18     missed it.

19             Q      Let's go back.        Going to watch from 3:20 to

20     3:40.

21             A      Okay.

22                    MR. LEAKE:       13:20.

23             Q      (By Ms. Hebert) 13:20 to 13:40.

24             A      Yes, ma'am.

25             (Video played.)

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1              Q      So we just stopped at 13:42.

2              A      Yes, ma'am.

3              Q      And did you see that you just said in that clip

4      that you were going to call a canine because you had some

5      reasons to suspect there might be something in

6      Mr. Schott's vehicle?

7              A      Yes.

8              Q      Okay.     And when you said there might be

9      something in his vehicle, what did you mean by that?

10             A      "Something" being money, drugs, people.                  I

11     don't know.        I don't know at this point what's in the

12     vehicle.       It's the behaviorals that I talked about that

13     tells me there's possibly something in there.

14                    Now, I'm thinking maybe money, because of the

15     laughter.        But again, I'm working on a grouping of

16     information.          Okay?     I'm not -- everything I'm doing here

17     is off of training.             This is not me -- I'm not guessing

18     here.       I'm saying money because he laughed on money.                   But

19     that doesn't mean that he may not have narcotics or

20     people or anything in there.

21                    People that deal with narcotics, sometimes the

22     money is dirty and smells of -- so the dogs will sit for

23     money also.        However, before I step on myself with that,

24     I will say this, there's no such thing as clean money.

25     And if he did have just money and no drugs to nexus that

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1      money, what I would not be doing is taking his money from

2      him.       So I want to make that clear.

3             Q       Sure.     And I --

4             A       That's a whole other case, I know.

5             Q       -- I don't mean to imply in any way that you

6      might have done that.

7             A       Yes, ma'am.

8             Q       So to summarize, you talked about the fact that

9      you didn't have a specific crime in mind that you thought

10     was being committed.

11            A       Other than right now money, narcotics or --

12     it's something.

13            Q       Okay.

14            A       But no, I can't identify at this point.

15            Q       Sure.

16            A       I'm not going to guess, or God forbid, have a

17     hunch.

18            Q       And the reasons why you are calling the canine,

19     just -- I've taken notes and I just want to summarize --

20     was the low tone -- or the low volume --

21            A       Yes, ma'am.

22            Q       -- in response to some of your questions.                 The

23     breathing --

24            A       Uh-huh.

25            Q       -- Mr. Schott's breathing.             It was him looking

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1      out the window at various points, breaking the silence at

2      one point, and then laughing in response to money.                    Did I

3      get everything?

4                   MR. LEAKE:       Objection, form.

5            A      You have everything inside the vehicle.

6            Q      (By Ms. Hebert) Sure.

7            A      But now we can go ahead and add if you'd

8      like --

9            Q      Sure.

10           A      -- all the other things that we talked about --

11           Q      Sure.

12           A      -- on the approach of the vehicle.                Because

13     now -- again, now, this is a totality of circumstances

14     situation.      So now we're talking all the things I

15     observed in the vehicle to lead me to inside the vehicle.

16           Q      Sure.

17           A      So it all comes together.            So we have, if you

18     want to call it a bucket, a good-sized bucket at this

19     point of reasonable suspicion, ma'am.

20           Q      Okay.     So inside -- and I completely understand

21     there are other things that were outside the vehicle.                      I

22     just want to talk about inside the vehicle.

23           A      Uh-huh.      Yes, ma'am.

24           Q      So inside the vehicle, did I get it right, that

25     there was the low volume, breathing, looking out the

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1      window --

2            A      Uh-huh.

3            Q      -- breaking silence and the laughter?

4            A      Yes, ma'am.

5            Q      Okay.

6            A      And you're about to see kind of a statement

7      he's going to make that's odd also, which I added to my

8      bucket also.

9            Q      Okay.

10           A      Which we'll hear in a minute.

11           Q      But at this point, from where we are at 13:42,

12     you had already told Mr. Schott that you were going to be

13     calling a canine.

14           A      Yes, ma'am.

15           Q      Okay.     I'm going to watch from where we are for

16     a couple of minutes.

17           A      Okay.

18           (Video played.)

19           Q      Okay.     And at this point you introduced to

20     Mr. Schott that you were doing behavioral analysis; is

21     that fair?

22           A      Uh-huh.

23           Q      And earlier today we've talked about some

24     behaviors that caused, raised at least some suspicion.

25     Is that fair?

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1            A      Yes, ma'am.

2            Q      At one point we talked about being tense and

3      being very nervous --

4            A      Uh-huh.

5            Q      -- as being suspicious.            Is that fair?

6            A      Uh-huh.

7            Q      And then we just talked about the fact that

8      Mr. Schott was laughing in response to a question as

9      being suspicious.

10           A      Yes, ma'am.

11           Q      Those seem to be, in tension, contradictory.

12     Can you help me understand?

13           A      Can you repeat what you're asking?

14           Q      Sure.

15           A      I kind of lost you.          I'm sorry.

16           Q      So we -- you just introduced the concept of

17     behavioral analysis; is that fair, in that clip that we

18     just watched?

19           A      Yes, ma'am.

20           Q      We stopped at 14:02.

21           A      Uh-huh.

22           Q      So we watched from about 13:39 to 14:02.                 And

23     in that piece that we talked about we just watched, you

24     introduced the concept of behavioral analysis to

25     Mr. Schott; is that fair?

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1            A      Yes.

2            Q      And earlier today we've talked about different

3      behaviors that might be suspicious.

4            A      Uh-huh.

5            Q      Is that fair?

6            A      Uh-huh.

7            Q      And we talked at various points about being

8      tense or breathing too heavy or too hard being a

9      suspicious behavior; is that right?

10           A      Yes.

11           Q      And then we just talked about the fact that

12     Mr. Schott laughed in response to you asking him about

13     having $10,000 in the car; is that right?

14           A      Yes, ma'am.

15           Q      So there seems to be a tension between the fact

16     that you said being tense was suspicious and then

17     laughing was also suspicious.             So can laughing be

18     suspicious?

19           A      Yes, ma'am.

20           Q      Okay.

21           A      If you look at the training I've been through,

22     and probably other training that's out there I haven't

23     been through, that CIA and people like that use, there is

24     such a thing as nervous laughter.               It's inappropriate

25     laughter at times that it's just kind of not appropriate.

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1                   Now, I understand where you might be able to

2      laugh at the thought of having $10,000 or more.                       However,

3      it was excessive laughing and it was different from the

4      other answers there, and that's why I used it.                   But yes,

5      absolutely, again, not made up, laughing at inappropriate

6      times and things like this is a sign of nervous laughter.

7      It is a sign of nervousness.

8                   And one of the books I've read that's in my

9      record called Evading Honesty, it's a complete book

10     that's about behavioral analysis and signs of deception.

11     In one of the chapters it actually talks for a couple of

12     pages and describes -- and if you watch the online course

13     that I also attended, they have videos of the laughter on

14     smugglers that were caught where they are laughing at

15     weird times or just over-laughing in like a questionnaire

16     like this.

17                  So it is something I'm getting from training.

18     It's not me coming up with things.

19           Q      So would you characterize Mr. Schott's response

20     on the video and in the traffic stop as over-laughing?

21           A      I believe so.        For me, and what I've seen, I

22     think it was.       I thought it was excessive.              I thought it

23     was different from his other answers, the seriousness of

24     each answer, and then there we kind of released.                       And

25     then I kind of kept going with it to kind of try to keep

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1      it going just to kind of -- again, I don't want him to

2      feel like -- so I always try to add comfort to

3      everything.        That's why I talk so much here.               Not today

4      with you, but to him.

5              Q      Okay.     I'm going to try to skip a huge section,

6      so...

7              A      Okay.

8              Q      Okay.     Let's actually take a break from the

9      video.

10             A      Okay.

11             Q      I know you'll be excited to hear that.                   Let's

12     look back at Plaintiff's Exhibit 8.

13             A      Okay.

14             Q      And let's go back to your report.

15             A      All right.

16             Q      And I'm going to read from the beginning

17     through to where he stayed at the hotel.

18                    "I approached the listed Ford on the passenger

19     side of the vehicle.            I made contact with a white male

20     that was wearing khaki pants and a gray sweatshirt.                        I

21     advised the driver who identified as Alek Schott of my

22     name and the reason for the stop.                 I advised Alek Schott

23     of my concern for sleepy drivers and immediately began

24     informing of me how he" -- "informing me of how he stayed

25     at the hotel."          Did I read that correctly?

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1            A      Uh-huh.

2            Q      Okay.     So a couple of questions about that.

3      Was there anything suspicious about what Mr. Schott was

4      wearing?

5            A      No, ma'am.       That's just common police writing.

6      That's what we do commonly.            That's what I teach in the

7      class of report writing for police.

8                   So before the male or female, whoever I'm

9      dealing with, identifies themselves by ID or verbal, we

10     always show in the report a descriptor of what they look

11     like and what they're wearing.             That's just common police

12     report writing.

13           Q      Okay.     And was there anything suspicious about

14     Mr. Schott staying in a hotel?

15           A      No.     Again, I think when I wrote this report, I

16     had made the mistake of kind of in my head it was -- I

17     felt like it was unsolicited.             And again, when I reviewed

18     the video, I realized by saying "sleepy drivers" I

19     induced him to tell me about the hotel.

20           Q      Sure.     So if you were revising this today, you

21     would write that "I advised Mr. Schott of my concern for

22     sleepy drivers and he responded by informing me of how he

23     stayed at the hotel"?          I don't want to put words in your

24     mouth.

25           A      Yeah, something like that.             I mean, I -- if I

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1      even put it in the report.

2            Q      Sure.

3            A      Because again, the only reason I put that in

4      there was I was thinking unsolicited.

5            Q      Okay.

6            A      Until I corrected myself watching it again.

7            Q      Sure.     Let's read the next two sentences.

8            A      Okay.

9            Q      "I observed Alek Schott was sitting with his

10     hands up and then rested on the steering wheel."

11           A      Uh-huh.

12           Q      "Alek Schott looked to be" -- "looked to

13     breathing harder than normal by the rise and fall of his

14     chest."     Did I get that right?

15           A      Yeah.     Bad punctuation, but yes.

16           Q      That's okay.        I would hate for someone to read

17     my writing like this.

18                  So the first sentence, you saw Mr. Schott

19     sitting with his hands up in the air and then he put them

20     on the steering wheel.           Is that fair?

21           A      Yes.     Here --

22           Q      Uh-huh.

23           A      -- and then yes, again, as we started talking,

24     he put them down.         But again, initially he was hands up.

25           Q      Okay.     And when you said breathe -- when you

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1      wrote "breathing harder than normal," what did you mean

2      by that?

3            A      Just what I described in the report, the rise

4      and fall of his chest, as I showed you in the video, just

5      the way you could see -- because his chest wasn't doing

6      that at times, but there was times where within this

7      traffic stop -- if you watch his chest, you'll see at

8      times he's -- it's the rise and fall is excessive

9      compared to other times.

10           Q      Okay.     Would you characterize his breathing as

11     gasping for breath?

12           A      No, not gasping.

13           Q      Okay.

14           A      Just breathing hard.          Heavy breathing.           Almost

15     like a -- I guess you could say how I sound when I start

16     searching a vehicle in this video, you'll hear me

17     breathing the way he was breathing.               But my reason is

18     because I'm chubby.         He is not chubby.         But that's how he

19     was breathing.        He was breathing as if he was winded from

20     something.

21           Q      Sure.     Let's read the next sentence.             "Alek

22     Schott's hand was trembling when he handed me his

23     driver's license."         I'm going to stop there.

24           A      Uh-huh.

25           Q      Can you tell me about the degree of trembling

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1      that you saw?

2            A      Yes.     I don't want to show -- I guess I'll

3      describe it.

4            Q      Why don't you show us, and then we can unpack

5      it from there.

6            A      So he had the -- let's say the remote is his

7      ID.   When he hands it, as I was bringing my hand up to

8      get the ID, I could clearly see the ID trembling.

9            Q      Okay.

10           A      It was trembling.         So this does happen when

11     people are extremely nervous, but yes, it was trembling

12     when he gave me the ID.

13           Q      Sure.     Was his hand shaking so much that he

14     dropped the license?

15           A      No, no, not him.

16           Q      Okay.     Now, we just watched a lot of your body

17     camera video.

18           A      Yes, ma'am.

19           Q      And you asked for Mr. Schott's license less

20     than a minute after pulling him over.

21           A      Uh-huh.

22           Q      Would you -- would it be fair to say that a

23     person could still be nervous less than a minute after --

24           A      Yes.

25           Q      -- being pulled over by the police?

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1            A      Yes, ma'am.

2            Q      Let's say that again, because I think we

3      stepped on each other a little bit there.

4            A      Sorry.

5            Q      Would you -- would it be fair to say that

6      someone could still be very nervous less than a minute

7      after being pulled over by the police?

8            A      At that point of the traffic stop, yes, ma'am.

9            Q      I want to skip a little bit ahead.                Towards the

10     end of this paragraph, you wrote that Alek Schott

11     agreed -- where is it -- "Alek Schott agreed to sit in my

12     passenger seat and exited the vehicle."

13                  Did Alek ever say anything about agreeing to

14     sit in your vehicle?

15           A      No, he didn't verbally say it, but by getting

16     out of the vehicle, he was agreeing.

17                  And then I also said, after he got out of the

18     vehicle, I actually used the terminology "Thank you,"

19     meaning thank you for doing that, which also implies, if

20     we're going to break it up, that you have a choice when

21     I'm thanking you for doing something.

22           Q      Okay.     Let's go to the third paragraph here.

23     And it says -- I'll skip to the sentence -- I'll just

24     read from the third paragraph.             "I came around the

25     driver's side of the vehicle and Alek Schott again placed

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1      his hands in the air."             Is that suspicious, him placing

2      his hands in the air, Mr. Schott?

3              A      Yes.     Yeah.

4              Q      It was?

5              A      Any time, any time a individual is doing this

6      (indicating), it's just -- it's excessive.                     It is, it's

7      considered nervousness.

8              Q      Okay.

9              A      It is not normal.         People don't usually do this

10     unless they are guilty of something, with what -- in my

11     experience, when I've had people doing this, it's because

12     they're extremely nervous and usually are doing something

13     wrong.       So it's almost like a -- it's almost like a

14     mental way of admittance, in some terms.                   And that's in

15     my training.          Again --

16             Q      Sure.

17             A      -- you'll hear about that -- if you look at

18     that Evading Honesty book or watch the online course,

19     they actually show again video clips of people doing

20     this.

21             Q      Okay.

22             A      They give examples of it.

23             Q      And when you say "this," just so it's clear for

24     the record, every time you've said "this" in the last

25     answer, you've been raising your hands in the air, just

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1      to be clear.

2             A       To show, yes, hands up.

3             Q       So to summarize that, it is abnormal, it is

4      suspicious for someone to put their hands in the air?

5             A       Yes.     If I'm not telling you "Put your hands

6      up," or if I'm not telling you to put your hands behind

7      your back and things of that nature, and you

8      automatically do these things, those things are

9      considered, by my training, I've been taught that that's

10     a sign of somebody who's doing wrong and mentally they're

11     doing things without even knowing they're doing it.                           Like

12     this, or even the hands behind the back, almost like

13     they're -- knowing they're going to get handcuffed type

14     of thing.

15            Q       Okay.     I'm going to read another sentence.

16            A       Yes, ma'am.

17            Q       "Alek Schott sat in my passenger and was

18     explaining to me that he worked in remote power."                        Did I

19     read that correctly?

20            A       Yes, ma'am.

21            Q       I just want to clarify that statement.                   Did

22     Alek immediately launch into a discussion of his remote

23     power work when he sat in your patrol car?

24            A       No, ma'am.       So that is actually -- no, he did

25     not.       I actually asked him before he was asking that.                      So

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1      I think this was just a mistake.

2                   Again, this is the day after, and I was only

3      writing the report because I knew he was going to

4      complain.      So I didn't sit drastically with my -- if I

5      would have made an arrest, if this would have been an

6      arrest, I would have sat there and watched my video as I

7      typed my report, because that's what Bexar County

8      Sheriff's Office does and what they teach, because that's

9      what we do with our cameras.

10                  This case, I was doing this -- the only reason

11     I was doing this report was because I knew he was

12     either -- I either was told he complained or I knew he

13     was going to complain.           So I was kind of just going off

14     of, you know, what I was remembering.

15           Q      Sure.     In the next sentence, "I asked him where

16     he was heading, and he explained that he was going to see

17     a client that was testing his helium engines."                   Did I get

18     that right?

19           A      Yes, ma'am.

20           Q      And after watching your body camera footage,

21     would you change what you wrote here?

22           A      The only thing I would change is that he got in

23     talking about that.         I asked him about what he did for

24     work and he explained to me answering my question.

25     Everything else I would leave the same.

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1            Q      Sure.     And I guess from what we just watched,

2      wasn't Mr. Schott returning home to Houston?

3            A      Yeah.     What did I write?         I'm sorry.

4            Q      You wrote -- "I asked him where he was heading,

5      and he explained that he was going to see a client that

6      was testing his helium engines."

7            A      Okay.     Yeah, I would change that to he

8      explained that he had just had a client test helium

9      engines or whatever it was he told me.                So yeah, he had

10     just got done doing that because that's what he told me

11     he went out there for and was on his way back from that.

12           Q      Okay.

13           A      So yes.

14           Q      I want to go to the last sentence of this

15     paragraph.

16           A      Okay.

17           Q      "I further observed that using the LPR systems

18     that Alek Schott had been on I-10 west at midnight the

19     night before heading south and had a one-day turnaround."

20                  Did I read that correctly?

21           A      Yes, ma'am.

22           Q      So tell me about this statement.

23           A      Okay.

24           Q      We talked a little bit before about the

25     intelligence that you received before making this stop.

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1            A      Uh-huh.

2            Q      Is this, the reference -- is this a reference

3      to that intelligence?

4            A      No.     So if I said I looked at the LPR system or

5      observed using the LPR system, that means that I, the

6      little pictures that you saw on the screen, that means I

7      looked at the LPR.         And that must have been what I saw on

8      the LPR, showing that he had been traveling on I-10 west

9      at one point.

10           Q      Okay.     And was that suspicious to you?

11           A      No.     It's really just me confirming in a report

12     that he did do a one-day turnaround.                The one-day

13     turnaround we talked about.

14           Q      Okay.     Sure.     Let's read through the fourth

15     paragraph.      I'm not going to read it all --

16           A      Okay.

17           Q      -- for you.       Can you just review it?

18           A      Uh-huh.

19           Q      I don't think there's anything we really need

20     to discuss.        I'll just ask you about the last sentence

21     there.

22           A      (Reviewing document.)

23           Q      "Alek Schott advised that he had some law

24     school."     Did Mr. Schott tell you he went to law school?

25           A      He had told me something about law school, yes.

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1      And again -- so the reason I even put that in the

2      report -- I should have explained more.               So with my

3      training and experience and the training -- I hate to use

4      such a -- that's such a thing.           But training is really

5      where I get it.        So by him telling me about, "Oh, yeah,

6      the reason I'm not letting you search my vehicle is due

7      to my time in law school" or "I went to some law class."

8      It's -- what's the word I always use?              He's basically

9      trying to convince -- it's a convincing statement.

10                 So I asked you to search -- I asked if I could

11     search your vehicle.        You then said, "I wouldn't be

12     comfortable," or whatever he said.             And then he started

13     trying to convince me.         It was a convincing statements

14     of, "Well, you know, I" -- "with what I learned in law

15     school."    And then, "For all I know, the guy that changed

16     my oil dropped a joint in the engine."

17                 Again, this is not -- that statement alone

18     about the guy changing the oil and dropping a joint in

19     the engine, it's just -- it's just -- it's not normal.

20     That's not a normal statement to make.              It's one thing,

21     he could just tell me no.          But the convincing statements

22     of the guy dropping a joint in the engine, and then

23     talking about the law or whatever he said about law

24     school, I put it in there because it would be considered

25     convincing statements.

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1             Q      Okay.

2             A      The better thing to do would be to just say

3      "no" when I ask if I could search your vehicle.

4             Q      Sure.     What's the difference between a

5      convincing statement and an explanation?

6             A      Convincing statement is -- so the convincing --

7      an explanation -- his explanation is, a guy dropped a

8      joint -- a guy could have dropped a joint in the engine

9      block that was changing his oil.

10                   A convincing statement would be "I know this

11     because of my law school," or another example that isn't

12     one that he said is, "I was in the military, I'm a

13     Veteran, I'm this, I'm that, I'm a good guy, I'm a father

14     of" -- convincing statements.              You're convincing me that

15     you're not a criminal.            So the law school thing to me is

16     also a form of convincing statement.

17            Q      Sure.     Let's go to Page 5, which is labeled BC

18     168.

19            A      Okay.

20            Q      And can you tell me what this page is?

21            A      Yes.     It is another incident report that I had

22     written.      And it's saying -- you want me to keep going?

23            Q      Sure.

24            A      At some point I wrote a report and I said that

25     the dash cam was inoperable during the traffic stop.                     So

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1      it's saying that Sergeant Gamboa was looking at the

2      footage and advised me that he could not find the footage

3      and then realized that the point of footage was not

4      there.       All body cam footage however was there.                    So this

5      was already identified.             I had not turned it on.              This

6      was 20 -- so this was May 12 --

7             Q       April.

8             A       April 12.

9             Q       So just want to make sure we're right about the

10     record.       The date on this supplemental report is what?

11            A       January, February, March -- April 12.                    I had to

12     use my fingers there, 2022.              That's the infantry in me

13     right there.

14                    So yeah, this is actually what I was dismissed

15     for.       I used a horrible -- I guess a bad terminology.                      I

16     said inoperable.          The camera's not in operation, because

17     as I stated in the first report, I did not turn it on.

18     It was in the off position; therefore, not operating.                           So

19     inoperable.        They say the definition of inoperable is

20     broken.       So there's my lie and there's my dishonesty of a

21     ten-year career.

22            Q       Did Sergeant Gamboa ask you to write this

23     supplemental report?

24            A       So according to this report, it looks like it.

25     I don't remember him telling me to write a report.                         As a

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1      matter of fact, during the IA investigation, when they

2      showed me this, I was a little like, I don't even

3      remember writing this.

4                   But if it's here and I'm saying that, I guess

5      he probably told me to write a report again.                   But I

6      really don't remember this report, and that's why when I

7      was doing -- when they were doing the IA, they showed it

8      to me.     I'm like, Why would I even need to write this?                  I

9      don't remember.        But if I did, it must have been a quick

10     write this and I knocked it out real quick, which I guess

11     is why I used a stupid word that --

12           Q      Okay.

13           A      -- apparently was a career ender.

14                  MS. HEBERT:       Let's take a brief break, if you

15     don't mind, Molly.

16                  THE WITNESS:        Okay.

17                  MS. HEBERT:       Just so I can get organized and

18     see how much we have left to cover.

19                  THE WITNESS:        Yes, ma'am.

20                  THE REPORTER:        We're off the record.

21           (Recess from 3:48 p.m. to 3:58 p.m.)

22                  THE REPORTER:        Okay.    We are back on the

23     record.

24           Q      (By Ms. Hebert) Okay.           I just want to look at

25     your supplemental report just a little bit more.

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1            A      Okay.

2            Q      It's BC 168.

3            A      Uh-huh.

4            Q      And before we took a break, you mentioned that

5      there was a poor word choice.             What words were you

6      referring to?

7            A      "Inoperable."

8            Q      Okay.     And why was that a poor word choice?

9            A      To be blunt about it, because I was fired for

10     that word choice, because in the mindset of "inoperable"

11     means broken, that is why.            Because my job looked at it

12     as it means broken, therefore they called it a lie.                    But

13     what I was talking about was inoperable was -- as I said

14     in the very first report, it was not on, so it was not in

15     operation.      And I used the word "inoperable" here.

16                  That's why -- I'm going to tell you right now,

17     ma'am, that if I wasn't fired for that word, I probably

18     wouldn't be calling it such a bad word.                 But that is why

19     I'm saying it's a bad word, because again, this is the

20     word that I was dismissed for.

21           Q      Sure.     And have you ever heard of someone being

22     dismissed based on their word choice?

23           A      I've seen people dismissed for dishonesty.

24           Q      Sure.

25           A      I've never seen this, this type of -- I don't

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1      want to use bad wording here, but no, personally, I have

2      never seen somebody be dismissed for a word in a report,

3      when a initial report shows I didn't turn on a camera.

4      So no.

5             Q      Sure.     And just to be clear, I mean, we watched

6      your body camera video at length slowly.                  Was there

7      anything in that body camera footage, anything in the way

8      that you actually did the stop that you were dismissed

9      for?

10            A      No, ma'am.

11            Q      And are you pursuing a grievance with the

12     Sheriff's Office?

13            A      The only thing I'm doing through CLEAT is I'm

14     actually appealing it.            Now that I've been fired -- I

15     appealed all levels because I wanted to get a face to

16     face -- well, I wanted a face to face with Sheriff

17     Salazar and Chief Serrato.             I didn't get that, but I got

18     the Chief Serrato face to face.               I really just wanted him

19     to tell me that I was dishonest, because I teach them

20     their in-service classes.             So I just wanted to be in

21     front of him.

22                   Now I'm appealing to where, I guess, it's

23     going -- and I don't know how the process works.                       I guess

24     it's going to go to the civil service board.                    And that

25     will take a year, I think is what -- it takes a while.

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1      But yes.

2            Q      Okay.     And I think I saw this, and if I'm

3      wrong, like feel free to tell me.               I'm speaking from

4      like -- I think I saw somewhere in a document where you

5      said that you had worked with Sheriff Salazar before; is

6      that true?

7            A      What I mean by "worked with," he -- if you look

8      through my videos, there's videos of him actually backing

9      me up on traffic stops, showing up while I'm interviewing

10     somebody in the front seat.            There's even a video of him

11     standing next to the passenger door with the window down

12     speaking to the guy that's on my traffic stop with me

13     while I'm doing my job.           He's there speaking to him

14     backing me up on the stop.

15                  He's sat in my vehicle, saw my stickers and

16     talked about, oh, and knew that that's visual stimulation

17     and understood.        So Sheriff Salazar is in full

18     understanding of what I do, how I do it and what my

19     training is.

20           Q      And did he ever say anything to you that your

21     tactics weren't, weren't right?

22           A      Not at all, ma'am.

23           Q      Did you have the impression he approved of your

24     tactics?

25           A      Yes, ma'am.       I have -- there's probably, if you

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1      dig hard enough, videos of him saying what a good job I

2      do.

3              Q      Okay.     I want to look at another document.

4              A      Okay.

5                     MS. HEBERT:       We're going to go to our Exhibit

6      O, Mr. Rowes.

7              A      Ma'am, I don't mean to cut you off.                Can I add

8      one other thing?

9              Q      (By Ms. Hebert) Sure.

10             A      So I had -- we're watching these videos, and

11     I'm noticing -- so in the video I do ask Alek Schott if

12     he has a passenger, if he had a passenger with him.                      And

13     what that's worrying me is that -- and then the amount of

14     texting I'm doing in the vehicle, I don't know -- I told

15     you that the time I found out about the passenger was on

16     the phone call.          I don't know for sure that that's the

17     case.       Because me to ask him if he had a passenger with

18     him, I don't know if I got that on WhatsApp or maybe in

19     one of these texts.           I'm just -- I want to make sure that

20     I put out there that because of me asking him that, it

21     brings question to my brain that I may have heard it

22     before.       I don't know for sure.

23             Q      Sure.

24             A      So I don't want to just say straight up front.

25             Q      I -- this is your time to set the record

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1      straight.      So I appreciate that.

2            A      Yeah.

3            Q      I'm not trying to trick you on any of that.

4            A      No, ma'am.       I just want to put it out there,

5      because I can see how -- because I realize that I asked

6      him that, and then now that I'm watching all the text

7      traffic, I'm like, man, did it -- was it through that?                     I

8      don't know.        So I just want to make it clear that --

9            Q      Okay.

10           A      -- because it was so long ago, I just don't

11     have exact time frames of that.

12           Q      That's fine.        That's fine.

13           A      Okay.

14           Q      Let's go to Exhibit O.           And we're marking that

15     Exhibit --

16                  MR. ROWES:       46.

17           A      46.

18           Q      (By Ms. Hebert) -- 46.

19           A      Okay.

20           Q      Do you know what this document is?

21           A      Internal Affairs Section, so -- no, I don't.

22           Q      Okay.

23           A      Oh, yeah, I see it now.            It's my entire case it

24     looks like.

25           Q      Right.

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1              A      Okay.

2              Q      Let's flip to Page 20, which is Bates labeled

3      8321.

4              A      What is it again?         I'm sorry.

5              Q      8321.

6              A      Where is that located, the number?                 On the

7      bottom of the page?           Okay.     Here we go.       Okay.

8              Q      Do you recognize this page?             Is this -- are

9      these your initials at the bottom?

10             A      Yes, ma'am.

11             Q      Okay.     And are these the answers to some

12     questions that you -- the -- let me rephrase that.

13                    Are these interrogatories that you answered

14     with the Internal Affairs Section?

15             A      Um --

16             Q      At the top there's a title that says, "Internal

17     Affairs Section Interrogatories."

18             A      Okay.

19             Q      And then is that your initial here?

20             A      On the bottom, yes.

21             Q      And then we can flip to the back, which is Page

22     BC 8328.       Is that your signature on the Officer Signature

23     line?

24             A      Yes, ma'am.

25             Q      Okay.     So are these answers to questions?                Are

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1      these answers that you gave to questions that the

2      Sheriff's Office asked?

3            A      Yes.

4            Q      Okay.     I want to look at Page 8323.

5            A      8323, okay.

6            Q      And these are some of the trainings that you

7      attended?

8            A      Yes, ma'am.

9            Q      I don't expect this to be like the

10     comprehensive training list of every training you've ever

11     given.

12           A      Yes.

13           Q      So I just want to be clear about that.

14           A      Okay.

15           Q      But you listed several trainings here.                   And are

16     these generally the main trainings you would say you

17     relied on doing in -- you relied on in doing criminal

18     interdiction?

19           A      Yes, ma'am, especially the 720 interdiction.

20           Q      Okay.     And do you have any materials still from

21     these trainings?

22           A      I probably -- I had my certificate.

23           Q      Right.

24           A      And my notebooks and stuff, I probably don't

25     have them anymore.

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1              Q      Sure.

2              A      Did I have a note -- so I've already like --

3      I'd have to dig, because I had a notebook that I would

4      take notes from the class.

5              Q      Sure.

6              A      So I can probably find that.

7              Q      If you can look for it and provide it for your

8      attorney --

9              A      Yes, ma'am.

10             Q      -- that would be helpful.

11             A      Yes, ma'am.

12             Q      And these trainings, did Deputy Gereb attend

13     any of these trainings, to your knowledge?

14             A      Yes.     He attended some of the 720s with me.

15     And he himself had gone to a couple HITS.                      We did do DIAP

16     together.        And we did do the Commercial Motor Vehicle

17     Interdiction together.             As far as the Triple I's and the

18     Street Cop Trainings, I don't think he did any of those.

19             Q      Okay.

20             A      Those are some I did on my own.

21             Q      And obviously he would know what trainings he's

22     been to.

23             A      Yes, ma'am.

24             Q      Okay.     Let's go to Page -- let's go to Page

25     8337.

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                                                                       Page 277

1            A      Okay.

2            Q      I'm going to ask you to look from 8337 to 8338

3      and then the next page, 8339.

4            A      Okay.

5            Q      Let me know when you have a chance to review

6      it.

7            A      (Reviewing document.)            Okay.

8            Q      What is this document that runs from 8337

9      through to 8339?        What is it?

10           A      So when I run his driver's license, name, date

11     of birth, or I can run it by license number, this is what

12     comes up.      So this is all his pedigree information of his

13     name, date of birth, all that stuff.

14                  And then here is just his driving record

15     basically.      So these are speeding tickets and safety

16     courses he's done.         This is basically that background.

17     If he was to have, not so much criminal -- so traffic

18     warrants, then they would show up here.                  They would still

19     make noise for traffic warrants, but that's not -- you

20     have traffic warrants and criminal warrants.                   That would

21     also show up on this page.

22           Q      Okay.     I'm going to ask you what "make noise"

23     means.     What does "make noise" mean?

24           A      The dun-unt.        The dun-unt from before.

25           Q      Oh, the dun-unt.         Okay.     Sorry.

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1              A      I didn't think we were going to revisit it, but

2      yeah, dun-unt.

3                     MR. LEAKE:       I'm excited to see how you write

4      that in the transcript.

5                     THE REPORTER:        I was going to ask somebody how

6      to spell dun-unt.

7                     MS. HEBERT:       Drop a footnote and cite the first

8      two notes of Jaws.

9                     MR. LEAKE:       I was thinking the Mario Brothers

10     Level 3, but maybe I'm the only nerd in the room, I don't

11     know.       Duh-nuh-nunt, duh-nuh-nunt.

12             Q      (By Ms. Hebert) Okay.           Anyway, I'm going to go

13     back to this document now.              So is this what came up when

14     you entered Mr. Schott's information?

15             A      Driver's license.

16             Q      Or yeah, when you entered his driver's license

17     into your computer, is this what comes up?

18             A      Yes, ma'am.

19             Q      Okay.     And if there's something problematic,

20     does it appear in red?

21             A      Um --

22             Q      This is just a question.            I don't know the

23     answer to it.          I just was curious about that fact.

24             A      Not always.       So like here it says the

25     expiration date --

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                                                                       Page 279

1            Q      Yeah.

2            A      -- and we're good there.            Now if this shows up

3      as an insurance screen, where it shows if it's eligible

4      or ineligible, so with the insurance screen, here being

5      red is not a good thing.           So eligible means you have your

6      vehicle insured.        Ineligible means that there's no record

7      of insurance for that vehicle.

8            Q      Okay.

9            A      So that is where it's problematic.                But in this

10     case, this is not a problematic thing.

11           Q      Okay.     I guess I was just curious about that.

12     So if there was something problematic like further down,

13     would it be red or would everything just be green?

14           A      Not on this page.         The next thing would be if

15     he had a traffic warrant or any type of warrant, it would

16     be on the next page, and it would say "Traffic Warrant"

17     and that would be in red, and it would actually be -- if

18     I remember correctly, it blinks too.

19           Q      Okay.     So is there anything in here that is

20     suspicious or problematic, just in the record itself?

21           A      No, ma'am.       Because we were actually talking

22     about it while I was looking at it.

23           Q      Sure.

24           A      Remember we were -- he was laughing, talking

25     about the driving course.

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                                                                        Page 280

1             Q      And so what we're looking at here is a page and

2      a half.

3             A      Yes.

4             Q      And that's the entirety of the information

5      about Mr. Schott from his license?

6             A      Yes.

7             Q      Okay.     I want to look at the next page, 8339.

8             A      Okay.

9             Q      And I see two dates here.            3/18 and 3/16.         Am I

10     reading that right?

11            A      Yes.

12            Q      Does that mean you accessed Mr. Schott's

13     license information on two dates?

14            A      Yeah.     Yeah, that does.

15            Q      Okay.     I want to go to another exhibit.

16            A      Okay.

17                   MS. HEBERT:       Mr. Rowes, can you hand Mr. Babb

18     Exhibit P.       And we're marking this Exhibit 47.               Thank

19     you.

20            Q      (By Ms. Hebert) Do you know what this document

21     is?

22            A      This looks like Vigilant.            So this would be

23     Vigilant, the LPR.

24            Q      Is this what you looked at when you pulled up

25     Mr. Schott's license plate?             Is this how it looked for

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1      you?

2             A      No.     So how it looks is as you see on the

3      screen, it's a snippet picture of the vehicle and then

4      next to it is the information of where.                  And that's all I

5      ever look at.         I think if I was to click, if I remember

6      correctly -- because again, the only thing I would look

7      at on LPRs is what you saw on the screen.

8             Q      Sure.

9             A      I think if I click, it will do stuff like this

10     and show you more detailing.

11            Q      Okay.     So -- it's kind of like when you search

12     for something on Google, you get like snippets of all the

13     results, and then if you click on them, you'll go to the

14     page --

15            A      Yes.

16            Q      -- is that fair?

17            A      You type in the license plate number and then

18     submit, I believe, and it just brings up all the little

19     pictures for Vigilant license plate readers wherever they

20     are and where they pick them up.

21            Q      Sure.     That's helpful.        I want to look at the

22     first page, so I'm understanding some of these records

23     correctly.

24            A      Okay.

25            Q      Is the user here Officer Gereb?

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1              A      Let's see.

2              Q      See in the column Camera Information, I see

3      User and I see Joe Gereb.

4              A      Yes.

5              Q      Does that mean that Officer Gereb's vehicle

6      scanned this license plate?

7              A      Yeah.     So if you look in the video, most likely

8      when -- because he likes to do that -- he pulled up next

9      to me on the traffic stop.

10             Q      Okay.

11             A      So when he did that, most likely what happened

12     was his LPRs zoomed his license plate.

13             Q      Okay.

14             A      So that's probably what that's from, ma'am.

15             Q      Got it.      And then I want to look at the next

16     page.       It's BC 9707.

17             A      Okay.

18             Q      And is this also Mr. Schott's license plate?

19             A      Let me see.       LJR4135?      Yes, ma'am.

20             Q      Okay.     And who -- let's look at the Camera

21     Information column.

22             A      Okay.

23             Q      And what agency is listed there?

24             A      So that one says Fayette County Sheriff's

25     Office.

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1              Q      Okay.

2              A      And then it's showing that it was an LPR

3      trailer.       So you know those boxes that are on the highway

4      where they, you pass and it shows the speed you're going?

5              Q      Yes.

6              A      Those boxes also have license plate readers on

7      them.       So those are also snapshotting vehicles.

8              Q      Okay.

9              A      So every time you pass one of those, your

10     vehicle is also getting your picture taken of it and its

11     license plate to show you're in that area.

12             Q      So this record would be from something like

13     that?

14             A      Yes.

15             Q      And what time -- can you read what time the

16     vehicle was spotted and the date under the picture of the

17     vehicle?       So look at where the truck is at the top --

18             A      Uh-huh.

19             Q      -- right.      And the vehicle spotted, what time

20     and date was that spotted?

21             A      Date, 3/15/22.        Time, 6:52 p.m.

22             Q      Okay.     And then let's look at the next page, BC

23     9708.

24             A      Okay.

25             Q      This seems to me to be the same page as 9707,

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1      but you might see something with your expert eye here

2      that's different.         So if I'm missing something, please

3      point it out to me.

4            A      Okay.     First, I do want to make a correction,

5      as I stated earlier --

6            Q      Sure.

7            A      -- when it comes to LPRs, I am in no way an

8      expert.     I literally hit "submit," look at the little

9      pictures and see where he's been.               As far as once we get

10     into all this clicking --

11           Q      Sure.

12           A      -- I never do that.

13           Q      Okay.     So -- all right.         That's a really

14     important, great caveat.

15           A      I'm not an expert.

16           Q      Well, maybe to your eye is there any --

17           A      Yes.

18           Q      -- is there any difference between Page 9707

19     and 9708?

20           A      Doesn't look like it.

21           Q      I don't see one.         This is not a trick.            I just

22     don't see one.

23           A      I'm over here Where's Waldo-ing.                No, I don't

24     see a difference, ma'am.

25           Q      Okay.     And then let's look at the next page,

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1      9709.       Do you see 9709?

2              A      Yes.

3              Q      And what's the agency here?

4              A      Liberty County.

5              Q      Okay.     And what's the date and time?

6              A      It is 3/10/22, and that's 4:37 p.m.

7              Q      Okay.     You're welcome to flip through the rest

8      of these records.           There's not very many pages.

9              A      Okay.

10             Q      Is there a scan from you in here?               I'm not

11     seeing one, but if you do see one and I don't catch it,

12     please let me know.

13             A      I don't see one up to this point.               And these

14     are all going back.           So no, I don't see one from my, from

15     my -- so mine may have not been working, my LPRs.                       Again,

16     the pictures I'm looking at are from the other LPRs that

17     had come up.

18             Q      Sure.

19             A      So I don't remember.          But I know we were having

20     problems with ours.           And mine might have been -- we

21     actually swapped vehicles around a little bit, and I

22     think mine was having problems with not snapshotting.

23             Q      That's fine.        Can you tell me, look through

24     these pages and tell me where there was a midnight trip

25     on I-10?

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1            A      Let's see.       (Reviewing document.)          I'm not

2      seeing one in this packet, ma'am.

3            Q      Okay.

4            A      The only I-10 is this one here for 6:52.

5            Q      Thank you.       You can put that away.

6            A      Okay.

7            Q      You previously surrendered a phone to a cell

8      phone examiner --

9            A      Uh-huh.

10           Q      -- is that correct, in this case?

11           A      Yes, ma'am.

12           Q      And the phone you surrendered, I have the

13     number as 254 --

14           A      Uh-huh.

15           Q      -- 319-4621.        Did I get that right?

16           A      Yes, ma'am.

17           Q      From January 2022 to today, did you have any

18     other cell phone?

19           A      I had bought a new phone between the time frame

20     of this stop and now.

21           Q      Okay.     I wasn't precise.

22           A      Yes.

23           Q      That was my fault.          Did you have any other

24     phone number, cell phone number between --

25           A      No.

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1              Q      -- January 2022 and today?

2              A      Other than when I became an instructor, I got a

3      County phone finally --

4              Q      Okay.

5              A      -- issued to me in the County for instruction.

6      But as far as my personal phone, no, it's been the same.

7              Q      Sure.     And what -- do you remember the number

8      of the County phone number that you had?

9              A      I don't remember it on the top of my head.                 But

10     they definitely can tell you that, because they collected

11     that on my administrative leave.                They took my phone.

12             Q      Sure.     And did you ever send text messages with

13     your county phone?

14             A      Yes.

15             Q      Okay.

16             A      Within instruction world.            I never had a county

17     phone, for whatever reason, during my time on criminal

18     interdiction or as a hostage negotiator.

19             Q      Sure.     I would like to look at some of the text

20     message conversations from your cell phone, if that's

21     okay.

22             A      Yes, ma'am.

23             Q      Let's look at Exhibit S.

24             (Discussion off the record.)

25             Q      Okay.     My colleague is handing you what's been

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1      marked Exhibit 48.         And I'll represent to you that this

2      is the conversation that the cell phone examiner produced

3      as conversation Number 2 --

4            A      Uh-huh.

5            Q      -- from your cell phone.

6            A      I'm sorry.

7            Q      Can you please review it?

8            A      Yes.

9            Q      And according to the forensic examination

10     results, this is a Facebook Messenger conversation --

11           A      Uh-huh.

12           Q      -- between you and Dennis Bengino [sic].

13     Bengino?     I might be mispronouncing it.

14           A      Benigno.

15           Q      Benigno.

16           A      It's a weird one.         It's Italian.

17           Q      Okay.     Who is Dennis Benigno?

18           A      Dennis Benigno is the CEO of the company Street

19     Cop Training.

20           Q      Okay.

21           A      He is the head owner of that company that runs

22     all kinds of law enforcement training, not just criminal

23     interdiction.        Everything from canine to community

24     policing to everything and anything.                He's got

25     instructors that work under him and teach all aspects of

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1      law enforcement.

2            Q      Okay.     And how did you -- how do you know

3      Mr. Benigno?

4            A      Through training.         He's also an instructor

5      himself.     He's -- in the world of law enforcement, he is

6      a case law mastermind.           Basically he's a guy that can --

7      he knows case law.         I can -- you can ask this man a

8      question, and he, through memory, knows, oh, the case law

9      that covers this is this, and this is how -- and in his

10     class, he teaches case law.            But he's open to, if you

11     need help, roadside help, anything like that, most

12     instructors from the classes I go to give you that help

13     while you're on the roadside and things like that.

14           Q      Okay.     Can we look at the big paragraph of text

15     in the middle of the page?

16           A      Uh-huh.

17           Q      And the date on that, as I read it, is

18     April 24th, 2024.         Did I get that right?

19           A      Yes, ma'am.

20           Q      And this seems to me to be a text message from

21     you --

22           A      Uh-huh.

23           Q      -- to Mr. Benigno; is that right?

24           A      Yes.

25           Q      And can you review it?           I'm not going to read

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1      the entirety --

2            A      Yes.

3            Q      -- of it to you.

4            A      (Reviewing document.)

5            Q      Can you let me know when you're ready?

6            A      Yes, ma'am, I'm ready.

7            Q      Okay.     When you use the term "civil suit," were

8      you referring to the suit from Mr. Schott?

9            A      Yes, ma'am.

10           Q      Okay.     And I want to look at the last sentence.

11           A      Uh-huh.

12           Q      "I'm not worried about this case, however I'm

13     just helping my lawyer to show him that [sic] I know I

14     can and can't do this job due to the training I've gotten

15     from y'all."        Did I read that correctly?

16           A      Yes.

17           Q      I'm not asking at all about any conversations

18     with your lawyer, just to be clear.               But the last part of

19     the sentence, I understand that phrasing to be, "to show

20     him I know what I can and can't do in this job due to the

21     training I've gotten from y'all."

22           A      Yes.

23           Q      Is that fair?

24           A      Yes, ma'am.

25           Q      And the training you were referring to was the

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                                                                       Page 291

1      Street Cop Training from Mr. Benigno?

2            A      Benigno, yes.

3            Q      Okay.

4            A      His and other classes with him, but him

5      specifically, he's where I learned a lot of my case law

6      and things like that when it comes to traffic stops.

7            Q      Sure.     Can you just give me a couple of the

8      takeaways from Mr. Benigno's trainings?

9            A      Yeah.     He was very clear on -- so I'll kind of

10     paint the picture.         So I was on patrol, and I only had,

11     like we talked about earlier, I only had academy

12     training, and I only had Carl's training, the PTO.                    There

13     is no Carl.      This is just a word I use.

14                  But that's all I had, so I was literally just

15     looking at vehicles for violations and stopping vehicles

16     for violations.        And I was getting nowhere other than

17     giving tickets and warnings.

18                  I went to this class, and this class taught me

19     how to analyze driving behavior.              He taught about driving

20     behaviors, case law of what we can and can't do,

21     explaining all the things that allows you to run criminal

22     interdiction type things to where you're watching the

23     driver and everything, rather than just vehicle and

24     violation.

25                  He opened up the spectrum of finding crime

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1      before it happens, through traffic stops, using case law.

2      So he opened my eyes and was the beginning of, wow, I can

3      do a lot more than I thought with this case law thing.

4      And then he became kind of like that guy, one of the

5      mentors that I had out there for case law, with his

6      knowledge of case law.

7              Q      Okay.     Thanks.     That's helpful.           We can skip

8      that.

9                     Can we look at Conversation W?

10                    MR. LEAKE:       Is there another page?

11                    MS. HEBERT:       No, we're going to give it to you.

12                    THE WITNESS:        Oh, okay.

13                    MS. HEBERT:       We're going to mark this

14     Exhibit 49.

15                    THE WITNESS:        Okay.

16                    MS. HEBERT:       Thank you, Mr. Rowes.

17                    MR. ROWES:       You're welcome.

18             Q      (By Ms. Hebert) I'm going to give you a chance

19     to review it.

20             A      (Reviewing document.)

21             Q      You don't have to read the entirety of it.

22             A      Okay.

23             Q      I'm going to represent to you that this is the

24     cell phone -- this is what the cell phone examiner

25     produced as Conversation 17 --

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1            A      Uh-huh.

2            Q      -- from your cell phone.            And the examiner

3      retrieved these messages from your WhatsApp account.

4            A      Okay.

5            Q      Does that seem correct to you?

6            A      Yes, ma'am.

7            Q      Okay.     And the examiner's records indicate that

8      these messages were under the label Northwest Highway

9      Group.

10           A      Yes.

11           Q      Is this the group that you talked about earlier

12     today?

13           A      Yes, ma'am.

14           Q      Northwest Highway Group?

15           A      Uh-huh.

16           Q      And I think that's all we need to do for that,

17     so you can put it to the side.

18           A      Okay.

19           Q      Okay.     I think this is a good time for a break.

20     I have like one big section left to do, and then I want

21     to just clean up.

22           A      Okay.

23                  MS. HEBERT:       So okay for a break?

24                  MR. LEAKE:       Whatever you need.

25                  THE REPORTER:        We're off the record.

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1            (Recess from 4:24 p.m. to 4:34 p.m.)

2                   THE REPORTER:        We're back on the record.

3            Q      (By Ms. Hebert) I want to clean up something

4      that you talked about a little before.                You talked about

5      videos where Sheriff Salazar was talking to you and

6      talking about your criminal interdiction tactics and --

7            A      Yes.

8            Q      -- saying they were good and you were doing a

9      good job.

10           A      Uh-huh.

11           Q      Where would we find those videos?

12           A      Body cam footage.

13           Q      Okay.

14           A      I don't know.        I've had so many cases.             But

15     it's -- he's been around me a couple of times.                   I'm just

16     saying I've done operations where he's been there.

17           Q      Sure.

18           A      There's never been a time that I've received,

19     when I've had face-to-face with him, anything negative

20     about what I'm doing.

21           Q      Okay.

22           A      He claims to have been interdiction at one

23     point, and he understands completely what I'm doing.                        And

24     specifically talking to him about the stickers, I don't

25     know if it was muted or not, but he sat in my car and we

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1      talked about the stickers.            So --

2            Q      Sure.

3            A      And again, everything I'm doing, again, is from

4      the training, so --

5            Q      Sure.     Okay.     I want to watch another video.

6            A      Okay.

7                   MS. HEBERT:       I forgot to turn the thing on.

8      Shoot.     Sorry, y'all.

9            Q      (By Ms. Hebert) Okay.            I'm going to mark this

10     Exhibit 50.

11           A      Okay.

12           Q      And I'll just --

13                  MS. HEBERT:       I'm going to hand you a

14     placeholder.       We'll send you the video when I figure out

15     how to get it to you.

16                  THE REPORTER:        Okay.

17                  MS. HEBERT:       This is just a cover sheet so that

18     I can hand that to her.

19                  THE WITNESS:        Okay.

20                  THE REPORTER:        Thank you.

21           Q      (By Ms. Hebert) I'm just going to tell you this

22     is from what we have as your dash cam.

23           A      Okay.

24           Q      I want to watch the first part so you can get a

25     little context, and I'll skip to a portion.

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1            (Video played.)

2                   MR. LEAKE:       What is the Bates label for this

3      one, do you know?

4                   MS. HEBERT:       I do.     Hold on a second.            Let me

5      find it.     The Bates label for this is --

6                   MR. ROWES:       BC 307.

7                   MR. LEAKE:       Okay.

8            Q      (By Ms. Hebert) Okay.

9            (Video played.)

10           Q      I'm going to pause this.            Hold on.      There's

11     something that's creating these subtitles.                   I don't know

12     what it is.      I'm just going to figure this out for a

13     second.     Hold on.

14                  THE REPORTER:        Are we off the record for a

15     second or --

16                  MR. ROWES:       Yeah, let's go off.

17                  MS. HEBERT:       Let's go off the record for a

18     second.

19           (Discussion off the record.)

20           Q      (By Ms. Hebert) Okay.           I'm going to start this

21     video, Exhibit 50 again, we're at --

22           A      Okay.

23           Q      -- seconds, 30 seconds in.

24           (Video played.)

25           Q      Okay.     I'm just going to pause it there so we

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1      can get the context.          You're making a traffic stop here.

2            A      Okay.

3            Q      Is that fair?

4            A      Yes, ma'am.

5            Q      Can you tell this is you from this angle?

6            A      Yes.

7            Q      Okay.     And I'm going to skip, skip ahead to a

8      later part in the video.           You're welcome to watch the

9      whole video.

10           A      Okay.

11           Q      There's not really much to remark upon for a

12     good chunk of it.

13           A      Okay.

14           Q      And at this point I'm going to start at 10:50.

15     You're putting the driver back in his vehicle.

16           A      Okay.

17           Q      And then we'll watch from there.

18           A      Okay, ma'am.

19           (Video played.)

20           Q      Okay.     We just watched a video -- was that your

21     voice?

22           A      Yes, ma'am.

23           Q      And who were you speaking with?

24           A      That's Sergeant Gamboa.

25           Q      Okay.     I want to watch -- I'll just turn this

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1      off so I can navigate.           I want to watch the video again.

2            A      Okay.

3            Q      And I want to be like 100 percent transparent

4      with you.

5            A      Okay.

6            Q      We have added subtitles --

7            A      Okay.

8            Q      -- to this video.         We've just clipped it to the

9      relevant points, so you don't have to watch the whole --

10           A      Yes, ma'am.

11           Q      -- traffic stop.         And we've added subtitles.

12           A      Okay.

13           Q      What I want you to do is to review those

14     subtitles and tell me at any point whether those

15     subtitles are not correct, are not --

16           A      Okay.

17           Q      -- what's happening in the conversation.                 Jump

18     in, tell me, because I want a correct record --

19           A      Yes, ma'am.

20           Q      -- of what's being actually said.

21                  MS. HEBERT:       So I'm going to introduce

22     Exhibit 51.      I'm going to give you a marker for that, so

23     we can remember to send it to you.

24                  THE WITNESS:        Oh, my bad.

25           Q      (By Ms. Hebert) And this video is not Bates

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1      labeled video, but it is just a clip of the prior one of

2      BC 307.

3            A      Okay.

4            Q      So I've got to turn this back on.

5            (Discussion off the record.)

6            Q      Okay.     I'm going to start this, and if you see

7      a spot that is incorrect, let me know.

8            A      Yes, ma'am.

9            (Video played.)

10           Q      Okay.     Was there anything that the subtitles

11     did not get correct?

12           A      No, they got it right.

13           Q      Okay.     I'm going to start from the beginning.

14           A      Okay.

15           Q      I'm going to ask you a couple of questions

16     about it.

17           A      Yes, ma'am.       I'll wait for the question, but I

18     do have something to add.

19           Q      Sure.     Well, let's -- let's -- let me ask some

20     questions first.

21           A      Yes, ma'am.

22           Q      So let's watch just a section of the video

23     we're going to watch from -- to -- we're going to watch

24     to 40.

25           A      Okay.

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1              Q      Okay.     I'm going to just pause it there, you

2      say it was one of those from the app.

3              A      Uh-huh.

4              Q      You're referring to WhatsApp?

5              A      WhatsApp, yes, ma'am.

6              Q      Is that correct?

7              A      Sorry.

8              Q      That's okay.        And you're talking with Sergeant

9      Gamboa on this conversation.               He's familiar with the

10     stop.

11             A      (Nodding head.)

12             Q      Is it fair to say that he has Mr. Schott on

13     hold at this point?

14             A      I don't -- I don't know if that's what he meant

15     by that.

16             Q      Okay.     Well, I can --

17             A      It did sound that way.           I hope not.       But he did

18     say that.

19             Q      Sure.     And when you said in here "The intel

20     stops from" -- "of a one-day turnaround," were you

21     referring to the one-day turnarounds we've talked about

22     with just a trip from one place to the other and then

23     back the same day, or a day after?

24             A      Yes, ma'am.       It's a common -- one of the things

25     with the travel patterns we've talked about, it's common,

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1      the one-day turnaround is something that is a red flag.

2            Q      Okay.     Let's watch from 40 to 55.

3            A      Okay.

4            (Video played.)

5            Q      Okay.     I'm going to ask, there's some terms in

6      here that I don't understand.

7            A      Yes, ma'am.

8            Q      So at the beginning of this section -- we just

9      watched from 0:40 to 0:55.

10           A      Uh-huh.

11           Q      At the beginning of this section, you said, "So

12     what I did to cover my ass in that report" at the start.

13     What is the report that you're referring to?

14           A      So the report I'm referring to is this report.

15     In my training, what I've been taught is when you do any

16     type of intel stop, whether it be a DEA whisper stop or

17     whatever you're doing, a good way to, as I call cover my

18     ass or CYA, there's an actual acronym for it -- what that

19     means by "cover my ass" is -- and for whatever reason

20     that's what I usually put in here, which is why I thought

21     I did, I guess -- I didn't put that in this report.

22           Q      Okay.     I'm going to just pause you, because

23     there's a lot of terms you're throwing in that I don't --

24     that I think aren't clear for the record.

25           A      Yeah.

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1            Q      So let's take a step back.             When you say "this

2      report," what report are you referring to?

3            A      The incident report for Alek Schott's stop.

4            Q      Okay.

5            A      So Number BCS 220059233.

6                   MR. LEAKE:       I would use the red one at the

7      bottom.

8            A      Or BC 00 --

9            Q      (By Ms. Hebert) Are you talking about

10     Exhibit 8?

11           A      Yes.     Yes.    Exhibit 8.      Sorry.

12           Q      And -- let me find Exhibit 8 myself.                And what

13     page are you referring to in here?

14           A      The actual report I wrote on Page 3.

15           Q      Okay.     And you're talking about the general

16     report?

17           A      Yes, ma'am.

18           Q      Okay.     So when you say "this report," you're

19     referring to the general report of Exhibit 8 that you

20     wrote on 3/18/2022?

21           A      Yes, ma'am.

22           Q      Okay.     And when you -- what did you mean when

23     you said "subsequent to prior knowledge"?

24           A      So what I usually put when I have an intel stop

25     is before I say I activated my red and blue emergency

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1      lights, I usually put, and my training taught me that,

2      "subsequent to prior knowledge."

3                   What that's doing is letting you know that I

4      did have PC, but by throwing "subsequent to prior

5      knowledge" in there it's also kind of informing you that

6      it was due to a type of intel.

7            Q      Okay.

8            A      What I was taught in my training by putting

9      "subsequent to prior knowledge" into your report, there's

10     certain cases, not this one, but there's certain ones

11     that are involving Homeland Security or DEA where there's

12     still kind of like ongoing things going on.                  So when

13     there's a federal case with like a FBI or DEA or anything

14     like that, by putting "subsequent to prior knowledge,"

15     when you go to court, if there's something you're going

16     to court for, they won't push any further on what's going

17     on in that case because of the fact it's a DEA case that

18     still has like CIs and things like that.                 So that's what

19     I was taught.

20                  So what I'm telling him is that I put in this

21     report, which I didn't for some reason, "subsequent to

22     prior knowledge I activated my red and blue emergency

23     lights."     That's why when I saw that and heard it, I'm

24     wondering why I didn't.           And that's why today when I told

25     you I didn't put the intel in here and I looked like I

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1      was bummed out about it, because that is the norm for me

2      to put "subsequent to prior knowledge" to show there was

3      PC, but it also shows a sentence in there to let you know

4      that there was also prior knowledge that I wanted to look

5      into this person for.

6            Q      Okay.     So I think I understand.              So you're

7      talking about your general narrative report from the

8      SPEARS Summary.

9            A      Yes, ma'am.

10           Q      And you typically put a phrase, "subsequent to

11     prior knowledge," in your general narrative report --

12           A      Yes.

13           Q      -- for a stop.        Is that fair?

14           A      Yes, ma'am.

15                  MR. LEAKE:       Objection, form.

16           Q      (By Ms. Hebert) And when you put that phrase in

17     there, what does that phrase mean?

18           A      Subsequent to prior knowledge.              It's letting --

19           Q      I don't know what that means.              I'm sorry.

20           A      So subsequent to prior knowledge.                 So meaning

21     -- "subsequent" meaning before the prior knowledge of the

22     PC I observed, I had knowledge of something else.                     It's

23     just -- it's a vague way to let you know that, yes, this

24     was a PC stop but there was also other pieces, being

25     prior knowledge of intel.

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1            Q      Yeah.     So --

2            A      It's just what I was taught.

3            Q      Okay.     So do you usually spell out -- when it

4      is a subsequent-to-prior-knowledge stop, do you usually

5      spell out what the prior knowledge is or do you just put

6      that phrase in there?

7            A      Absolutely not.         Just the phrase.        And again,

8      the reason we do that is, not in this case, but cases

9      where it's like a DEA case or anything like that -- let's

10     say it's what we call a whisper stop.                A whisper stop

11     being you have a CI.           A CI being an undercover person

12     that's in a case, maybe riding with a car that's got a

13     load of drugs in it, with let's say cartel or gang or

14     whatever, or smuggler.

15           Q      Sure.

16           A      I make that whisper stop, because I was told

17     ahead of time from the DEA that we've been working and

18     this car should have a load with 15 kilos in it.                      We're

19     not going to put all that stuff into a report because

20     it's dangerous for like the CIs.

21                  So we use the term so that judges at the courts

22     can see "subsequent to prior knowledge."                 And what I was

23     taught in my training was with that sentence being before

24     I activated red and blue emergency lights, most judges

25     will understand that, oh, this is a federal case of some

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1      kind and we're not going to push on that prior knowledge

2      because it might be an ongoing something bigger with

3      Feds.

4              Q      Okay.     So the prior knowledge that you're

5      referring to is some background knowledge other than the

6      traffic violation that you witnessed.

7              A      Yes, it's just a way to --

8              Q      Is that fair?

9              A      Sorry.     It's just a way to inform that you

10     received some information.              In this case the prior

11     knowledge is that he was on a one-day turnaround trip

12     from Houston.          It's just a way -- and when I say "cover

13     my ass," I mean cover my ass as in it's an intel stop,

14     and why I'm sitting here saying I didn't put -- that's

15     what I would have put, and I thought I did, I guess, when

16     I was talking to him on the phone, but that's what that

17     is.     That's training for intel type stops.

18             Q      Sure.     And the "subsequent to prior knowledge"

19     is just a phrase that everybody who would know, would

20     know what it means?

21             A      Anybody who's been to my class and according to

22     that instructor, judges know -- this is what I was

23     taught.       I've never been in a situation where I'm on the

24     stand with a DEA case or anything.                 I was taught that you

25     put that in there so that they know it was a whisper

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1      stop, but they're not going to push any further on it,

2      because if there's stuff still going on with that case.

3            Q      Okay.

4            A      Because that stop is a part of a bigger federal

5      case usually.

6            Q      Sure.     And that was a little confusing to me,

7      so I'm just going to break it down.               You learned from

8      your training to put this code phrase in your report, for

9      lack of a better descriptor, to explain that you were

10     relying on other information; is that correct?

11           A      Code phrase sounds a little weird to me.                 But

12     it's just a phrase that's self-explanatory, being

13     subsequent meaning I had prior knowledge of other things,

14     with my PC.      Because I talk in the report, I noted -- I

15     observed the violation.           So there's my PC.          But to make

16     it completely clear what we always put in there is

17     "subsequent to prior knowledge, I activated my red and

18     blue emergency lights and initiated a traffic stop."

19     That way they know there was other things also.

20           Q      Got it.

21           A      But it still has PC.          There's no -- as we

22     talked about here in this conversation, what he's stating

23     there was no PC.

24           Q      Sure.

25           A      Which is not the case.

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1            Q      Sure.     And you said in the clip we just watched

2      "in case it ever gets questioned."               Did you mean you

3      wanted something else in the report in case Mr. Schott or

4      anyone else ever questioned the stop?

5            A      Questioned on the intel.            Again, this statement

6      is for intel stop so that they can say -- so it shows

7      that I also had some intel that I was looking into on

8      this stop.

9                   So in the training they use that term, to cover

10     your ass, CYA as we call it, "subsequent to prior

11     knowledge" just puts it in there that there was intel

12     involved also with, again, the PC.               That's what I meant

13     by that.     I know it sounds rough because I'm swearing and

14     I'm saying "cover my ass."

15           Q      That's okay.        I'm an adult.       It's fine.

16           A      But that's the terminology of "covering my ass"

17     is if it's an intel stop, we put that into our reports.

18     Again, I don't -- I failed to put it there.

19           Q      Uh-huh.

20           A      But I thought I did, because that is my norm to

21     put "subsequent to prior knowledge."

22           Q      Okay.     So to summarize there, you're saying

23     that the "cover my ass in my report" was referring to a

24     phrase that you sometimes use to indicate that you had

25     background prior knowledge before the PC into your

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1      report.

2              A      Yeah.

3              Q      Okay.     Let's watch from :55 to 1:07.

4              A      Okay.

5              (Video played.)

6              Q      Okay.     Sergeant -- we just watched from :55 to

7      1:07.

8              A      Uh-huh.

9              Q      Sergeant Gamboa said, "This should be a traffic

10     stop."       What did you understand him to mean?

11             A      I don't know, if he -- like that is a traffic

12     stop.       I don't know what he means by that.                I was

13     actually -- right now, though, kind of what I explained

14     to you, I'm explaining to him the "subsequent to prior

15     knowledge" so -- because he hasn't probably been to that

16     training I've been to.

17             Q      Sure.

18             A      So I was explaining it to him why and what it

19     is.

20             Q      Okay.     And you next said, "It had PC."                Does PC

21     stand for probable cause?

22             A      Probable cause.         That's what we call it in law

23     enforcement.

24             Q      And were you saying that you had probable cause

25     to pull Mr. Schott over, based on the intel from the

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1      one-day turnaround?

2            A      No.     No.    That has nothing to do with the

3      intel.

4            Q      Okay.

5            A      No matter what I have for intel, as I said

6      earlier, ma'am, if I don't have PC, then he's going to

7      move on to the next county and hopefully they see

8      something.      I'm letting him know that I had PC, which was

9      the failure to maintain a lane, which is what he's

10     denying.     That has nothing to do with the intel.                   I'm

11     just letting him know that the PC was there, so I made

12     the stop --

13           Q      Okay.

14           A      -- with the intel I had.

15           Q      And then you next said something like, "But

16     just in case they say he was being targeted or anything,"

17     what did you mean by "but just in case they say he was

18     being targeted or anything"?

19           A      Because it's intel.           And a lot of times in

20     historical investigations, in my training, they've talked

21     about other interdiction stops that end up with lawsuits.

22     A lot of times when there's any type of intel, especially

23     using LPRs, we're taught that sometimes they think

24     somebody's being targeted.            And that's not the case.              In

25     this case, it was just intel to look into the travel

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1      pattern.

2                   So I'm just explaining to the sergeant

3      everything that was going on with the stop.

4            Q      Okay.     You just mentioned other interdiction

5      lawsuits.      Can you tell me what you meant by that?

6            A      I don't have them on hand, but there's a lot of

7      interdiction lawsuits out there.

8            Q      For Bexar County?

9            A      No.

10           Q      Okay.

11           A      For law enforcement.          I'm sure a lot of them

12     are under Institute of Justice, from what I've seen on

13     your website.        So these type of lawsuits are out there.

14     And these are things that you learn in these classes

15     about these types of lawsuits.             You're told that when you

16     go into interdiction at some point you're going to end up

17     possibly with a lawsuit due to the type of work we're

18     doing.

19           Q      Okay.     You next said, "I didn't lie."

20           A      Yes.

21           Q      Were you worried you could have been accused of

22     lying?

23           A      Yeah, because he just had told me that Alek

24     Schott is talking about his dash cam and how he did not

25     cross the line and the video shows.               So I'm just letting

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1      him know, I don't know what that is, but I didn't lie and

2      there was PC for this stop.

3            Q      Sure.

4            A      I was just informing him, let's take a look at

5      that video.

6            Q      Okay.     And then you next said, "I didn't not

7      put something in there to show there" -- "that it was an

8      intel thing."

9            A      So I was telling him again, what I didn't do --

10     so I really thought I put that in there, because I always

11     do with intel stops.          So my verbiage is horrible.               But

12     I'm basically telling him that I put that in the report,

13     and I didn't.        But I thought I did because that is what I

14     usually put.       And that's why today when we were talking,

15     I said I didn't put that in the report on the intel right

16     from the get-go.

17           Q      Sure.

18           A      Because that was a mistake.             It's not something

19     we have to do, it's just something I do.                 And some

20     officers actually, within interdiction, and within

21     special operations, has told me don't put that in there,

22     because with whisper stops, they don't like it.                       But

23     that's just something I do because I learned it in my

24     training.

25           Q      Okay.     I guess I have a question about that.

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                                                                       Page 313

1            A      Okay.

2            Q      Earlier today, we talked about the fact that

3      you don't usually write a general narrative report for a

4      traffic stop that's just a warning.               Is that fair?

5            A      Yes, ma'am.

6            Q      And that you wrote a general report in this

7      case because Mr. Schott seemed to be suggesting that he

8      was going to say something about the stop; is that fair?

9            A      Yes, ma'am.

10           Q      So when you say that you typically put the

11     "subsequent to prior knowledge" in a report --

12           A      Uh-huh.

13           Q      -- does that mean you're only putting that in a

14     report when you find something?

15           A      Yeah.     So the only -- again, the only time I'm

16     writing a report is if I'm making an arrest.                   So if I did

17     an intel stop or a whisper stop with DEA or whoever, and

18     I arrested a guy and had 15 kilos of methamphetamine or

19     whatever it is, or whatever it is we find, I always put

20     "subsequent to prior knowledge, I activated my lights."

21     It kind of informs that this was also a whisper stop type

22     thing.

23                  Yes, this here would not have been a report.

24     It's only a report because, again, I could tell

25     Mr. Schott was going to do a complaint.                 And any time

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1      somebody complains, you're required to write a report.

2      So then I -- and again, I don't remember if I did it

3      after somebody told me about it or if -- I just don't

4      remember.

5              Q      Sure.

6              A      But that's the only reason there's a report for

7      this stop.

8              Q      Sure.     We're at 1:07.        I want to watch from

9      1:07 to 1:12.

10             A      Okay.

11             (Video played.)

12             Q      I'm at 1:14.        I'm sorry.      I went too far.       So

13     here you said, "Knowing that it was one of those, I was

14     very careful on that stop."

15                    What does "knowing that it was one of those"

16     mean?

17             A      An intel stop.

18             Q      Okay.

19             A      And knowing that, just off some of the ways he

20     was acting -- it is not the norm for me to walk an

21     individual from their [sic] car to their car and have

22     them inspect the car to tell me if there's anything wrong

23     with the car and if there's anything I need to put back

24     better.

25             Q      I okay.

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                                                                       Page 315

1            A      I did that because I could see by his behavior

2      and just the way his -- he looked at that point, he was

3      agitated and he was most likely going to do a complaint.

4      So I was really just trying to do everything in my power

5      to show him that I don't want him to be upset.                   I want

6      him to look at the vehicle.            I explained to him I did a

7      deep search.        And that's what I meant by being careful.

8            Q      Sure.

9            A      I was doing more than I usually do.

10           Q      Because you were concerned --

11           A      Because I could see he was upset, and I

12     actually do care about the people I'm stopping, and I

13     could see he was upset, and I was trying to make him feel

14     better and also show him that I'm not trying to trash

15     your vehicle or anything of that nature.                 I could just

16     see that he felt that way by his face expressions.

17           Q      Okay.     So I guess I heard you say two things.

18           A      Okay.

19           Q      One, you were being careful because it was an

20     intel-based stop, and two, you were being careful because

21     you were concerned that Mr. Schott was upset.

22           A      Yes.

23           Q      Is that fair?

24           A      Uh-huh.

25           Q      Okay.     Why would you have to be careful because

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                                                                       Page 316

1      it was an intel-based stop?

2            A      What I -- what I mean by that is it's

3      intel-based, so he's possibly involved in something, so I

4      was just very careful on my questioning and what I'm

5      doing and looking at.          That's all I'm saying.           If it's an

6      intel stop, there's more to it than a cold stop as we

7      talked about earlier.

8                   So "careful" meaning -- again, this is just the

9      way I talk, so it just sounds weird, but careful being

10     I'm paying extra special attention to what he's doing.

11     And then, of course, with him being upset and being a

12     business owner and all these things, I know that he's

13     probably going to do a complaint or anything like that,

14     due to the traffic stop.           Does that make sense or --

15           Q      Sure.

16           A      Okay.

17           Q      I'm going to watch -- I'm going to go back a

18     little bit.      And we'll watch from 1:12 to 1:15.

19           (Video played.)

20           Q      All right.       So I went over to 1:16.           You said,

21     "Which is why I walked him to his vehicle and let him

22     inspect the fucking thing after we searched it."                      And

23     don't worry again --

24           A      Yes, ma'am.

25           Q      -- about the language.           How does walking him to

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                                                                         Page 317

1      his vehicle mean that you were being careful?

2              A      Being careful meaning I don't, I don't usually

3      walk people on traffic stops to their vehicle to inspect

4      it after I search it.            I was being careful to try to,

5      again, make him see that I want him to tell me if there's

6      anything wrong.

7              Q      Sure.

8              A      That's careful, because that is not the norm --

9              Q      Sure.

10             A      -- walking a man to a vehicle.

11             Q      Sure.     And we'll watch just a little bit more.

12             A      Okay.

13             (Video played.)

14             Q      Okay.     At this point is it your understanding

15     that Sergeant Gamboa had Mr. Schott on hold?

16             A      I -- honestly, I didn't even recognize him

17     saying that, but if he's saying that, I guess he possibly

18     does.       That might be what they were talking about with

19     the other videos that I've seen.

20             Q      Sure.     I'm going to watch another portion.

21             A      Okay.

22             (Video played.)

23             Q      Okay.     At one point in the video, Sergeant

24     Gamboa refers to the fact that Mr. Schott didn't get

25     cited for anything.

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1              A       Uh-huh.

2              Q       Do you want to go watch that?              Do you want to

3      watch that?

4              A       No.

5              Q       Okay.

6              A       No, he wasn't cited.          He was given a warning.

7              Q       Right.     And was Sergeant Gamboa referring to

8      the fact that Mr. Schott didn't have anything to

9      challenge because there was no ticket?

10             A       I don't want to speak on behalf of what

11     Sergeant Gamboa meant by what he said.                   That's what it

12     sounds like, but that's something you would have to ask

13     him.        I'm sure you already have or are going to, but I

14     don't want to speak for him whatever he meant by that.

15             Q       Sure.     What did you understand it to mean?

16             A       The way I look at it he's saying you were given

17     a warning and you were released.                 There was no citation,

18     you weren't arrested.             So I don't know if maybe that's

19     what he meant.           But again, I don't know what he meant by

20     that.        I understood it as he was just explaining to him

21     that you're complaining about a stop that you were

22     released with a warning.              Nothing happened of this stop

23     other than the search and the positive canine alert.

24                     Which again, I want to make it clear that I

25     have no -- nothing against Alek Schott.                    I understand

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                                                                         Page 319

1      what's going on here, and I know why he's upset.                        But at

2      the same time, it's just -- that's what I think he meant

3      is you were released with a warning.                  You weren't taken

4      to jail or anything like that.

5                     But again, I just -- by saying that, I want to

6      make sure you understand that I have nothing against Alek

7      Schott and think that this is a, a bad case or something

8      of that nature.          So --

9                     MS. HEBERT:        Okay.    I'll take a brief break,

10     and then hopefully we'll be done.                 Does that work for you

11     guys?

12                    MR. LEAKE:        Yep.

13                    MS. HEBERT:        Five minutes?

14                    MR. LEAKE:        5:13?

15                    MS. HEBERT:        Yep.

16                    THE REPORTER:        We're off the record.

17             (Recess from 5:10 p.m. to 5:17 p.m.)

18                    THE REPORTER:        We're back on the record.

19             Q      (By Ms. Hebert) Okay.           I guess I have just a

20     couple of follow-up questions.               We talked about the intel

21     you got --

22             A      Yes, ma'am.

23             Q      -- from WhatsApp.          You knew that Mr. Schott's

24     truck was traveling on I-35 north.                 Was that fair?

25             A      Uh-huh.

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                                                                       Page 320

1            Q      And you knew what kind of truck he was driving,

2      an F-250?

3            A      Uh-huh.

4            Q      Oh, okay.

5                   MR. ROWES:       Sorry.

6            Q      (By Ms. Hebert) That's okay.             Let's just take a

7      step back.

8            A      Yes, ma'am.

9            Q      Based on the intel, you knew that Mr. Schott

10     was driving north on I-35.

11           A      Yes, ma'am.

12           Q      You knew that he was driving an F-250.

13           A      Yes, ma'am.

14           Q      Did you know the license plate number?

15           A      Yes, ma'am.

16           Q      Did you know the color of his vehicle?

17           A      Yes, ma'am.

18           Q      And were you waiting for Mr. Schott where you

19     were parked?

20           A      Yes, ma'am.

21           Q      Okay.     I'm going to watch a brief clip from

22     Exhibit 51.      We're going to start at 55 seconds and go to

23     1 minute and 7.

24           (Video played.)

25           Q      Okay.     We just stopped at 1:07.              You said,

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                                                                         Page 321

1      "Just in case he was being targeted or anything."

2             A       They use that word "targeting," as far as

3      targeted waiting on him.

4             Q       Okay.     But weren't you waiting on him?

5             A       Yes.

6             Q       And you were sitting on the side of the road

7      waiting for Mr. Schott to arrive, and there's highway

8      traffic, and Mr. Schott happened to drift over the fog

9      line right in front of you?

10            A       It was a little farther back that I had seen

11     it.    So yes.

12            Q       So right in front of you, in your line of

13     sight.

14            A       Within my line of sight, yes, ma'am.

15                    MS. HEBERT:       Okay.     No further questions right

16     now.       Pass.   We're going to leave Mr. Babb's deposition

17     open, especially since we know we don't have all of the

18     records, but we pass the witness for now.

19                    MR. SAENZ:       We'll reserve ours until time of

20     trial.

21                    MR. LEAKE:       We reserve our questions until the

22     time of trial.          And also we would like to read and sign,

23     let me put that on the record.

24                    THE REPORTER:        The deposition is concluded.

25            (Deposition concluded at 5:19 p.m.)

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1                      CHANGES AND SIGNATURE OF WITNESS
2
       WITNESS NAME:     JOEL BABB
3
       DATE OF DEPOSITION:       JULY 15, 2024
4
5      PAGE/LINE     CHANGE                                REASON FOR CHANGE
6      _________________________________________________________
7      _________________________________________________________
8      _________________________________________________________
9      _________________________________________________________
10     _________________________________________________________
11     _________________________________________________________
12     _________________________________________________________
13     _________________________________________________________
14     _________________________________________________________
15     _________________________________________________________
16     _________________________________________________________
17     _________________________________________________________
18     _________________________________________________________
19
20           I, JOEL BABB, have read the foregoing deposition and
21     hereby affix my signature that same is true and correct,
22     except as noted above.
23
24                                              _________________________
25                                              JOEL BABB

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1                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
2                               SAN ANTONIO DIVISION
3
       ALEK SCHOTT,                             §
4               Plaintiff,                      §
                                                §
5                                               §
       VS.                                      §
6                                               §
       JOEL BABB, in his individual             §      CIVIL ACTION NO.
7      and official capacity;                   §      5:23-cv-00706-OLG-RBF
       MARTIN A. MOLINA III, in his             §
8      individual and official                  §
       capacity; JAVIER SALAZAR, in             §
9      his individual and official              §
       capacity; and BEXAR COUNTY,              §
10     TEXAS,                                   §
                Defendants.                     §
11
12                                   - - - - - -
13                            REPORTER'S CERTIFICATION
14                        ORAL DEPOSITION OF JOEL BABB
15                                  JULY 15, 2024
16                                   - - - - - -
17           I, MOLLY CARTER, Certified Shorthand Reporter in and
18     for The State of Texas, hereby certify to the following:
19           That the witness, JOEL BABB, was duly sworn by the
20     officer and that the transcript of the oral deposition is
21     a true record of the testimony given by the witness;
22           I further certify that pursuant to FRCP Rule
23     30(e)(1), that the signature of the deponent:
24           _XX_ was requested by the deponent or a party before
25     the completion of the deposition and returned within 30

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1      days from date of receipt of the transcript.                  If
2      returned, the attached Changes and Signature Page
3      contains any changes and the reasons therefor;
4             ____ was not requested by the deponent or a party
5      before the completion of the deposition.
6             I further certify that I am neither attorney nor
7      counsel for, related to, nor employed by any of the
8      parties to the action in which this testimony was taken.
9      Further, I am not a relative or employee of any attorney
10     of record in this cause, nor do I have a financial
11     interest in the action.
12           Certified to by me on this 25th day of July 2024.
13
14
15
16
                                      <%signature%>
17                                    MOLLY CARTER, CSR NO. 2613
                                      Expires:     04/30/2024
18
                                      Veritext Legal Solutions
19                                    Firm Registration No. 571
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1      Blair J. Leake, Esquire

2      bleake@w-g.com

3                                     July 29, 2024

4      RE:       Schott, Alek v. Babb, Joel Et Al

5            7/15/2024, Joel Babb (#6725894)

6            The above-referenced transcript is available for

7      review.

8            Within the applicable timeframe, the witness should

9      read the testimony to verify its accuracy. If there are

10     any changes, the witness should note those with the

11     reason, on the attached Errata Sheet.

12           The witness should sign the Acknowledgment of

13     Deponent and Errata and return to the deposing attorney.

14     Copies should be sent to all counsel, and to Veritext at

15     cs-midatlantic@veritext.com.

16      Return completed errata within 30 days from

17    receipt of testimony.

18       If the witness fails to do so within the time

19    allotted, the transcript may be used as if signed.

20

21

22                        Yours,

23                        Veritext Legal Solutions

24

25

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2      Joel Babb (#6725894)
3                              E R R A T A         S H E E T
4      PAGE_____ LINE_____ CHANGE________________________
5      __________________________________________________
6      REASON____________________________________________
7      PAGE_____ LINE_____ CHANGE________________________
8      __________________________________________________
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20     __________________________________________________
21     REASON____________________________________________
22
23     ________________________________                   _______________
24     Joel Babb                                             Date
25

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                                                                     Page 327

1      Schott, Alek v. Babb, Joel Et Al

2      Joel Babb (#6725894)

3                        ACKNOWLEDGEMENT OF DEPONENT

4          I, Joel Babb, do hereby declare that I

5      have read the foregoing transcript, I have made any

6      corrections, additions, or changes I deemed necessary as

7      noted above to be appended hereto, and that the same is

8      a true, correct and complete transcript of the testimony

9      given by me.

10

11     ______________________________              ________________

12     Joel Babb                                  Date

13     *If notary is required

14                            SUBSCRIBED AND SWORN TO BEFORE ME THIS

15                            ______ DAY OF ________________, 20___.

16

17

18                            __________________________

19                            NOTARY PUBLIC

20

21

22

23

24

25

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                    Federal Rules of Civil Procedure

                                     Rule 30



        (e) Review By the Witness; Changes.

        (1) Review; Statement of Changes. On request by the

        deponent or a party before the deposition is

        completed, the deponent must be allowed 30 days

        after being notified by the officer that the

        transcript or recording is available in which:

        (A) to review the transcript or recording; and

        (B) if there are changes in form or substance, to

        sign a statement listing the changes and the

        reasons for making them.

        (2) Changes Indicated in the Officer's Certificate.

        The officer must note in the certificate prescribed

        by Rule 30(f)(1) whether a review was requested

        and, if so, must attach any changes the deponent

        makes during the 30-day period.




        DISCLAIMER:     THE FOREGOING FEDERAL PROCEDURE RULES

        ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

        THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

        2019.   PLEASE REFER TO THE APPLICABLE FEDERAL RULES

        OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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         COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

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   as submitted by the court reporter. Veritext Legal

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   documents as submitted by the court reporter and/or

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